Fill in this information to identify the case:

Debtor name         BRIDGER STEEL, INC.

United States Bankruptcy Court for the:     DISTRICT OF MONTANA

Case number (if known)    2:23-bk-20019
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 6, 2023                   X /s/ DENNIS L. JOHNSON
                                                           Signature of individual signing on behalf of debtor

                                                            DENNIS L. JOHNSON
                                                            Printed name

                                                            PRESIDENT
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                             2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 1 of 439
 Fill in this information to identify the case:
 Debtor name BRIDGER STEEL, INC.
 United States Bankruptcy Court for the: DISTRICT OF MONTANA                                                                                 Check if this is an

 Case number (if known):        2:23-bk-20019                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 MAJESTIC STEEL                                      VENDOR                                                                                                  $1,042,597.00
 USA, INC.                                           (LAWSUIT
 31099 CHAGRIN                                       PENDING IN THE
 BLVD.                                               COURT OF
 CLEVELAND, OH                                       COMMON PLEAS
 44124                                               CUYAHOGA
                                                     COUNTY, OHIO)
 DURA COAT                                           CODING REBATE                                                                                             $833,142.00
 PRODUCTS INC.
 5361 VIA RICARDO
 RIVERSIDE, CA
 92509
 OLD COUNTRY                                         VENDOR                                                                                                    $790,124.21
 MILLWORK
 5855 Hopper Ave
 Los Angles, CA
 90001
 CASCADIA METALS                                     VENDOR                                                                                                    $491,696.39
 PO BOX 1276
 LONGVIEW, WA
 98632
 THE LCF GROUP,                                      ACCOUNTS,      Disputed                               $347,166.60            $7,362,455.90                $347,166.60
 INC.                                                CHATTEL PAPER,
 3000 MARCUS                                         DOCUMENTS,
 AVENUE                                              EQUIPMENT,
 STE. W215                                           GENERAL
 NEW HYDE PARK,                                      INTANGIBLES,
 NY 11042                                            INVENTORY, OR
                                                     INVESTMENT
                                                     PROPERTY, ALL
                                                     PROCEEDS,
                                                     FUNDS IN
                                                     MERCHANTS
                                                     ACCOUNT ETC.




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    BRIDGER STEEL, INC.                                                                       Case number (if known)         2:23-bk-20019
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 MARCO                                               (LAWSUIT                                                                                                  $307,000.00
 INDUSTRIES INC.                                     PENDING IN THE
 4150 100th E AVE                                    DISTRICT COURT
 SUITE 301                                           IN AND FOR
 TULSA, OK 74146                                     TULSA COUNTY,
                                                     STATE OF
                                                     OKLAHOMA)
 JOHNSON FAMILY                                      LOAN                                                                                                      $250,000.00
 TRUST
 8555 CAMP CREEK
 ROAD
 MANHATTAN, MT
 59741
 CAPYTAL FUNDING                                     ALL ACCOUNTS, Disputed                                $185,559.00            $7,362,455.90                $185,559.00
 ADDRESS                                             CHATTEL PAPER,
 UNKNOWN                                             DOCUMENTS,
                                                     EQUIPMENT,
                                                     GENERAL
                                                     INTANGIBLES,
                                                     INSTRUMENTS,
                                                     AND INVENTORY,
                                                     ALL PROCEEDS,
                                                     ALL FUNDS ETC.
 SHEFFIELD                                           VENDOR                                                                                                    $106,046.01
 METALS
 INTERNATIONAL
 PO Box 637438
 Cincinnati, OH
 45263-7438
 INTERNAL                                            PAYROLL                                                                                                     $98,815.59
 REVENUE SERVICE                                     LIABILITIES -
 PO BOX 7346                                         941'S
 PHILADELPHIA, PA
 19101-7346
 MICROSEA SYSTEM                                     VENDOR                                                                                                      $88,860.40
 SOLUTIONS GMBH
 (BENDEX)
 Handelskai 94-96,
 A-1200
 Millennium Tower
 24 Floor
 Vienna, Austria
 PORT OF KALAMA                                      VENDOR                                                                                                      $86,110.20
 110 West Marine
 Drive
 Kalama,, WA 98625




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 3 of 439
 Debtor    BRIDGER STEEL, INC.                                                                       Case number (if known)         2:23-bk-20019
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 MACHINERY                                           CANNTEC                                                $94,072.40                 $25,000.00                $69,072.40
 FINANCE                                             OSW-24 ORBITAL
 RESOURCES                                           STRETCH
 651 DAY HILL RD.                                    WRAPPER
 WINDSOR, CT 06095                                   MACHINE
                                                     SSQ KARR'S
                                                     PANEL MACHINE

                                                     (MFR - ACCNT
                                                     #4760)
 MITEK USA INC.                                      VENDOR                                                                                                      $63,333.20
 4399 Collections
 Center Drive
 Chicago, IL 60693
 THE BRYER                                           VENDOR                                                                                                      $59,954.12
 COMPANY                                             (LAWSUIT
 119 CLAY STREET                                     PENDING IN THE
 NW                                                  SUPERIOR
 AUBURN, WA 98001                                    COURT IN THE
                                                     STATE OF
                                                     WASHINGTON)
 HERITAGE                                            CUSTOMER                                                                                                    $59,882.47
 WOODWORKS INC.                                      REFUNDS
 738 Riverside Street
 Sheridan, WY 82801
 BOBCAT SPORTS                                       VENDOR                                                                                                      $59,250.00
 PROPERTIES, LLC
 PO BOX 843038
 C/O LEARFIELD
 COMMUNICATIONS,
 INC
 KANSAS CITY, MO
 64184-3038
 SEAMLESS                                            ALL ACOUNTS,   Disputed                                $53,964.00            $7,362,455.90                  $53,964.00
 CAPITAL GROUP                                       DEPOSIT
 17560 ATLANTIC                                      ACCOUNTS,
 BLVD                                                ACCOUNTS-RECE
 NORTH MIAMI                                         IVABLE, AND
 BEACH, FL 33160                                     OTHER
                                                     RECEIVABLES,
                                                     CHATTEL PAPER,
                                                     DOCUMENTS,
                                                     EQUIPMENT,
                                                     GENERAL
                                                     INTANGIBLES,
                                                     INSTRUMENTS,
                                                     INVE
 EVERGREEN                                           VENDOR                                                                                                      $49,735.00
 SHIPPERS, LLC
 13323 N Mayfair
 Lane
 Spokane, WA 99208


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




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 Debtor    BRIDGER STEEL, INC.                                                                       Case number (if known)         2:23-bk-20019
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 CHRYSLER                                            2021 DODGE                                                                                                  $49,722.25
 CAPITAL                                             TRUCK
 P.O. BOX 660335                                     VIN #2409
 DALLAS, TX 75266
                                                     (CHRYSLER
                                                     CAPITAL)




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4




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 Fill in this information to identify the case:

 Debtor name            BRIDGER STEEL, INC.

 United States Bankruptcy Court for the:                       DISTRICT OF MONTANA

 Case number (if known)               2:23-bk-20019
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       10,351,905.28

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       10,351,905.28


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       10,297,588.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,416,664.99

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,605,257.15


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         17,319,510.24




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                         2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 6 of 439
Fill in this information to identify the case:

Debtor name      BRIDGER STEEL, INC.

United States Bankruptcy Court for the:   DISTRICT OF MONTANA

Case number (if known)     2:23-bk-20019
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                    $1,010.20



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   FIRST INTERSTATE BANK                           OPERATING ACCOUNT               0900                                             $1.00




          3.2.   FIRST INTERSTATE BANK                           MONEY MARKET                    0699                                    $49,248.07



                                                                 HEALTH INSURANCE
          3.3.   FIRST INTERSTATE BANK                           ACCOUNT                         6459                                         $93.91




          3.4.   FIRST INTERSTATE BANK                           CHECKING                        3986                                         $67.75




          3.5.   BANK OF BRIDGER                                 CHECKING                        1088                                       $100.00




          3.6.   YELLOWSTONE BANK                                RG FUND                         7361                                     $8,493.95


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1


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Debtor           BRIDGER STEEL, INC.                                                      Case number (If known) 2:23-bk-20019
                 Name




          3.7.     FIRST NATIONAL BANK                               CHECKING                              8433                         $43.29


                   AT THE TIME THE CASE WAS FILED
                   FUNDS WERE BEING HELD IN AN
                   ACCOUNT UNDER THE NAME OF BIG
                   SKY COIL, LLC. THESE FUNDS WERE
                   TRANSFERRED BACK TO THE
                   DEBTOR'S OPERATING ACCOUNT
                   ONCE THE BANKRUPTCY CASE WAS
          3.8.     FILED.                                            CHECKING ACCOUNT                      7496                     $50,584.05




          3.9.     ASF CLEARING                                                                                                     $43,890.00



          3.10
          .    CLEARING ACCOUNT                                                                                                        $559.38



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                       $154,091.60
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     SECURITY DEPOSITS                                                                                               $160,089.21




          7.2.     ADVANCES PAID                                                                                                      $3,602.90



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     PREPAID OTHER                                                                                                       $348.29




          8.2.     PREPAYMENT OF ACCOUNTS PAYABLE                                                                                  $119,897.54




          8.3.     PREPAID DOT REGISTRATIONS                                                                                           $354.70


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 2

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Debtor       BRIDGER STEEL, INC.                                                            Case number (If known) 2:23-bk-20019
             Name



9.        Total of Part 2.                                                                                                         $284,292.64
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   291,571.41       -                           199,775.50 = ....                   $91,795.91
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $91,795.91
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.   BRIDGER STEEL TRUCKING, LLC                                   100            %     N/A                                     $0.00



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                                $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          INVENTORY                          12/31/2022                               Unknown        COST                             $135,274.08



20.       Work in progress

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3

                             2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 9 of 439
Debtor       BRIDGER STEEL, INC.                                                     Case number (If known) 2:23-bk-20019
             Name

21.       Finished goods, including goods held for resale
          INVENTORY                         12/31/2022                        Unknown          COST                             $365,413.58



22.       Other inventory or supplies
          INVENTORY IN TRANSIT
          AND MISC. INVENTORY               12/31/2022                        Unknown          COST                              $14,322.12




23.       Total of Part 5.                                                                                                  $515,009.78
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                   page 4

                             2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 10 of 439
Debtor     BRIDGER STEEL, INC.                                      Case number (If known) 2:23-bk-20019
           Name

         BELGRADE OFFICE FURNITURE

         13 CUSTOM WOOD DESK 2600
         31 ROLLING OFFICE CHAIRS 775
         17 DESKS 1700
         2 FOLDING CHAIRS 10
         8 NON ROLLING CHAIRS 160
         7 STOOLS 70
         10 4 DRAWER FILING CABINETS (METAL) 200
         11 WIDE FILING CABINET (METAL) 220
         2 WOOD FILING CABINETS 40
         2 END TABLES 60
         COFFEE TABLE 50
         LEATHER SOFA 200
         5 LEATHER CHAIRS 250
         COFFEE BAR 50
         S METAL BAR/TABLE 100
         PICNIC TABLE 25
         BOOKSHELF 50
         2 STORAGE CABINETS 80
         2 LARGE PRINTERS 80
         2 WATER COOLERS 40
         REFRIGERATOR 100
         MINI REFRIGERATOR 50
         PROPANE GRILL 50
         2 MICROWAVESBUNN COFFEE MAKER 100
         3 RUBBERMAID STORAGE CABINET 40
         4 WORK BENCHES 200
         FLAMMABLES CABINET 40
         CONFERERNCE TABLE 50
         3 SHREDDER 75
         6 WIRE STORAGE RACK 50
         LOCKERS (2 HIGH X 6 WIDE) 50
         5 METAL TOOL CABINETS 50                             Unknown       FAIR MARKET                    $7,615.00


         BLACKHAWK OFFICE FURNITURE

         4 WOOD COUNTERS WITH STEEL 800
         4 PRISON DESKS 400
         5 ROLLING SWIVEL CHAIRS 125
         6 NON SWIVEL CHAIRS 120
         WOOD 2 DRAWER FILE CABINET 20
         6 DRAWER FILE CABINET (WOOD) 40
         SMALL PRINTER 20
         LARGE PRINTER 40
         WATER COOLER 20
         MINI REFRIGERATOR 50
         MICROWAVE 40
         BUNN COFFEE MAKER 20
         KEURIG 60
         4 METAL BRIDGER STEEL ART 200
         SHREDDER 25
         7 PICTURES 175
         11 COMPUTER MONITORS 440
         4 SCANNERS 80
         KEYBOARDS AND MOUSES 35                              Unknown       FAIR MARKET                    $2,710.00




Official Form 206A/B                 Schedule A/B Assets - Real and Personal Property                         page 5

                       2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 11 of 439
Debtor     BRIDGER STEEL, INC.                                      Case number (If known) 2:23-bk-20019
           Name

         BILLINGS PRODUCTION LOCATION
         2 DESK HUTCH 150
         14 PRISON DESK STRAIGHT 1,400
         2 PRISON DESK CORNERS 200
         PRISON DESK L 150
         PRISON DESK/PRINTER PULLOUT 50
         2 PRISON DESK W/HUTCH 300
         4 DESKS 200
         CREDENZA 50
         30 SWIVEL CHAIRS 600
         9 NON SWIVEL CHAIRS 90
         3 ROLLING CHAIRS 30
         7 STOOLS 70
         50 FOLDING CHAIRS 250
         3 4 DRAWER FILE CABINET 60
         5 2 DRAWER FILE CABINET 100
         2 2 DRAWER FILE CABINET (WIDE) 60
         6 DRAWER FILE CABINET (WOOD) 50
         6 HON METAL CABINET 300
         7 DOUBLE CABINET (LOW PROFILE) 140
         2 LARGER PRINTERS 80
         2 WATER COOLERS 40
         3 REFRIGERATORS 300
         2 MINI REFRIGERATORS 100
         2 DISHWASTERS 200
         2 MICROWAVES 80
         STOVE 150
         2 BUNN COFFEE MAKERS 40
         2 3 FT FOLDING TABLES 40
         6 5 FT FOLDING TABLES 120
         2 4 FT FOLDING TABLES 50
         2 6 FT FOLDING TABLES 60
         5 FT ROLLING TABLE 30
         CONFERENCE TABLE 100
         END TABLE 40
         2 SHREDDERS 40
         SHREDDER BIN 10
         LOCKERS (3 HIGH X 6 WIDE) 50
         KOBALT TOOL BENCH 50
         ELECTRIC FIREPLACE 50                                Unknown       FAIR MARKET                    $5,880.00




Official Form 206A/B                 Schedule A/B Assets - Real and Personal Property                         page 6

                       2:23-bk-20019-BPH Doc#: 12 Filed: 03/06/23 Page 12 of 439
Debtor      BRIDGER STEEL, INC.                                       Case number (If known) 2:23-bk-20019
            Name

         WOOD DESK L WITH STEEL 200
         4 STRAIGHT DESKS 400
         5 L DESKS 500
         DESK 100
         6 CREDENZAS 300
         11 ROLLING SWIVEL CHAIRS 275
         18 NON SWIVEL CHAIRS 270
         5 4-DRAWER FILE CABINETS 100
         4 4-DRAWER FILE CABINETS WIDE 160
         3 3-DRAWER FILE CABINET (WIDE) 120
         2 DRAWER FILE CABINET (METAL) 40
         2 HON METAL CABINET 100
         4 SMALL PRINTERS 80
         4 LARGE PRINTERS/COPIER 160
         WATER COOLER 20
         FULL REFRIGERATORMINI REFRIGERATOR
         150
         MICROWAVE 40
         TOASTER OVEN 20
         BUNN COFFEE MAKERKEURIG 60
         27 LAPTOPS 6,750
         PROJECTOR 150
         4 WHITE BOARDS 80
         TV 100
         2 CONF. ROOM TABLES 300
         2 METAL BRIDGER STEEL ART 100
         2 SHREDDERS 40
         21 PICTURES 525
         14 MONITORS 1,400
         5 SCANNERS 100
         20 KEYBOARDS AND MOUSES 100
         COAT RACK 15
         VACUUM 20
         14 DELL DOCKING STATIONS 350
         LARGE SAFE 1,000
         RECLINING LOVE SEAT 100
         3 CUBICALS 100
         NAKITA DRILL 20
         3 KETER CABINETS 60
         3 HEAVY DUTY METAL RACKS 120
         3 CLASS/METAL TABLES 150
         11 PHONES 275                                            Unknown    FAIR MARKET                     $14,950.00



40.      Office fixtures

41.      Office equipment, including all computer equipment and
         communication systems equipment and software
          BILLINGS TECHNOLOGY INVENTORY                         Unknown      FAIR MARKET                     $16,965.00
          29 ALL IN ONE PC W/MONITOR 1,450
          58 MONITORS 5,800
          11 SMALL PRINTERS 220
          14 ZEBRA PRINTERS 280
          23 PHONES 575
          19 SCANNERS 380
          2 TV MONITORS 200
          8 LAPTOPS 2,000
          5 TABLETS 250
          3 HARD DRIVE 60
          34 KEYBOARDS 170
          TV 65" 150
          DESK TOP 100
          4 POWER BANK (USB) 200
Official Form 206A/B                   Schedule A/B Assets - Real and Personal Property                          page 7

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Debtor       BRIDGER STEEL, INC.                                                            Case number (If known) 2:23-bk-20019
             Name

          3 NOVATIME CLOCKS 450
          3 INTERCOMS 150
          1 CHECK SCANNER 100
          13 SWITCHES/HUBS 1,300
          10 SERVER SWITCHES 1,000
          5 DELL SERVER 1,250
          3 APC SERVER 450
          HIKVISION SERVER 150
          2 SPEAKER SETS 40
          SEAGATE DESKTOP DRIVE 40
          2 CISCO ROUTER 100
          INTERCOM SERVER 100


          BELGRADE TECHNOLOGY INVENTORY

          36 ALL IN ONE PC WITH MONITORS 1,800
          46 MONITORS 4,600
          4 SMALL PRINTERS 80
          38 PHONES 875
          17 SCANNERS 140
          3 TVS 300
          2 LAPTOPS 500
          HARD DRIVE 40
          36 KEYBOARDS 180
          2 DESK TOPS 200
          NOVATIME CLOCK 150
          BOSE RADIO 50
          30 BATTERY BACKUP 1,500
          2 SWITCHES/HUBS 200
          11 SERVER SWITCHES 1,100
          3 DELL SERVERS 750
          2 CISCO ROUTER 100
          4 UNIVERSAL POWER SUPPLY 40
          2 WIFI ROUTER 80
          FIREWALL 100
          VOIP SERVER 100
          3 OPTICAL DISTRIBUTOR 600                                                 Unknown         FAIR MARKET                    $13,485.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                         $61,605.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 8

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Debtor      BRIDGER STEEL, INC.                                                       Case number (If known) 2:23-bk-20019
            Name

         General description                                       Net book value of         Valuation method used    Current value of
         Include year, make, model, and identification numbers     debtor's interest         for current value        debtor's interest
         (i.e., VIN, HIN, or N-number)                             (Where available)

47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

         47.1.   2018 FORD F-550 SUPER DUTY
                 VIN #4561
                 (FORD CREDIT)                                               Unknown         FAIR MARKET                        $50,000.00


         47.2.   2018 FORD F-550 SUPER DUTY
                 VIN #2668

                 (FORD CREDIT)                                               Unknown         FAIR MARKET                        $50,000.00


         47.3.   2019 FORD F-550
                 VIN #2760

                 (FORD CREDIT)                                               Unknown         FAIR MARKET                        $55,000.00


         47.4.   PJ 24 B.P. D.O. FLAT - SERIAL NUMBER
                 5946 7,000
                 2019 WILSON TRAILER - SERIAL
                 NUMBER 6936 35,000
                 2019 WILSON TRAILER - SERIAL
                 NUMBER 7263 35,000
                 2019 WIILSON TRAILER - SERIAL
                 NUMBER 7264 35,000
                 2019 WILSON TRAILER - SERIAL
                 NUMBER 7265 35,000
                 4 - FLATBED CONESTOGA XP TARP
                 SYSTEM W/ATTACHMENTS AND
                 ACCESSORIES

                 (HUNTINGTON NATIONAL BANK)                                  Unknown         FAIR MARKET                       $147,000.00


         47.5.   2019 WILSON CF-1080 (#195)
                 (SERIAL #7059)

                 (DAIMLER-MERCEDES)                                          Unknown         FAIR MARKET                        $35,000.00


         47.6.   2013 MANAC TRAILER 30,000
                 2013 FONTAINE TRAILER 30,000
                 2013 FORD F-450 DRW 24,000
                 2015 CLARK TRAILER 20,000
                 2015 RAM 550 32,500
                 2017 TITAN GN 26' UTILITY TRAILER
                 8,000
                 2007 FREIGHTLINER M2-112 35,000
                 2016 FREIGHTLINER 75,000
                 (PSB CREDIT SERVICES)                                       Unknown         FAIR MARKET                       $254,500.00




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                    page 9

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Debtor      BRIDGER STEEL, INC.                                                       Case number (If known) 2:23-bk-20019
            Name

         47.7.   LEASE OF THE FOLLOWING WITH
                 DAIMLER-MERCEDES BENZ:

                 2019 WILSON CF-180 (SERIAL #7296)
                 30,000
                 2019 WILSON CF-180 (SERIAL #7297)
                 30,000
                 2018 FREIGHTLINER (SERIAL #7557)
                 100,000
                 2018 WILSON 48' COMBO WITH TARP
                 (SERIAL #5679) 30,000
                 2018 WILSON 48' COMBO WITH TARP
                 (SERIAL #5678) 30,000
                 2018 FREIGHTLINER (SERIAL #7558)
                 100,000
                 2020 WILSON CF 1080 (SERIAL #6949)
                 45,000
                 2020 WILSON CF 1080 (SERIAL #6950)
                 45,000
                 2020 WILSON CF1080 (SERIAL #6951)
                 45,000                                                        Unknown        FAIR MARKET                    $455,000.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         FORKLIFT
         (SERIAL #4434)
         (WELLS FARGO BANK)                                                    Unknown        FAIR MARKET                     $45,000.00


         FORKLIFT -
         (SERIAL #6327)
         (WELLS FARGO)                                                         Unknown        FAIR MARKET                     $45,000.00


         ONE (1) NEW RAS XXL-CENTER METAL
         FOLDING SYSTEM 310,000

         (MIDLAND EQUIPMENT)                                                   Unknown        FAIR MARKET                    $310,000.00


         HOT MELT 220 VAC SEALANT SYSTEM 5,000
         METALFORMING QUADRO & N ROLLFORMER
         WITH 1-3/4" SNAPLOCK CASSETT SET 50,000
         METALFORMING 3100 SHEAR 50,000
         METAL FORMING MAX 3100 IFOLD FOLDER
         36,000
         MRS RIDGE CAP PRESS 9,500
         METALFORMING QUADRO ROLLFORMER
         BASE MACHINE WITH HEJM CONTROL 44,500

         (MFR - ACCNT #2670)                                                   Unknown        FAIR MARKET                    $195,000.00




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                 page 10

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Debtor     BRIDGER STEEL, INC.                                     Case number (If known) 2:23-bk-20019
           Name

         SWI 5 TON POWERED DECOILER WITH COIL
         CAR
         SWI MARXMAN PRO SLITTER
         SWI 5 TON POWERED DE-COILER
         SWI 5 TON DE-COILER
         SWI 5 TON RE-COILER
         SWI FILM APPLICATOR ROD WITH COLLARS

         (MFR - ACCNT #3770)                                 Unknown       FAIR MARKET                    $300,000.00


         WEBER ALPHA COMPACT RIGHT HAND
         LABLE APPLICATOR 3,000
         MRS 12,000 LB UPENDER 17,000
         MRS 20,000 LB UPENDER
         SWEED 450 AM DXSL SINGLE MAIN
         ASSEMBLY SCRAPPER 4,000
         MOFFET M8 55 4NX FORKLIFT 50,000
         MULTIFAB AUTOMATIC ARCH STRAPPING
         MACHINE 5,000
         ORION FLEX RTX STRETCH WRAPPING
         MACHINE
         EP MISC. RACKS

         (MFR - ACCNT #4515)                                 Unknown       FAIR MARKET                     $79,000.00


         MRS 12,000 LB UPENDER 10,000
         MRS 12,000 LB UPENDER
         MRS TITAN PERFORATOR PASS WITH
         FRAME EXTENSION 30,000
         MRS PNEUMATIC BACK CUT SHEAR 10,000
         ASC SHEAR BLADES 12,000
         ZIMMERMAN STRUCTURAL ROOF PANEL
         MACHINE 100,000

         (MFR- ACCNT #2565)                                  Unknown       FAIR MARKET                    $162,000.00


         JORNS 18 GAUGE 21' FOLDING MACHINE
         WITH ALL STANDARD OPTIONS &
         ACCESSORIES 75,000
         (MFR -ACCNT #2610)                                  Unknown       FAIR MARKET                     $75,000.00


         WINN RACK STRUCTURAL RACKING
         MARXMAN SS1220 TRIM SLITTER 70,000
         STORM RYDER 24X24X17 ALUMINUM BOXES
         18,000
         METALFORMING MAX3100 IFOLD TRIM
         FOLDER
         JORNS MSC 06067 SLITTING BLADE
         ASSEMBLIES 7,000
         SPIROR 600 WRAPPER 40,000
         (MFR - ACCNT #4740)                                 Unknown       FAIR MARKET                    $135,000.00


         CANNTEC OSW-24 ORBITAL STRETCH
         WRAPPER MACHINE
         SSQ KARR'S PANEL MACHINE

         (MFR - ACCNT #4760)                                 Unknown       FAIR MARKET                     $25,000.00


Official Form 206A/B                Schedule A/B Assets - Real and Personal Property                           page 11

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Debtor      BRIDGER STEEL, INC.                                                      Case number (If known) 2:23-bk-20019
            Name



         27 SIGNODE 5/8 - 3/4 SEALLESS BANDING
         MACHINES
         (MFR - ACCNT #2070)                                                  Unknown       FAIR MARKET                       $27,000.00


         TITAN II DOUBLE DECK VARIABLE SPEED
         LINER

         (HIGHLAND CAPITAL)                                                   Unknown       FAIR MARKET                      $275,000.00


         4 MOFFETT M8-55-4-NX TRUCK MOUNTED
         FORKLIFT

         (MFR - ACCNT #0750)                                                  Unknown       FAIR MARKET                      $220,000.00


         TITAN ROLLFORMER ADD A DECK 190,000
         SOFFIT CASSETTES 30,000
         2014 TOYOTA FORKLIFT 15,000
         2014 ROLL FORMER SOFFIT MACHINE 18,000
         SMT 3100 SHEAR S/N 18,000
         2014 TOYOTA FORKLIFT 15,000
         2017 CANTILEVER RACK 7,000
         PLASTIC APPLICATOR 48" LAMINATOR FOR
         SLITTER 2,000
         TITAN II DOUBLE DECK ROLLFOMER 240,000
         CASPER-DOUBLE DECK ROLLFORMER
         MRS ROLLFORMER 190,000
         SCHLEBACK QUADRO XL 90,000
         DELIVERY TRUCK - 07 STERLING BOOM
         25,000
         2012 QUADRO CINCO STANDING SEA 65,000
         HAYES AUTOCURVER 65,000
         ULTRA BATTEN 45,000
         TOYOTA FORK LIFT 8FGU32 15,000
         2014 - SOFFITT MACHINE 8,000
         MRS 6 TON ELECTRIC UPENDER 17,000
         2014 HYSTER FORK LIFT 5,000
         TRAPESOIDAL SRM W/TSS3000A 95,000
         SOFFIT WALL PANEL CASSETTE FOR QU
         20,000
         SWENSON SHEARS 10,000                                                Unknown       FAIR MARKET                     $1,185,000.00


         GUTTER MAKER DRIP EDGE ROLLFORMER

         (MFR)                                                                Unknown       FAIR MARKET                       $20,000.00


         EQUIPMENT, TRUCKS, TRAILERS (SEE
         ATTACHED EXHIBIT A)                                                  Unknown       FAIR MARKET                     $2,235,594.20




51.      Total of Part 8.                                                                                               $6,380,094.20
         Add lines 47 through 50. Copy the total to line 87.

52.      Is a depreciation schedule available for any of the property listed in Part 8?
             No
            Yes

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                 page 12

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Debtor       BRIDGER STEEL, INC.                                                     Case number (If known) 2:23-bk-20019
             Name

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of         Nature and            Net book value of        Valuation method used     Current value of
          property                            extent of             debtor's interest        for current value         debtor's interest
          Include street address or other     debtor's interest     (Where available)
          description such as Assessor        in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. LEASE OF UNIT 100
                   LOCATED AT 8530
                   CONCORD CENTER
                   DR., ENGLEWOOD,
                   CO 80112 (CONCORD
                   CENTER PARTNERS,
                   LLC)                       LEASE                           Unknown        N/A                                   Unknown


          55.2.    LEASE OF
                   PROPERTY
                   LOCATED AT 1558
                   AMSTERDAM RD.,
                   BELGRADE, MT
                   59714 (GRAND FIR,
                   LLC)                       LEASE                           Unknown        N/A                                   Unknown


          55.3.    LEASE OF 6797
                   WILDCATE ROAD,
                   EVANSVILLE, WY
                   82636 (KELBEC
                   HOLDINGS, LLC)             LEASE                           Unknown        N/A                                   Unknown


          55.4.    LEASE OF 2110
                   OVERLAND AVENUE,
                   BILLINGS, MONTANA
                   (RIGLER RANCH
                   PARTNERSHIP)               LEASE                           Unknown        N/A                                   Unknown


          55.5.    LEASE OF 8000
                   BLACK HAWK RD,
                   UNIT 4, BLACK
                   HAWK, SD 57718
                   (ROBERT AND
                   BARBAR STEELE)             LEASE                           Unknown        N/A                                   Unknown




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                      page 13

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Debtor        BRIDGER STEEL, INC.                                                          Case number (If known) 2:23-bk-20019
              Name

           55.6.    LEASE OF
                    PROPERTY
                    LOCATED AT 605 E.
                    WILLOW STREET,
                    SIOUX FALLS, SD
                    57005                          LEASE                           Unknown            N/A                             Unknown




56.        Total of Part 9.                                                                                                              $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           POTENTIAL ERC REFUND                                                              Tax year                             $1,900,000.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           USURY CLAIMS AGAINST CAPYTAL, LFG AND
           SEAMLESS                                                                                                                   Unknown
           Nature of claim    USURY CLAIM
           Amount requested                    $0.00



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 14

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Debtor      BRIDGER STEEL, INC.                                                     Case number (If known) 2:23-bk-20019
            Name

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         DUE FROM EBMS                                                                                                            $267.07



         RESERVE RECEIVABLE ASF                                                                                                $17,008.47



         DUE FROM BLUEBIRD PROPERTIES                                                                                               $0.05



         UNDEPOSITED FUNDS                                                                                                    $354,998.56


         CAPTIVE INSURANCE - LEGACY INVESTMENT
         (BRIDGER STEEL OWNS 1 SHARE IN ORDER TO BE
         PART OF THE CAPTIVE INSURANCE PLAN)                                                                                  $477,290.00



         CAPTIVE INSURANCE - TRIBUTE INVESTMENT                                                                               $115,452.00




78.      Total of Part 11.                                                                                                 $2,865,016.15
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                page 15

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Debtor          BRIDGER STEEL, INC.                                                                                 Case number (If known) 2:23-bk-20019
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $154,091.60

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $284,292.64

82. Accounts receivable. Copy line 12, Part 3.                                                                     $91,795.91

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $515,009.78

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $61,605.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $6,380,094.20

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $2,865,016.15

91. Total. Add lines 80 through 90 for each column                                                       $10,351,905.28             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,351,905.28




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 16

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Exhibit A to paragraph 50, page 12




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Fill in this information to identify the case:

Debtor name         BRIDGER STEEL, INC.

United States Bankruptcy Court for the:           DISTRICT OF MONTANA

Case number (if known)             2:23-bk-20019
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   CAPYTAL FUNDING                              Describe debtor's property that is subject to a lien                 $185,559.00             $7,362,455.90
      Creditor's Name                              ALL ACCOUNTS, CHATTEL PAPER,
                                                   DOCUMENTS, EQUIPMENT, GENERAL
                                                   INTANGIBLES, INSTRUMENTS, AND
                                                   INVENTORY, ALL PROCEEDS, ALL FUNDS
                                                   ETC.
      ADDRESS UNKNOWN
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      DAIMLER-MERCEDES
2.2                                                                                                                       $11,457.05                $35,000.00
      BENZ                                         Describe debtor's property that is subject to a lien
      Creditor's Name                              2019 WILSON CF-1080 (#195)
                                                   (SERIAL #7059)
      FINANCIAL SERVICES
      1301 E. TOWER RD                             (DAIMLER-MERCEDES)
      SCHAUMBURG, IL 60173
      Creditor's mailing address                   Describe the lien
                                                   Capital Lease
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      January 10, 2019                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 13


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)     2:23-bk-20019
            Name

      Last 4 digits of account number
      6001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   FORD CREDIT                                 Describe debtor's property that is subject to a lien                      $8,000.77        $50,000.00
      Creditor's Name                             2018 FORD F-550 SUPER DUTY
                                                  VIN #4561
      P.O. BOX 650575                             (FORD CREDIT)
      DALLAS, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Sales Contract
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      August 8, 2018                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0526
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   FORD CREDIT                                 Describe debtor's property that is subject to a lien                      $9,197.15        $50,000.00
      Creditor's Name                             2018 FORD F-550 SUPER DUTY
                                                  VIN #2668

      P.O. BOX 650575                             (FORD CREDIT)
      DALLAS, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Sales Contract
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      September 7, 2018                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2047
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   FORD CREDIT                                 Describe debtor's property that is subject to a lien                     $19,352.01        $55,000.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 13


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

      Creditor's Name                             2019 FORD F-550
                                                  VIN #2760

      P.O. BOX 650575                             (FORD CREDIT)
      DALLAS, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Sales Contract
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      April 4, 2019                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6061
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   HIGHLAND CAPITAL                            Describe debtor's property that is subject to a lien                     $156,660.00        $275,000.00
      Creditor's Name                             TITAN II DOUBLE DECK VARIABLE SPEED
                                                  LINER

      5 CENTER AVENUE                             (HIGHLAND CAPITAL)
      LITTLE FALLS, NJ 07424
      Creditor's mailing address                  Describe the lien
                                                  Equipment Lease Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      April 4, 2019                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9019
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      HUNTINGTON NATIONAL
2.7                                               Describe debtor's property that is subject to a lien                     $130,126.73        $147,000.00
      BANK
      Creditor's Name                             PJ 24 B.P. D.O. FLAT - SERIAL NUMBER 5946
                                                  7,000
                                                  2019 WILSON TRAILER - SERIAL NUMBER
                                                  6936 35,000
                                                  2019 WILSON TRAILER - SERIAL NUMBER
                                                  7263 35,000
                                                  2019 WIILSON TRAILER - SERIAL NUMBER
                                                  7264 35,000
                                                  2019 WILSON TRAILER - SERIAL NUMBER
      1405 XENIUM LN N                            7265 3
      MINNEAPOLIS, MN 55441
      Creditor's mailing address                  Describe the lien



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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

                                                  Commercial Financial Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/24/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4365
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      MACHINERY FINANCE
2.8                                                                                                                         $90,430.83        $195,000.00
      RESOURCES                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             HOT MELT 220 VAC SEALANT SYSTEM 5,000
                                                  METALFORMING QUADRO & N
                                                  ROLLFORMER WITH 1-3/4" SNAPLOCK
                                                  CASSETT SET 50,000
                                                  METALFORMING 3100 SHEAR 50,000
                                                  METAL FORMING MAX 3100 IFOLD FOLDER
                                                  36,000
                                                  MRS RIDGE CAP PRESS 9,500
      651 DAY HILL RD.                            METALFORMING QUADRO R
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      May 2, 2018                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2670
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      MACHINERY FINANCE
2.9                                                                                                                        $156,238.32        $300,000.00
      RESOURCES                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             SWI 5 TON POWERED DECOILER WITH COIL
                                                  CAR
                                                  SWI MARXMAN PRO SLITTER
                                                  SWI 5 TON POWERED DE-COILER
                                                  SWI 5 TON DE-COILER
                                                  SWI 5 TON RE-COILER
                                                  SWI FILM APPLICATOR ROD WITH COLLARS

      651 DAY HILL RD.                            (MFR - ACCNT #3770)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      July 18, 2018                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3770
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
0     RESOURCES                                   Describe debtor's property that is subject to a lien                     $116,742.49         $79,000.00
      Creditor's Name                             WEBER ALPHA COMPACT RIGHT HAND
                                                  LABLE APPLICATOR 3,000
                                                  MRS 12,000 LB UPENDER 17,000
                                                  MRS 20,000 LB UPENDER
                                                  SWEED 450 AM DXSL SINGLE MAIN
                                                  ASSEMBLY SCRAPPER 4,000
                                                  MOFFET M8 55 4NX FORKLIFT 50,000
                                                  MULTIFAB AUTOMATIC ARCH STRAPPING
      651 DAY HILL RD.                            MACHINE 5
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      September 13, 2018                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4515
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
1     RESOURCES                                   Describe debtor's property that is subject to a lien                     $196,555.25        $162,000.00
      Creditor's Name                             MRS 12,000 LB UPENDER 10,000
                                                  MRS 12,000 LB UPENDER
                                                  MRS TITAN PERFORATOR PASS WITH
                                                  FRAME EXTENSION 30,000
                                                  MRS PNEUMATIC BACK CUT SHEAR 10,000
                                                  ASC SHEAR BLADES 12,000
                                                  ZIMMERMAN STRUCTURAL ROOF PANEL
                                                  MACHINE 100,000

      651 DAY HILL RD.                            (MFR- ACCNT #2565)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2565
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
2     RESOURCES                                   Describe debtor's property that is subject to a lien                      $55,927.36         $75,000.00
      Creditor's Name                             JORNS 18 GAUGE 21' FOLDING MACHINE
                                                  WITH ALL STANDARD OPTIONS &
                                                  ACCESSORIES 75,000
      651 DAY HILL RD.                            (MFR -ACCNT #2610)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2610
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
3     RESOURCES                                   Describe debtor's property that is subject to a lien                     $132,231.73        $135,000.00
      Creditor's Name                             WINN RACK STRUCTURAL RACKING
                                                  MARXMAN SS1220 TRIM SLITTER 70,000
                                                  STORM RYDER 24X24X17 ALUMINUM BOXES
                                                  18,000
                                                  METALFORMING MAX3100 IFOLD TRIM
                                                  FOLDER
                                                  JORNS MSC 06067 SLITTING BLADE
                                                  ASSEMBLIES 7,000
                                                  SPIROR 600 WRAPPER 40,000
      651 DAY HILL RD.                            (MFR - ACCNT #
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)     2:23-bk-20019
            Name

      September 12, 2019                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4740
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
4     RESOURCES                                   Describe debtor's property that is subject to a lien                     $94,072.40        $25,000.00
      Creditor's Name                             CANNTEC OSW-24 ORBITAL STRETCH
                                                  WRAPPER MACHINE
                                                  SSQ KARR'S PANEL MACHINE

      651 DAY HILL RD.                            (MFR - ACCNT #4760)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Capital Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      September 13, 2019                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4760
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
5     RESOURCES                                   Describe debtor's property that is subject to a lien                     $37,069.22        $27,000.00
      Creditor's Name                             27 SIGNODE 5/8 - 3/4 SEALLESS BANDING
                                                  MACHINES
      651 DAY HILL RD.                            (MFR - ACCNT #2070)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Equipment Finance Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      March 18, 2020                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2070
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

2.1   MACHINERY FINANCE
6     RESOURCES                                   Describe debtor's property that is subject to a lien                     $210,274.76        $220,000.00
      Creditor's Name                             4 MOFFETT M8-55-4-NX TRUCK MOUNTED
                                                  FORKLIFT

      651 DAY HILL RD.                            (MFR - ACCNT #0750)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  Equipment Finance Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      November 23, 2020                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0750
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MACHINERY FINANCE
7     RESOURCES                                   Describe debtor's property that is subject to a lien                      $20,799.16         $20,000.00
      Creditor's Name                             GUTTER MAKER DRIP EDGE ROLLFORMER

      651 DAY HILL RD.                            (MFR)
      WINDSOR, CT 06095
      Creditor's mailing address                  Describe the lien
                                                  EQUIPMENT FINANCE AGREEMENT
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      December 3, 2020                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0880
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   MIDLAND EQUIPMENT
8     FINANCE                                     Describe debtor's property that is subject to a lien                     $200,961.67        $310,000.00
      Creditor's Name                             ONE (1) NEW RAS XXL-CENTER METAL
                                                  FOLDING SYSTEM 310,000
      7700 BONHOMME
      AVENUE, STE. 300                            (MIDLAND EQUIPMENT)
      SAINT LOUIS, MO 63105
      Creditor's mailing address                  Describe the lien
                                                  Lease Agrement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes


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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      September 10, 2019                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   PSB CREDIT SERVICES
9     INC.                                        Describe debtor's property that is subject to a lien                 $1,417,633.85      $7,362,455.90
      Creditor's Name                             ALL ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
                                                  INTANGIBLES, INSTRUMENTS, AND
                                                  INVENTORY, ALL PROCEEDS, ALL FUNDS
      P.O. BOX 38                                 ETC.
      PRINSBURG, MN 56281
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      AUGUST, 2019                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4413
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   PSB CREDIT SERVICES
0     INC.                                        Describe debtor's property that is subject to a lien                     $496,003.32    $7,362,455.90
      Creditor's Name                             ALL ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
                                                  INTANGIBLES, INSTRUMENTS, AND
                                                  INVENTORY, ALL PROCEEDS, ALL FUNDS
      P.O. BOX 38                                 ETC.
      PRINSBURG, MN 56281
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      NOVEMBER 18, 2020                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4414
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)    2:23-bk-20019
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   PSB CREDIT SERVICES
1     INC.                                        Describe debtor's property that is subject to a lien                 $1,700,000.00    $7,362,455.90
      Creditor's Name                             ALL ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
                                                  INTANGIBLES, INSTRUMENTS, AND
                                                  INVENTORY, ALL PROCEEDS, ALL FUNDS
                                                  ETC. AND MORTGAGE AGAINST REAL
                                                  PROPERTY OWNED BY DENNIS AND
      P.O. BOX 38                                 BRENDA JOHNSON IN GALLATIN COUNTY
      PRINSBURG, MN 56281
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      MARCH 18, 2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4416
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   PSB CREDIT SERVICES
2     INC.                                        Describe debtor's property that is subject to a lien                 $2,500,000.00    $7,362,455.90
      Creditor's Name                             ALL ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
                                                  INTANGIBLES, INSTRUMENTS, AND
                                                  INVENTORY, ALL PROCEEDS, ALL FUNDS &
                                                  MORTGAGE AGAINST REAL PROPERTY
                                                  OWEND BY BOONE PROPERTIES LLC &
                                                  BLUEBIRD PROPERTIES LLC IN
      P.O. BOX 38                                 YELLOWSTONE COUNTY, MT
      PRINSBURG, MN 56281
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      JUNE 10, 2022                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4417
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)      2:23-bk-20019
            Name



2.2   PSB CREDIT SERVICES
3     INC.                                        Describe debtor's property that is subject to a lien                 $1,900,000.00      $7,362,455.90
      Creditor's Name                             LL ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
                                                  INTANGIBLES, INSTRUMENTS, AND
                                                  INVENTORY, ALL PROCEEDS, ALL FUNDS
      P.O. BOX 38                                 ETC.
      PRINSBURG, MN 56281
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      SEPTEMBER 8, 2022                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4418
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   SEAMLESS CAPITAL
4     GROUP                                       Describe debtor's property that is subject to a lien                      $53,964.00    $7,362,455.90
      Creditor's Name                             ALL ACOUNTS, DEPOSIT ACCOUNTS,
                                                  ACCOUNTS-RECEIVABLE, AND OTHER
                                                  RECEIVABLES, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
      17560 ATLANTIC BLVD                         INTANGIBLES, INSTRUMENTS, INVENTORY,
      NORTH MIAMI BEACH, FL                       ALL SELLER'S PROCEEDS ETC.
      33160
      Creditor's mailing address                  Describe the lien
                                                  Future Receivables Sale and Purchase
                                                  Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      January 18, 2023                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
5     THE LCF GROUP, INC.                         Describe debtor's property that is subject to a lien                     $347,166.60    $7,362,455.90




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Debtor      BRIDGER STEEL, INC.                                                                   Case number (if known)     2:23-bk-20019
            Name

      Creditor's Name                             ACCOUNTS, CHATTEL PAPER,
                                                  DOCUMENTS, EQUIPMENT, GENERAL
      3000 MARCUS AVENUE                          INTANGIBLES, INVENTORY, OR
      STE. W215                                   INVESTMENT PROPERTY, ALL PROCEEDS,
      NEW HYDE PARK, NY                           FUNDS IN MERCHANTS ACCOUNT ETC.
      11042
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      December 19, 2022                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
6     WELLS FARGO                                 Describe debtor's property that is subject to a lien                     $22,088.56        $45,000.00
      Creditor's Name                             FORKLIFT
      800 WALNUT ST.                              (SERIAL #4434)
      4TH FLOOR                                   (WELLS FARGO BANK)
      DES MOINES, IA 50309
      Creditor's mailing address                  Describe the lien
                                                  LEASE AGREEMENT - $1 PURCHASE
                                                  OPTION
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/8/2019                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
7     WELLS FARGO                                 Describe debtor's property that is subject to a lien                     $29,075.87        $45,000.00
      Creditor's Name                             FORKLIFT -
      800 WALNUT ST.                              (SERIAL #6327)
      4TH FLOOR                                   (WELLS FARGO)
      DES MOINES, IA 50309
      Creditor's mailing address                  Describe the lien
                                                  LEASE AGREEMENT - $1 PURCHASE
                                                  OPTION
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 12 of 13


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Debtor      BRIDGER STEEL, INC.                                                                  Case number (if known)       2:23-bk-20019
            Name

      Date debt was incurred                        No
      May 8, 2019                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7002
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



                                                                                                                          $10,297,588.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                     10

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       BB&T COMMERCIAL EQUIPMENT CAPITAL
       2 GREAT VALLEY PARKWAY                                                                              Line   2.7
       SUITE 300
       MALVERN, PA 19355

       MARCELLA G. RABINOVICH
       THE FELDMAN LAW FIRM, P.C                                                                           Line   2.25
       147 WILLIS AVENUE
       MINEOLA, NY 11501

       SCOTT LARISON
       LATHROP GPM LLP                                                                                     Line   2.19
       1010 WEST ST. GERMAIN
       SUITE 500
       SAINT CLOUD, MN 56301

       SCOTT LARISON
       LATHROP GPM LLP                                                                                     Line   2.20
       1010 WEST ST. GERMAIN
       SUITE 500
       SAINT CLOUD, MN 56301




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 13 of 13


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Fill in this information to identify the case:

Debtor name        BRIDGER STEEL, INC.

United States Bankruptcy Court for the:         DISTRICT OF MONTANA

Case number (if known)           2:23-bk-20019
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,258.84         $2,258.84
          ABE ROBB                                            Check all that apply.
          11907 PLESANT VALLEY RD                                Contingent
          CUSTER, SD 57730                                       Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              CUSTOMER REFUNDS

          Last 4 digits of account number NONE                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $7,658.84         $3,350.00
          ADAM STOCKWELL                                      Check all that apply.
          300 N 4TH ST                                           Contingent
          GREYBULL, WY 82426                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              CUSTOMER REFUNDS

          Last 4 digits of account number NONE                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $454.11    $454.11
         ANDREW SMITH                                       Check all that apply.
         17049 INDIAN CREEK ROAD                               Contingent
         SCENIC, SD 57780                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $62.55    $62.55
         ANTHONY SONGSTAD                                   Check all that apply.
         410 WEST FRONT AVE                                    Contingent
         JOLIET, MT 59041                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,454.70   $1,454.70
         ARLEN R CARMICHAEL                                 Check all that apply.
         PO BOX 242                                            Contingent
         NEW UNDERWOOD, SD 57761                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $826.08    $826.08
         BERT OBERT                                         Check all that apply.
         13 FORD LANE                                          Contingent
         CLANCY, MT 59634                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 47



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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $3,151.08   $3,151.08
         CHAD JOHNSON                                       Check all that apply.
         17 MUIR RD E                                          Contingent
         BOZEMAN, MT 59715                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,435.50   $1,435.50
         CHUCK SPENCER                                      Check all that apply.
         3080 RODEO ROAD                                       Contingent
         HELENA, MT 59602                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,880.63   $1,880.63
         COLIN ZEMAN                                        Check all that apply.
         7100 NORTH MONTANA AVE                                Contingent
         HELENA, MT 59602                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $675.03    $675.03
         CORWIN COUGHLIN                                    Check all that apply.
         3100 BAKER CREEK                                      Contingent
         MANHATTAN, MT 59741                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 47



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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $10,772.68    $3,350.00
         DAN MELLON                                         Check all that apply.
         13150 Snowshoe Thompson Circle                        Contingent
         Roseville, CA 95661                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $4,286.95   $3,350.00
         DANA NORDQUIST                                     Check all that apply.
         7770 Nameless Cave Road                               Contingent
         Rapid City, SD 57702                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $476.99    $476.99
         DARCY KREAMER                                      Check all that apply.
         31 Shane Dr                                           Contingent
         Jefferson City, MT 59638                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $3,598.20   $3,350.00
         DAVE DULINSKI                                      Check all that apply.
         214 Miller Creek RD                                   Contingent
         Cooke City, MT 59020                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $3,864.50   $3,350.00
         DAVID STONEHOCKER                                  Check all that apply.
         7329 Hwy 312                                          Contingent
         Billings, MT 59105                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,125.67   $1,125.67
         DUKE JOHNSON                                       Check all that apply.
         1750 East Baseline Rd                                 Contingent
         Belgrade, MT 59714                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $96.72    $96.72
         ERIK RANDLE                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $3,665.22   $3,350.00
         FRED BEAL                                          Check all that apply.
         7095 Beaver Creek                                     Contingent
         Helena, MT 59602                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $240,383.75    $15,150.00
         GREGORY A. BANKERT                                 Check all that apply.
         106 TANA LN                                           Contingent
         BILLINGS, MT 59106                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,315.22   $1,315.22
         HSA ADMINISTRATOR                                  Check all that apply.
         121 WEST SCENIC                                       Contingent
         DRAPER, UT 84020                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               HSA CONTRIBUTIONS
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $98,815.59    $98,815.59
         INTERNAL REVENUE SERVICE                           Check all that apply.
         PO BOX 7346                                           Contingent
         PHILADELPHIA, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               PAYROLL LIABILITIES - 941'S
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $5,592.73   $3,350.00
         JAKE LESOFSKI                                      Check all that apply.
         3120 Baldy Dr                                         Contingent
         Helena, MT 59602                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $8,671.33   $3,350.00
         JESSE FOSTER                                       Check all that apply.
         6921 Flora Ave S                                      Contingent
         Seattle, WA 98108                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $5,394.86   $3,350.00
         KEITH MATTHEWS                                     Check all that apply.
         1659 Brodiea Ave                                      Contingent
         Ventura, CA 93001                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,365.40   $1,365.40
         KYLE KNUTSON                                       Check all that apply.
         45915 210th St                                        Contingent
         Volga, SD 57071                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,816.10   $1,816.10
         LONGWORTH, RICHARD                                 Check all that apply.
         Po Box 176                                            Contingent
         Pompeys Pillar, MT 59064                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor       BRIDGER STEEL, INC.                                                                     Case number (if known)   2:23-bk-20019
             Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,800.66   $1,800.66
         MALCOM MCKILLOP & SALLY                            Check all that apply.
         REIMAN                                                Contingent
         7900 East Arrowhead Pkwy                              Unliquidated
         #320                                                  Disputed
         Sioux Falls, SD 57110
         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,206.36   $1,206.36
         MARILYN OAKES                                      Check all that apply.
         24524 Playhouse Rd                                    Contingent
         Keystone, SD 57751                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $3,370.38   $3,350.00
         MARK HENDRIX                                       Check all that apply.
         11406 Pass Creek                                      Contingent
         Custer, SD 57730                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         0                                                  CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $173,798.00    $15,150.00
         MICHAEL DUFRESNE                                   Check all that apply.
         5632 PHANTOM CREEK AVENEUE                            Contingent
         BILLINGS, MT 59106                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,284.21   $1,284.21
         MICHELLE SPAULDING                                 Check all that apply.
         309 NORTH ADAMS ST.                                   Contingent
         Boulder, MT 59632                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $9,750.00   $9,750.00
         MINNESOTA REVENUE                                  Check all that apply.
         MAIL STATION 4410                                     Contingent
         SAINT PAUL, MN 55146-4410                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               WITHHOLDING
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $16,527.60    $16,527.60
         MONTANA DEPARTMENT OF                              Check all that apply.
         LABOR & INDUSTRY                                      Contingent
         P.O. BOX 20051                                        Unliquidated
         HELENA, MT 59620-0517                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               UNEMPLOYMENT
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $15,464.00    $15,464.00
         MONTANA DEPARTMENT OF                              Check all that apply.
         REVENUE                                               Contingent
         P.O. BOX 6309                                         Unliquidated
         HELENA, MT 59604                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               WITHOLDING
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $2,091.40   $2,091.40
         OLEG IVANOV                                        Check all that apply.
         1207 South Hampton                                    Contingent
         Southampton, PA 18966                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $27,012.17    $3,350.00
         PAMELA WALKER                                      Check all that apply.
         332 Hemlock Drive                                     Contingent
         Lockwood, MT 59101                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $167.69    $167.69
         PENNSYLVANIA DEPARTMENT                            Check all that apply.
         OF                                                    Contingent
         LABOR & INDUSTRY                                      Unliquidated
         651 BOAS ST.                                          Disputed
         HARRISBURG, PA 17121
         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               UNEMPLOYMENT
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $345.17    $345.17
         PENNSYLVANIA DEPARTMENT                            Check all that apply.
         OF REVENUE                                            Contingent
         11TH FLOOR                                            Unliquidated
         STRAWBERRY SQUARE                                     Disputed
         HARRISBURG, PA 17128
         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               WITHHOLDING
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
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2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $5,653.53   $3,350.00
         PETER SCHWIESOW                                    Check all that apply.
         401 Enchanted Pines Drive                             Contingent
         Rapid City, SD 57701                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $32,914.49    $32,914.49
         PRINCIPAL FINANCE GROUP                            Check all that apply.
         P.O. BOX 77202                                        Contingent
         MINNEAPOLIS, MN 55480                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/3/2023 - 2/17/2023                               401K CONTRIBUTIONS
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $211,371.00    $15,150.00
         ROBERT F. METTES                                   Check all that apply.
         P.O. BOX 2170                                         Contingent
         RED LODGE, MT 59068                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $13,572.98    $3,350.00
         SCOTT KASTENGREN                                   Check all that apply.
         6272 US Hwy 287 N                                     Contingent
         Norris, MT 59745                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      BRIDGER STEEL, INC.                                                                      Case number (if known)   2:23-bk-20019
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2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $1,560.30   $1,560.30
         SCOTT WELBORN                                      Check all that apply.
         PO Box 405                                            Contingent
         Worden, MT 59088                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $478,671.50    $15,150.00
         SRINIVAS ANDAY                                     Check all that apply.
         355 DELTA CIR.                                        Contingent
         BILLINGS, MT 59102                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $7,366.36   $3,350.00
         STEVEN MAERTENS                                    Check all that apply.
         PO Box 273                                            Contingent
         Big Horn, WY 82833-0273                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $69.88    $69.88
         TAMMY KONGSRUD                                     Check all that apply.
         1518 Powers Blvd                                      Contingent
         Bozeman, MT 59715                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            CUSTOMER REFUNDS

         Last 4 digits of account number NONE               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor        BRIDGER STEEL, INC.                                                                        Case number (if known)          2:23-bk-20019
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2.47       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $339.73    $339.73
           TODD SNIDER                                          Check all that apply.
           120 W Hickory St                                        Contingent
           Three Forks, MT 59752                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                CUSTOMER REFUNDS

           Last 4 digits of account number NONE                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.48       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,228.31   $1,228.31
           TOM YOUNG                                            Check all that apply.
           24028 Tin Lode Court                                    Contingent
           Hill City, SD 57745                                     Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                CUSTOMER REFUNDS

           Last 4 digits of account number NONE                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                    $70.61
          AB PROPANE INC                                                          Contingent
          1700 WEST 50TH STREET                                                   Unliquidated
          SIOUX FALLS, SD 57105                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     VENDOR
          Last 4 digits of account number     NONE
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $6,063.14
          ABC SUPPLY CO. INC                                                      Contingent
          4300 STATE AVE                                                          Unliquidated
          BILLINGS, MT 59101-5036                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     VENDOR
          Last 4 digits of account number     NONE
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $33,727.14
          ACE ROOFING LLC                                                         Contingent
          P.O. BOX 405                                                            Unliquidated
          WILSALL, MT 59086                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     CUSTOMER REFUNDS
          Last 4 digits of account number     NONE
                                                                              Is the claim subject to offset?     No       Yes




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3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $610.00
         ACTION PEST CONTROL                                          Contingent
         PO BOX 81002                                                 Unliquidated
         BILLINGS, MT 59108                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $26,722.00
         ACTIVE INTEREST                                              Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $680.98
         ADOBE CREATIVE CLOUD                                         Contingent
         345 PARK AVENUE                                              Unliquidated
         SAN JOSE, CA 95110-2704                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $95.00
         ADVANCED OCCUPATIONAL MEDICAL                                Contingent
         501 N CUTTING AVE                                            Unliquidated
         JENNINGS, LA 70546                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,422.33
         ADVISOR COMMERCIAL REALTY LLC                                Contingent
         8953 S ROUND ROCK STREET                                     Unliquidated
         HIGHLANDS RANCH, CO 80126                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $13,680.40
         AERO INDUSTRIES INC.                                         Contingent
         4243 W BRADBURY AVE                                          Unliquidated
         INDIANAPOLIS, IN 46241-5253                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $975.00
         AIA SOUTH DAKOTA
         PO BOX 1596                                                  Contingent
         SD SOCIETY OF AMERICAN INSTITUTE OF                          Unliquidated
         ARCH                                                         Disputed
         SIOUX FALLS, SD 57101
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known)            2:23-bk-20019
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3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $9,252.50
         AL GOSS                                                      Contingent
         2223 GENERAL KIRK DRIVE                                      Unliquidated
         MURFREESBORO, TN 37129                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $438.23
         ALEXANDER PECK                                               Contingent
         42 NEBRASKA ST                                               Unliquidated
         RAPID CITY, SD 57701                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $290.65
         ALL AMERICAN HEATING AND COOLING                             Contingent
         LLC                                                          Unliquidated
         PO BOX 353                                                   Disputed
         RAPID CITY, SD 57709-0353
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $72.00
         ALLIANCE COMMUNICATIONS                                      Contingent
         PO BOX349                                                    Unliquidated
         GARRETSON, SD 57030-0349                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,413.28
         ALPHA OVERHEAD DOOR                                          Contingent
         1415 1ST AVE NORTH                                           Unliquidated
         BILLINGS, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,382.36
         AMERIGAS                                                     Contingent
         PO BOX 660288                                                Unliquidated
         DALLAS, TX 75266-0288                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PROPANE
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,451.80
         AMERITAS LIFE INSURANCE CORP.                                Contingent
         PO BOX 81889                                                 Unliquidated
         LINCOLN, NE 68501-1889                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known)            2:23-bk-20019
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3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $36,011.60
         AMSI                                                         Contingent
         PO BOX 759                                                   Unliquidated
         DOUGLASVILLE, GA 30133-0759                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,950.00
         APPLICAD                                                     Contingent
         1340 US HIGHWAY 1                                            Unliquidated
         JUPITER, FL 33469                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,926.70
         ARMSTRONG & ACEVES COMPANY, INC.                             Contingent
         17660 COWAN                                                  Unliquidated
         IRVINE, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,207.42
         ARNOLD MACHINERY COMPANY                                     Contingent
         7099 WEST BARTON DR                                          Unliquidated
         CASPER, WY 82601-1890                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,642.63
         AT&T                                                         Contingent
         PO BOX 5019                                                  Unliquidated
         CAROL STREAM, IL 60197-5019                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,777.94
         ATLAS BOLT & SCREW                                           Contingent
         PO BOX 96113                                                 Unliquidated
         CHICAGO, IL 60693-6113                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $27,852.77
         BALL CONSTRUCTION                                            Contingent
         30701 WESR 3RD CREEK ROW                                     Unliquidated
         MARIE, MI 49783                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known)            2:23-bk-20019
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3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $468.00
         BEARTOOTH FIRE PROTECTION INC.                               Contingent
         PO BOX 142                                                   Unliquidated
         1817 EAST MAIN ST                                            Disputed
         LAUREL, MT 59044
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20.29
         BELGRADE AUTO SUPPLY, INC.                                   Contingent
         (CARQUEST)                                                   Unliquidated
         109 WEST MAIN STREET                                         Disputed
         BELGRADE, MT 59714
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $550.00
         BELGRADE CHAMBER OF COMMERCE                                 Contingent
         10. E. MAIN                                                  Unliquidated
         BELGRADE, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,200.88
         BERG'S OVERHEAD DOOR LLC                                     Contingent
         34 COKEDALE RD                                               Unliquidated
         LIVINGSTON, MT 59047                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $213.70
         BERGER BUILDING PRODUCTS                                     Contingent
         PO BOX 2153                                                  Unliquidated
         DEPT #3479                                                   Disputed
         BIRMINGHAM, AL 35287-3479
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $160.00
         BESTMED URGENT CARE                                          Contingent
         PO BOX 5515                                                  Unliquidated
         PORTLAND, OR 97228-5515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,150.00
         BIG SKY JOURNAL                                              Contingent
         924 INCLINE WAY, STE. B                                      Unliquidated
         INCLINE VILLAGE, NV 89451                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known)            2:23-bk-20019
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3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,272.97
         BIG SKY LINEN & UNIFORM                                      Contingent
         715 CENTRAL AVENUE                                           Unliquidated
         BILLINGS, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $39,804.17
         BIGCOMMERCE                                                  Contingent
         11305 FOUR POINTS DRIVE BUILDING II, FIR                     Unliquidated
         AUSTIN, TX 78726                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,932.39
         BILL BRAZILL                                                 Contingent
         34 BRAZIL LN                                                 Unliquidated
         WHITEHALL, MT 59759                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $869.00
         BILLINGS CLINIC OCCUPATIONAL                                 Contingent
         1020 N. ST #301                                              Unliquidated
         BILLINGS, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,049.38
         BLACK HILLS ENERGY-CASPER                                    Contingent
         P.O. BOX 6001                                                Unliquidated
         RAPID CITY, SD 57709-6001                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,876.00
         BLACK HILLS HOME BUILDERS                                    Contingent
         3121 WEST CHICAGO                                            Unliquidated
         RAPID CITY, SD 57702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,010.00
         BLACK HILLS LIFESTYLES                                       Contingent
         PO BOX 91606                                                 Unliquidated
         SIOUX FALLS, SD 57109                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $205.00
         BLACK HILLS URGENT CARE.                                     Contingent
         PO BOX 817                                                   Unliquidated
         RAPID CITY, SD 57709-0817                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $27.00
         BLACKWOOD BUILDERS                                           Contingent
         41 ZAIDE LANE                                                Unliquidated
         BOZEMAN, MT 59718                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         BLUEBIRD PROPERTIES LLC                                      Contingent
         1558 AMSTERDAM RD.                                           Unliquidated
         BELGRADE, MT 59714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PLEDGED REAL ESTATE AS SECURITY FOR THE
         Last 4 digits of account number                           PSB LOANS
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $59,250.00
         BOBCAT SPORTS PROPERTIES, LLC                                Contingent
         PO BOX 843038                                                Unliquidated
         C/O LEARFIELD COMMUNICATIONS, INC                            Disputed
         KANSAS CITY, MO 64184-3038
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,353.16
         BOETTCHER SOLUTIONS LLC                                      Contingent
         1102 EAST DOUGLAS ST                                         Unliquidated
         ONEIL, NE 68763                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,600.00
         BOOMI INC.                                                   Contingent
         PO BOX 842848                                                Unliquidated
         BOSTON, MA 02284-2848                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,500.00
         BOONE PROOPERTIES LLC                                        Contingent
         1558 AMSTERDAM RD                                            Unliquidated
         BELGRADE, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    INTERCOMPANY DEBT
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         BOONE PROOPERTIES LLC                                        Contingent
         1558 AMSTERDAM RD                                            Unliquidated
         BELGRADE, MT 59714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PLEDGED REAL ESTATE AS SECURITY FOR THE
         Last 4 digits of account number                           PSB LOANS
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10.00
         BRIDGER ORTHOPEDIC & SPORTS
         MEDICINE                                                     Contingent
         1450 ELLIS STREET                                            Unliquidated
         SUITE 201                                                    Disputed
         BOZEMAN, MT 59715
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         BRUCE KNUDSEN                                                Contingent
         7925 FRITZ RD                                                Unliquidated
         LAUREL, MT 59044                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    NOTICE ONLY
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $155.00
         BUG DOCTOR, INC.                                             Contingent
         PO BOX 513                                                   Unliquidated
         BLACK EAGLE, MT 59414                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $698.00
         BUILDERS EXCHANGE                                            Contingent
         1105 REEVES ROAD WEST                                        Unliquidated
         SUITE 800                                                    Disputed
         BOZEMAN, MT 59718
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $10,481.42
         CAMERON ASHLEY BUILDING PRODUCTS                             Contingent
         PO BOX 736452                                                Unliquidated
         DALLAS, TX 75373-6452                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $128.76
         CAPITAL BUSINESS SYSTEMS, INC. -                             Contingent
         107-127                                                      Unliquidated
         P.O. BOX 660831                                              Disputed
         DALLAS, TX 75266-0831
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,044.74
         CAPITAL BUSINESS SYSTEMS, INC. - BS06*                       Contingent
         P.O. BOX 508                                                 Unliquidated
         CHEYENNE, WY 82003-0508                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $491,696.39
         CASCADIA METALS                                              Contingent
         PO BOX 1276                                                  Unliquidated
         LONGVIEW, WA 98632                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,100.00
         CENTRAL OREGON TRUCK COMPANY INC                             Contingent
         PO BOX 31001-2102                                            Unliquidated
         C/O DASEKE INC                                               Disputed
         PASADENA, CA 91110-2102
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,380.94
         CHALLENGER PALLET & SUPPLY, INC.                             Contingent
         24 NORTH 3210 EAST                                           Unliquidated
         IDAHO FALLS, ID 83401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,690.00
         CHANG YOU                                                    Contingent
         C/O MICHAEL C. DOGGETT                                       Unliquidated
         2120 S. RESERVE ST., #130                                    Disputed
         MISSOULA, MT 59801
                                                                                (LAWSUIT PENDING WITH THE LEWIS AND CLARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
                                                                   COUNTY DISTRICT COURT)
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $49,722.25
         CHRYSLER CAPITAL                                             Contingent
         P.O. BOX 660335                                              Unliquidated
         DALLAS, TX 75266                                             Disputed
         Date(s) debt was incurred March 5, 2021
                                                                   Basis for the claim:    2021 DODGE TRUCK
         Last 4 digits of account number 4903                      VIN #2409

                                                                   (CHRYSLER CAPITAL)
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $355.44
         CINTAS FIRST AID & SAFETY                                    Contingent
         P.O. BOX 631025                                              Unliquidated
         CINC, OH 45263-1025                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8.36
         CITI CARDS                                                   Contingent
         P.O. BOX 90001016                                            Unliquidated
         LOUISVILLE, KY 40290-1016                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $514.00
         CK MECHANICAL, INC.                                          Contingent
         PO BOX 485                                                   Unliquidated
         CASPER, WY 82602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,000.00
         COILPLUS
         ILLINOIS DIVISION OF COILPLUS INC                            Contingent
         30665 NORTHWEST HWY                                          Unliquidated
         STE. 280                                                     Disputed
         FARMINGTON HILLS, MI 48334
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $573.16
         COLORADO CUSTOM METAL INC                                    Contingent
         PO BOX 5431                                                  Unliquidated
         DILLON, CO 80435                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $7,857.48
         COMMERCIAL DESIGN SYSTEMS, INC.                              Contingent
         13825 SW GALBREATH DRIVE                                     Unliquidated
         SHERWOOD, OR 97140                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $180.00
         COMTRONIX                                                    Contingent
         COMMUNICATION ELECTRONICS, INC                               Unliquidated
         800 W. COLLINS DRIVE                                         Disputed
         CASPER, WY 82601
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $833.36
         CONSTRUCTION INDUSTRY CENTER                                 Contingent
         P.O. BOX 1227                                                Unliquidated
         RAPID CITY, SD 57709-1227                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,162.14
         CONSTRUCTION MARKET DATA GROUP                               Contingent
         LLC                                                          Unliquidated
         PO BOX 207121                                                Disputed
         DALLAS, TX 75320-7121
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $385.91
         CONSTRUCTIVE SOLUTIONS, INC-FAC                              Contingent
         PO BOX 11529                                                 Unliquidated
         BOZEMAN, MT 59719                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,532.20
         CORY CRAVER                                                  Contingent
         494 RED BARN DRIVE                                           Unliquidated
         BELGRADE, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,383.24
         COSTELLO PORTER LAW FIRM                                     Contingent
         704 ST. JOSEPH STREET                                        Unliquidated
         PO BOX 290                                                   Disputed
         RAPID CITY, SD 57709-0290
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $326.00
         CULLIGAN OF BOZEMAN                                          Contingent
         15 SHAWNEE WAY                                               Unliquidated
         BOZEMAN, MT 59715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16.83
         CULLIGAN OF SIOUX FALLS                                      Contingent
         1510 WEST 51ST STREET                                        Unliquidated
         SIOUX FALLS, SD 57105                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,600.00
         CURT LAINGEN TRUCKING, INC.                                  Contingent
         7810 SCANDIA ROAD                                            Unliquidated
         SHEPHERD, MT 59079                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $864.84
         D & W CRANE & RIGGING, INC.                                  Contingent
         PO Box 493                                                   Unliquidated
         Rapid City, SD 57709                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $180.00
         DATUS, INC.                                                  Contingent
         759 Clarks River Road                                        Unliquidated
         Laurel, MT 59044                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,007.16
         DE LAGE LANDEN FINANCIAL SERVICES,                           Contingent
         INC*                                                         Unliquidated
         P.O. Box 41602                                               Disputed
         Philadelphia, PA 19101-1602
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $588.19
         DEAN PARSONS                                                 Contingent
         3216 W. Fairgrounds Loop                                     Unliquidated
         Spearfish, SD 57783                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $21,563.55
         DEBOER'S CONSTRUCTION                                        Contingent
         886 St Andrews Dr                                            Unliquidated
         Bozeman, MT 59715-8741                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,000.00
         DECRA ROOFING SYSTEMS, INC.                                  Contingent
         1230 Railroad Street                                         Unliquidated
         Corona, CA 92882                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         DENNIS L. JOHNSON                                            Contingent
         8555 CAMP CREEK ROAD                                         Unliquidated
         MANHATTAN, MT 59741                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LOAN
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         DENNIS L. JOHNSON                                            Contingent
         8555 CAMP CREEK ROAD                                         Unliquidated
         MANHATTAN, MT 59741
                                                                      Disputed
         Date(s) debt was incurred
                                                                                PLEDGED HIS PERSONAL REAL ESTATE AS
                                                                   Basis for the claim:
         Last 4 digits of account number                           SECURITY FOR THE PSB LOANS
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,762.07
         DEPARTMENT OF WORKFORCE SERVICES                             Contingent
         WYOMING                                                      Unliquidated
         PO Box 20006                                                 Disputed
         Cheyenne, WY 82003-7000
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $198.25
         DEWITT WATER SYSTEMS & SERVICE                               Contingent
         P.O. Box 51770                                               Unliquidated
         Casper, WY 82605-1770                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $616.10
         DICK ANDERSON CONSTRUCTION - FAC                             Contingent
         3424 HWY 12 East                                             Unliquidated
         Helena, MT 59601                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $362.50
         DOCKINS, WILLIAM S.                                          Contingent
         3825 Valley Commons Drive, Suite 5                           Unliquidated
         Bozeman, MT 59718                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $36,467.25
         DREXEL METALS, INC                                           Contingent
         1234 Gardiner Lane                                           Unliquidated
         Attn: Accounts Receivable                                    Disputed
         Louisville, KY 40213
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $748.50
         DRUG INFORMATION SYSTEMS                                     Contingent
         2625 Broadway                                                Unliquidated
         Helena, MT 59601                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $28.00
         DRUG TESTING SERVICES OF NATRONA                             Contingent
         COUNTY                                                       Unliquidated
         1988 East 1st Street                                         Disputed
         Casper,, WY 82601
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $833,142.00
         DURA COAT PRODUCTS INC.                                      Contingent
         5361 VIA RICARDO                                             Unliquidated
         RIVERSIDE, CA 92509                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CODING REBATE
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,199.41
         EBMS                                                         Contingent
         PO Box 21367                                                 Unliquidated
         Billings, MT 59104-1367                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    MEDICAL INSURANCE
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,268.50
         EIDE BAILLY LLP                                              Contingent
         401 N. 31st St, Ste. 1120                                    Unliquidated
         PO Box 7112                                                  Disputed
         Billings, MT 59103-7112
                                                                   Basis for the claim:    ACCOUNTING FEES
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,890.01
         ESCAPE RV                                                    Contingent
         1740 20-1/2 st.                                              Unliquidated
         Rice Lake, WI 54868                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $49,735.00
         EVERGREEN SHIPPERS, LLC                                      Contingent
         13323 N Mayfair Lane                                         Unliquidated
         Spokane, WA 99208                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,664.05
         EXPRESS EMPLOYMENT PROFESSIONALS                             Contingent
         Express Services, Inc.                                       Unliquidated
         P.O. Box 203901                                              Disputed
         Dallas, TX 75320-3901
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,845.00
         FARABAUGH ENGINEERING AND TESTING,                           Contingent
         INC                                                          Unliquidated
         401 Wide Drive                                               Disputed
         McKeesport, PA 15135
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,507.60
         FEUILLERAT WELDING                                           Contingent
         13018 Melcor Rd                                              Unliquidated
         Rapid City, SD 57702-9752                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,690.51
         FIRESTONE BUILDING PRODUCTS                                  Contingent
         93661 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,782.04
         FISHER'S TECHNOLOGY                                          Contingent
         575 E. 42nd Street                                           Unliquidated
         Boise, ID 83714                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,046.25
         FLEETWORTHY SOLUTIONS, INC.                                  Contingent
         PO BOX 8026                                                  Unliquidated
         Carol Stream, IL 60197-8026                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $21,061.26
         FOUR C'S CONSTRUCTION                                        Contingent
         1560 H Street                                                Unliquidated
         Fresno, CA 93721                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,030.08
         FOX LUMBER SALES, INC.                                       Contingent
         PO Box 1000                                                  Unliquidated
         Hamilton, MT 59840                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $479.10
         FP MAILING SOLUTIONS                                         Contingent
         140 N. Mitchell Court                                        Unliquidated
         Suite 200                                                    Disputed
         Addison, IL 60101-5629
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,757.70
         GALLATIN AIRPORT AUTHORITY                                   Contingent
         850 Gallatin Field Rd Ste 6                                  Unliquidated
         Belgrade,, MT 59714                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,083.47
         GALLATIN COUNTY TREASURER                                    Contingent
         311 W.Main Rm. 104                                           Unliquidated
         Bozeman, MT 59715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PROPERTY TAXES
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,002.03
         GALLATIN TIMBERWRIGHTS                                       Contingent
         PO Box                                                       Unliquidated
         Gallatin Gateway, MT 59730                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $28.00
         GENERAL DISTRIBUTING CO                                      Contingent
         P.O. Box 2606                                                Unliquidated
         Great Falls, MT 59403-2606                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,457.60
         GREAT AMERICA FINANCIAL SERVICES                             Contingent
         PO Box 660831                                                Unliquidated
         Dallas, TX 75266-0831                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $34,307.50
         GROOVE                                                       Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




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3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,339.99
         GUARDIAN COMPUTER, LLC                                       Contingent
         3500 N Causeway Blvd                                         Unliquidated
         Suite 435                                                    Disputed
         Metairie, LA 70002
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,903.56
         GUS THE GUTTER MAN-MT                                        Contingent
         5819 Thorpe                                                  Unliquidated
         Belgrade, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $111.94
         HANSON CHEMICAL                                              Contingent
         1212 Broadwater Ave.                                         Unliquidated
         Billings, MT 59102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,895.33
         HARDRIVES CONSTRUCTION, INC                                  Contingent
         PO Box 2535                                                  Unliquidated
         Billings, MT 59103                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,470.00
         HELENA BUILDING INDUSTRY                                     Contingent
         ASSOCIATION                                                  Unliquidated
         3180 Dredge Drive, Ste B                                     Disputed
         Helena, MT 59602
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $59,882.47
         HERITAGE WOODWORKS INC.                                      Contingent
         738 Riverside Street                                         Unliquidated
         Sheridan, WY 82801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,393.39
         HIAB USA, INC.                                               Contingent
         P.O. Box 643148                                              Unliquidated
         Pittsburgh, PA 15264-3148                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $912.24
         HILLS PRODUCTS GROUP                                         Contingent
         PO BOX 2624                                                  Unliquidated
         Rapid City, SD 57709-2624                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $237.74
         HILLS SEPTIC SERVICE                                         Contingent
         4761 Sturgis Road                                            Unliquidated
         Rapid City, SD 57702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $8,423.46
         HILLSIDE DESIGNS                                             Contingent
         PO Box 360                                                   Unliquidated
         Pagosa Springs, CO 81147                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,665.72
         HIXWOOD METAL, INC.                                          Contingent
         N 14685 Copenhaver Ave.                                      Unliquidated
         Stanley, WI 54768                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $141.08
         HOEKE CO                                                     Contingent
         PO Box 274                                                   Unliquidated
         Brandon, SD 57005                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,945.00
         HOME BUILDERS ASSOCIATION OF                                 Contingent
         BILLINGS                                                     Unliquidated
         P.O. Box 20461                                               Disputed
         Billings, MT 59104
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,244.00
         HOUZZ ADVERTISING                                            Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number   NONE                    Basis for the claim:    VENDOR
                                                                   Is the claim subject to offset?     No       Yes




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3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,008.00
         INSTRUCTIONAL TECHNOLOGIES                                   Contingent
         800 NE Tenney Road, Ste 110/203                              Unliquidated
         Vancouver, WA 98685                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,360.53
         INTERWEST TIRE FACTORY                                       Contingent
         6460 Jackrabbit Lane                                         Unliquidated
         Belgrade, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $113.76
         JD'S SPRINKLER SYSTEMS, INC                                  Contingent
         PO Box 65                                                    Unliquidated
         2040 Amsterdam Road                                          Disputed
         Belgrade, MT 59714
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,128.03
         JOHANSEN INTERIORS LLC                                       Contingent
         395 E Warner Rd #2                                           Unliquidated
         Chandler, AZ 85225                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,430.00
         JOHN BARAGONA                                                Contingent
         1966 East Calle De                                           Unliquidated
         Tempe, AZ 85201                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $250,000.00
         JOHNSON FAMILY TRUST                                         Contingent
         8555 CAMP CREEK ROAD                                         Unliquidated
         MANHATTAN, MT 59741                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    LOAN
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $0.00
         KEITH WEAR                                                   Contingent
         C/O NICK LETANG                                              Unliquidated
         40 W 14TH ST                                                 Disputed
         HELENA, MT 59601
                                                                                (LAWSUIT PENDING WITH THE LEWIS AND CLARK
                                                                   Basis for the claim:
         Date(s) debt was incurred
                                                                   COUNTY DISTRICT COURT)
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $40,505.37
         KELBEC HOLDINGS LLC                                          Contingent
         3350 NORTH FORK HIGHWAY                                      Unliquidated
         CODY, WY 82414                                               Disputed
         Date(s) debt was incurred
                                                                                RENT DUE ON LEASED PROPERTY LOCATED AT
                                                                   Basis for the claim:
         Last 4 digits of account number   NONE                    6797 WILDCAT ROAD, EVANSVILLE, WY 82636
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $84.62
         KIEFFER SANITATION                                           Contingent
         PO BOX 679859                                                Unliquidated
         A Waste Connections Company                                  Disputed
         Dallas, TX 75267-9859
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,314.02
         KJH BUILDERS                                                 Contingent
         26688 425th Ave                                              Unliquidated
         Hancock, MN 56244                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $156.75
         KNIGHT SECURITY INC.                                         Contingent
         P.O. Box1162                                                 Unliquidated
         Rapid City, SD 57709-1162                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,782.78
         KORTH CONSTRUCTION                                           Contingent
         4 Collins Lane                                               Unliquidated
         Roberts, MT 59070                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,500.00
         KP SUNSET ENTERPRISES LLC                                    Contingent
         119 1/2 4th Ave                                              Unliquidated
         Laurel, MT 59044                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,545.00
         KUSTOM KONCEPTS, INC.                                        Contingent
         1351 N Derrick Drive                                         Unliquidated
         Casper, WY 82609                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $39,000.21
         KW DEVELOPMENT & CONSTRUCTION                                Contingent
         PO Box 124                                                   Unliquidated
         Jefferson City, MT 59638                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,550.00
         LAWN & ORDER LLC                                             Contingent
         1340 Kirwan Lane                                             Unliquidated
         Belgrade, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $56.90
         LEHRKIND'S GIANT SPRINGS                                     Contingent
         PO Box 538                                                   Unliquidated
         Helena, MT 59624                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $50.00
         LISAC'S TIRE-BILLINGS                                        Contingent
         3112 King Ave West                                           Unliquidated
         Billings, MT 59102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,284.53
         LOGAN STAMPINGS, INC.                                        Contingent
         1100 E. Main St                                              Unliquidated
         Logansport, IN 46947                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,928.22
         MAC CONSTRUCTION                                             Contingent
         4440 Universal Dr.                                           Unliquidated
         Rapid City, SD 57702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,073.53
         MACARTHUR COMPANY                                            Contingent
         PO Box 1450                                                  Unliquidated
         NW 6276                                                      Disputed
         Minneapolis, MN 55485
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         MACHINERY FINANCE RESOURCES                                  Contingent
         651 DAY HILL RD.                                             Unliquidated
         WINDSOR, CT 06095
                                                                      Disputed
         Date(s) debt was incurred December 7, 2020
                                                                   Basis for the claim:    TOYOTA 8FG60U FORKLIFT
         Last 4 digits of account number 0955
                                                                   (MFR - ACCNT #0955)
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         MACHINERY FINANCE RESOURCES                                  Contingent
         651 DAY HILL RD.                                             Unliquidated
         WINDSOR, CT 06095
                                                                      Disputed
         Date(s) debt was incurred March 24, 2021
                                                                   Basis for the claim:    SWI 5 TON RECOILING SYSTEM
         Last 4 digits of account number 2425
                                                                   (MFR - ACCNT #2425)
                                                                   Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,065.60
         MAGID GLOVE & SAFETY, INC.                                   Contingent
         1300 Naperville Drive                                        Unliquidated
         Romeoville, IL 60446                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,042,597.00
         MAJESTIC STEEL USA, INC.                                     Contingent
         31099 CHAGRIN BLVD.                                          Unliquidated
         CLEVELAND, OH 44124                                          Disputed
         Date(s) debt was incurred
                                                                              VENDOR (LAWSUIT PENDING IN THE COURT OF
                                                                   Basis for the claim:
         Last 4 digits of account number   NONE                    COMMON PLEAS CUYAHOGA COUNTY, OHIO)
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $307,000.00
         MARCO INDUSTRIES INC.                                        Contingent
         4150 100th E AVE                                             Unliquidated
         SUITE 301                                                    Disputed
         TULSA, OK 74146
                                                                               (LAWSUIT PENDING IN THE DISTRICT COURT IN
                                                                   Basis for the claim:
         Date(s) debt was incurred
                                                                   AND FOR TULSA COUNTY, STATE OF OKLAHOMA)
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $49,705.00
         MATT KING                                                    Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




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3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,350.00
         MCCAW, DEVRIES, STEINHAUER &                                 Contingent
         COMPANY                                                      Unliquidated
         PO Box 7307                                                  Disputed
         Bozeman, MT 59771-7307
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $8,779.60
         MD DIRECT INC,                                               Contingent
         32565 Golden Lantern #476                                    Unliquidated
         Dana Point, CA 92629                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,506.81
         METALFORMING, INC.                                           Contingent
         PO Box 896697                                                Unliquidated
         Charlotte, NC 28289-6697                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,646.07
         MFGR DESIGN                                                  Contingent
         1025 Story Mill Road                                         Unliquidated
         Bozeman, MT 59715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $88,860.40
         MICROSEA SYSTEM SOLUTIONS GMBH
         (BENDEX)                                                     Contingent
         Handelskai 94-96, A-1200                                     Unliquidated
         Millennium Tower 24 Floor                                    Disputed
         Vienna, Austria
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $378.88
         MIDCONTINENT COMMUNICATIONS                                  Contingent
         P.O. Box 5010                                                Unliquidated
         Sioux Falls, SD 57117-5010                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,058.23
         MIDWEST ALARM FIRE & SECURITY                                Contingent
         SYSTEMS                                                      Unliquidated
         2300 S Dakota Ave                                            Disputed
         Sioux Falls,, SD 57105
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $63,333.20
         MITEK USA INC.                                               Contingent
         4399 Collections Center Drive                                Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $405.00
         MONTANA AG-NEWS                                              Contingent
         PO Box 45546                                                 Unliquidated
         Boise, ID 83711                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $661.28
         MONTANA ENERGY ALLIANCE                                      Contingent
         PO Box 123                                                   Unliquidated
         Belgrade, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $291.97
         MONTANA OPTICOM*                                             Contingent
         144 Quail Run Road                                           Unliquidated
         Bozeman, MT 59718                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,474.58
         MONTANA STANDARD                                             Contingent
         P.O. Box 742548                                              Unliquidated
         Cincinnati, OH 45274-2548                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,222.00
         MORGAN WENDEROTH                                             Contingent
         701 Columbia Blvd                                            Unliquidated
         Titusville, FL 32780                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $173.70
         MOUNTAIN ALARM                                               Contingent
         P.O. Box 12487                                               Unliquidated
         Ogden, UT 84412-2487                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $676.20
         NATIONAL DRUG SCREENING                                      Contingent
         129 W Hibiscus Blvd Suite H                                  Unliquidated
         Melbourne, FL 32901                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $136.45
         NATIONAL LAUNDRY COMPANY                                     Contingent
         700 Crescent Circle                                          Unliquidated
         Great Falls, MT 59404                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,602.54
         NATRONA COUNTY WYOMING                                       Contingent
         Tom Doyle, Treasurer                                         Unliquidated
         PO Box 2290                                                  Disputed
         Casper,, WY 82602
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $456.33
         NAVITUS HEALTH SOLUTIONS                                     Contingent
         1025 West Navitus Dr.                                        Unliquidated
         Appleton, WI 54193                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $300.00
         NORTHWEST GLASS INC                                          Contingent
         PO Box 21258                                                 Unliquidated
         Billings, MT 59104-1258                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19.75
         NORTHWEST NOTICE SERVICE                                     Contingent
         P.O. Box 1327                                                Unliquidated
         Helena, MT 59624                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,121.00
         NOVA URGENT CARE                                             Contingent
         PO Box 271223                                                Unliquidated
         Salt Lake City, UT 84127                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $790,124.21
         OLD COUNTRY MILLWORK                                         Contingent
         5855 Hopper Ave                                              Unliquidated
         Los Angles, CA 90001                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,148.13
         OLD DOMINION FREIGHT LINE, INC                               Contingent
         PO Box 742296                                                Unliquidated
         Los Angeles, CA, CA 90074-2296                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $550.50
         OLD ELK RANCH                                                Contingent
         200 Table Mountain rd                                        Unliquidated
         Tie Siding, WY 82084                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         OLSON'S PEST TECHNICIANS                                     Contingent
         178 Spring Street                                            Unliquidated
         Yankton, SD 57078                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,020.00
         ORKIN PEST CONTROL LLC                                       Contingent
         P.O. Box 7161                                                Unliquidated
         Pasadena, CA 91109-7161                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $904.52
         PAPE MATERIAL HANDLING, INC                                  Contingent
         Pape Rents                                                   Unliquidated
         P.O. Box 35144 #5077                                         Disputed
         Seattle, WA 98124-5144
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,817.19
         PETTY CREEK MOUNTAIN RANCH LLC                               Contingent
         3355 Old Petty Creek Road                                    Unliquidated
         Alberton, MT 59820                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $7,770.00
         PONY PROPERTIES, LLC                                         Contingent
         1558 Amsterdam Rd.                                           Unliquidated
         Belgrade, MT 59714                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $86,110.20
         PORT OF KALAMA                                               Contingent
         110 West Marine Drive                                        Unliquidated
         Kalama,, WA 98625                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,599.00
         PRAIRIE KRAFT SPECIALTIES                                    Contingent
         1500 51st Street South                                       Unliquidated
         Great Falls,, MT 59405                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,772.81
         PUUWAI DESIGN & CONSTRUCTION                                 Contingent
         PO BOX 1708                                                  Unliquidated
         Koloa, HI 96756                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $554.95
         R GREGER CONSTRUCTION                                        Contingent
         322 North Yellowstone Street                                 Unliquidated
         Livingston, MT 59047                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $210.00
         RENDEZVOUS WATER RANCH                                       Contingent
         P.O. Box 12                                                  Unliquidated
         Black Hawk, SD 57718                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $111.34
         ROCKY MOUNTAIN POWER                                         Contingent
         Po Box 26000                                                 Unliquidated
         Portland, OR 97256-0001                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,160.59
         ROYAL ROOFING                                                Contingent
         5572 Greybull Highway                                        Unliquidated
         Cody, WY 82414                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,505.91
         RTK CONSTRUCTION INC.                                        Contingent
         PO Box 1289                                                  Unliquidated
         Sidney, MT 59270-1289                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $159.90
         RURAL BROADBAND, LLC                                         Contingent
         1835 Pheasant Brook Dr                                       Unliquidated
         Laurel, MT 59044                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,218.50
         SAUL EWING ARNSTEIN & LEHR LLP                               Contingent
         33 South Sixth Street, Suite 4750                            Unliquidated
         Minneapolis, MN 55402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,280.72
         SDN COMMUNICATIONS                                           Contingent
         PO Box 1817                                                  Unliquidated
         Sioux Falls,, SD 57101-1817                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,992.23
         SHAMUS PETERS                                                Contingent
         7210 Applegate Drive                                         Unliquidated
         Helena, MT 59602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $106,046.01
         SHEFFIELD METALS INTERNATIONAL                               Contingent
         PO Box 637438                                                Unliquidated
         Cincinnati, OH 45263-7438                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,003.00
         SHUTTS & BOWEN LLP                                           Contingent
         300 South Orange Avenue, Suite 1600                          Unliquidated
         Orlando, FL 32801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $20,191.99
         SILVER MAPLE CONSTRUCTION                                    Contingent
         50 River Rd                                                  Unliquidated
         New Haven, VT 05472-4020                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,298.42
         SIOUX VALLEY ENERGY                                          Contingent
         PO Box 216                                                   Unliquidated
         Colman, SD 57017                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $618.00
         SKYWEST COMMERCIAL CLEANING                                  Contingent
         2687 Airport Road                                            Unliquidated
         Helena, MT 59601                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,998.41
         SNAP-Z                                                       Contingent
         330 Swamp Road                                               Unliquidated
         Morgantown, PA 19543                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,044.98
         SONICWALL INC                                                Contingent
         1225 W Washington Street, Suite 223                          Unliquidated
         Tempe, AZ 85281                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,040.00
         SOUTHWEST MONTANA BUILDING
         INDUSTRY ASSO                                                Contingent
         1716 West Main Street Suite 8-G                              Unliquidated
         Industry Association                                         Disputed
         Bozeman, MT 59715
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $240.00
         SPECTRUM COMMUNICATIONS SITES                                Contingent
         P.O.Box 4437                                                 Unliquidated
         Bozeman, MT 59772                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $768.03
         ST FASTENING SYSTEMS                                         Contingent
         PO Box 4515                                                  Unliquidated
         Tyler, TX 75708                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $176.00
         STALEY'S TIRE & AUTOMOTIVE, INC.                             Contingent
         1245 Central Avenue                                          Unliquidated
         Billings, MT 59102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,468.69
         STEVE COLLINS                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number   NONE                    Basis for the claim:    UNPAID EXPENSE
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $753.96
         STRAIGHTWAY CONSTRUCTION                                     Contingent
         PO BOX 2121                                                  Unliquidated
         Bismarck, ND 58502-2121                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $567.00
         SUMMIT FIRE & SECURITY LLC - SFS                             Contingent
         2500 Lexington Ave S                                         Unliquidated
         Mendota Hts, MN 55120-1260                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $300.00
         TERMINIX OF WYOMING                                          Contingent
         P.O. Box 4747                                                Unliquidated
         Casper, WY 82604                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $59,954.12
         THE BRYER COMPANY                                            Contingent
         119 CLAY STREET NW                                           Unliquidated
         AUBURN, WA 98001                                             Disputed
         Date(s) debt was incurred
                                                                                VENDOR (LAWSUIT PENDING IN THE SUPERIOR
                                                                   Basis for the claim:
         Last 4 digits of account number   NONE                    COURT IN THE STATE OF WASHINGTON)
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,793.60
         THE WORKS FLOOR & WALL                                       Contingent
         73750 Spyder Circle                                          Unliquidated
         Palm Desert, CA 92211                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $9,039.52
         TIMBERLINE CREATIONS                                         Contingent
         1245 Benjamin Blvd.                                          Unliquidated
         Billings, MT 59105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,425.72
         TIMELESS CONCRETE DESIGN STUDIOS                             Contingent
         412 Dogwood Ln                                               Unliquidated
         Wenatchee, WA 98801                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $180.00
         TLC SEPTIC SERVICE INC                                       Contingent
         6020 Kessler Road                                            Unliquidated
         Belgrade,, MT 59714                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $391.94
         TOWN OF EVANSVILLE                                           Contingent
         P.O. Drawer 158                                              Unliquidated
         Evan, WY 82636                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,448.63
         TOWNSQUARE MEDIA                                             Contingent
         150 North Nichols                                            Unliquidated
         Casper, WY 82601                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,679.30
         TOWNSQUARE MEDIA BOZEMAN                                     Contingent
         125 W. Mendenhall Street, #1                                 Unliquidated
         Bozeman,, MT 59715                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $19,679.83
         TRANSFLEET SERVICES, LLC                                     Contingent
         14043 S Smoky Oaks Ln                                        Unliquidated
         Herriman, UT 84096-1603                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $6,014.90
         TRAVIS HARMON CONSTRUCTION                                   Contingent
         Po Box 499                                                   Unliquidated
         Dover, ID 83825-0499                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $135.98
         TRI COUNTY DISPOSAL                                          Contingent
         3630 York Road                                               Unliquidated
         Helena, MT 59602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $988.64
         TRU-BUILT                                                    Contingent
         2640 West M Court                                            Unliquidated
         Lincoln, NE 68522                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $26,722.00
         UFP                                                          Contingent
         P.O. BOX 296                                                 Unliquidated
         WOODBURN, OR 97071-0296                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   ONE0
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,312.50
         UL LLC                                                       Contingent
         75 Remittance Drive                                          Unliquidated
         Suite #1524                                                  Disputed
         Chicago, IL 60675-1524
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $3,364.59
         ULINE                                                        Contingent
         PO Box 88741                                                 Unliquidated
         Accounts Receivable                                          Disputed
         Chicago, IL 60680-1741
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $4,738.94
         UPS                                                          Contingent
         Lockbox 577                                                  Unliquidated
         Carol Stream, IL 60132-0577                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $229.91
         UPS SUPPLY CHAIN SOLUTIONS, INC.                             Contingent
         28013 Network Place                                          Unliquidated
         Chicago, IL 60673-1280                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $10,000.00
         VALLEY MEDIA INC.                                            Contingent
         600 S. Andrews Ave.                                          Unliquidated
         Ste 405                                                      Disputed
         Ft. Lauderdale, FL 33301
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,186.39
         VAN THAN                                                     Contingent
         3250 W. Girard Ave                                           Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $737.86
         VERIZON                                                      Contingent
         PO Box 660108                                                Unliquidated
         Dallas, TX 75266-0108                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $46,162.75
         VERTEX CONSULTING GROUP                                      Contingent
         3000 7th Avenue North                                        Unliquidated
         Billings, MT 59101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes




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3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $12,203.24
         WALKER PROPERTIES                                            Contingent
         PO Box 3230                                                  Unliquidated
         Gillette, WY 82717                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    CUSTOMER REFUNDS
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $34.97
         WASTE CONTROL 425-4302                                       Contingent
         1150 3rd Avenue                                              Unliquidated
         Longview,, WA 98632                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $32,936.40
         WEST COAST                                                   Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $31,500.78
         WEX BANK                                                     Contingent
         P.O. Box 6293                                                Unliquidated
         Carol Stream, IL 60197-6293                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        Unknown
         WILLIAMS, PORTER, DAY                                        Contingent
         & NEVILLE, P.C.                                              Unliquidated
         P.O. Box 10700                                               Disputed
         Casper, WY 82602
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes


3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $26,000.00
         WOODS BAND LLC                                               Contingent
         900 Division St.                                             Unliquidated
         Nashville, TN 37203                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VENDOR
         Last 4 digits of account number   NONE
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,043.12
         WORKPLACE SCREENING INTELLIGENCE,                            Contingent
         LLC                                                          Unliquidated
         PO Box 129                                                   Disputed
         Washington Mills, NY 13479
                                                                   Basis for the claim:    VENDOR
         Date(s) debt was incurred
         Last 4 digits of account number   NONE                    Is the claim subject to offset?     No       Yes




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3.234     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,590.79
          XPO LOGISTICS                                                        Contingent
          29559 Network Pl                                                     Unliquidated
          Chicago, IL 60673-1559                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    VENDOR
          Last 4 digits of account number   NONE
                                                                           Is the claim subject to offset?        No     Yes

3.235     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $28,448.22
          YELLOWSTONE COUNTY TREASURER                                         Contingent
          PO Box 35011                                                         Unliquidated
          Billings, MT 59107                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    PROPERTY TAXES
          Last 4 digits of account number   NONE
                                                                           Is the claim subject to offset?        No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       BARRY G. REYNOLDS
          TITUS HILLIS REYNOLDS LOVE                                                                Line     3.148
          15 EAST FIFHT STREET, SUITE 3700
                                                                                                           Not listed. Explain
          TULSA, OK 74103

4.2       CHRISTOPHER J. MEYER
          31099 CHAGRIN BOULEVARD, SUITE 150                                                        Line     3.147
          CLEVELAND, OH 44124
                                                                                                           Not listed. Explain

4.3       MARCO INDUSTRIES
          1632 BRODER STREET                                                                        Line     3.148
          REGINA SK S4N 7K1
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                           5a.         $                    1,416,664.99
5b. Total claims from Part 2                                                                           5b.    +    $                    5,605,257.15

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.         $                       7,021,922.14




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Fill in this information to identify the case:

Debtor name       BRIDGER STEEL, INC.

United States Bankruptcy Court for the:     DISTRICT OF MONTANA

Case number (if known)     2:23-bk-20019
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            CUSTOMER SALE
           lease is for and the nature of        ORDER
           the debtor's interest

               State the term remaining
                                                                                    3-D Construction
           List the contract number of any                                          618 Filmore St
                 government contract                                                Black Hawk, SD 57718


2.2.       State what the contract or            CUSTOMER SALE
           lease is for and the nature of        ORDER
           the debtor's interest

               State the term remaining
                                                                                    307 All American Roofing
           List the contract number of any                                          112 Valley Drive
                 government contract                                                Casper, WY 82604


2.3.       State what the contract or            CUSTOMER SALE
           lease is for and the nature of        ORDER
           the debtor's interest

               State the term remaining
                                                                                    5A Specialty Services
           List the contract number of any                                          1705 Powers blvd
                 government contract                                                Belgrade, MT 59714


2.4.       State what the contract or            CUSTOMER SALE
           lease is for and the nature of        ORDER
           the debtor's interest

               State the term remaining
                                                                                    7 D Ranch
           List the contract number of any                                          2832 Chopper Lane
                 government contract                                                Cody, WY 82414




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 305


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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        A + A Construction
          List the contract number of any                               PO 23
                government contract                                     Billings, MT 59006


2.6.      State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        A Better Carpentry
          List the contract number of any                               2320 Avenue B
                government contract                                     Billings, MT 59102


2.7.      State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        A P Roofing & Construction
          List the contract number of any                               3854 Mussellshell Rd
                government contract                                     East Helena, MT 59635


2.8.      State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        A-1 Hollidays, LLP
          List the contract number of any                               PO Box 2
                government contract                                     Roberts, MT 59070


2.9.      State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        A. M. I. Development, Inc
          List the contract number of any                               53 4Th Avenue
                government contract                                     Kalispell, MT 59901




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 305


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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        AAA Roofing Services
          List the contract number of any                               1706 Magnolia Rd
                government contract                                     Kirkland, WA 98034-4305


2.11.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Aaron D'Hooge
          List the contract number of any                               532 Custer #2
                government contract                                     Billings, MT 59101


2.12.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Aaron Mason
          List the contract number of any                               3918 Jaynic Drive
                government contract                                     Helena, MT 59602


2.13.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Aaron Minkin
          List the contract number of any                               320 Soscol Ave.
                government contract                                     Napa, CA 94559


2.14.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Aaron Mitchell
                government contract




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Aaron Riemann
          List the contract number of any                               3047 Golden Acres Drive
                government contract                                     Billings, MT 59106


2.16.     State what the contract or        LEASE EMPLOYEES
          lease is for and the nature of    TO ASSIST WITH
          the debtor's interest             SALES
                                                                        AAVIS INDIA OFFICE B3
             State the term remaining                                   CLASSIC ASHIRWAD APTS
                                                                        9TH CR, 2ND MN
          List the contract number of any                               ASHIRWADO COLONY
                government contract                                     HORAMAVU, BENGALURU 560043


2.17.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        ABC Supply
          List the contract number of any                               1 ABC Parkway
                government contract                                     Beloit, WI 53511


2.18.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Absolute Vinyl-Absolute Fence
          List the contract number of any                               1351 Holiday Circle
                government contract                                     Billings, MT 59101


2.19.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ackaret Construction
          List the contract number of any                               730 Terry Ave
                government contract                                     Billings, MT 59101




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Adams Family Painting
          List the contract number of any                               1524 Bellaire Drive
                government contract                                     Casper, WY 82604


2.21.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Adrienne Barrows
                government contract                                     Portland, OR 97213


2.22.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Adsit Construction
          List the contract number of any                               5461 Coffeen Avenue
                government contract                                     Sheridan, WY 82801


2.23.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Advanced Siding
          List the contract number of any                               2690 Sheridan Street
                government contract                                     East Helena, MT 59635


2.24.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Advantage 1 Construction
          List the contract number of any                               1620 Pleasent Brook Cirlce
                government contract                                     Laurel, MT 59404




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Affco MFG
          List the contract number of any                               1015 East 6th Street
                government contract                                     Anaconda, MT


2.26.     State what the contract or        SHORT TERM
          lease is for and the nature of    DISABILITY
          the debtor's interest

             State the term remaining                                   AFLAC
                                                                        1932 WYNNTON RD.
          List the contract number of any                               ATTN: REMITTANCE PROCESSING SER.
                government contract                                     COLUMBUS, GA 31999


2.27.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ahmed F Al'kaisy
          List the contract number of any                               169 Arcada
                government contract                                     Bozeman, MT 59715


2.28.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Al Markuson
          List the contract number of any                               29 Hanging Diamond Lane
                government contract                                     Joliet, MT 59041


2.29.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alan Ankrum
          List the contract number of any                               21 Mccord Rd.
                government contract                                     Roundup, MT 59072




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Alan Bair
                government contract                                     Na, WY 82414


2.31.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alan G Miller
          List the contract number of any                               220 wooden shoe lane
                government contract                                     Manhattan, MT 59741


2.32.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alan Rel
          List the contract number of any                               13 E. Alnadin ln
                government contract                                     Billings, MT 59105


2.33.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alan Van Bochove
          List the contract number of any                               8181 Schroeder Rd
                government contract                                     Rapid City, SD 57702


2.34.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Albert Larson
          List the contract number of any                               Po Box 368
                government contract                                     Chester, MT 59522




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.35.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alex Anderson
          List the contract number of any                               1124 Henderson St.
                government contract                                     Helena, MT 59601


2.36.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alex Ghali
          List the contract number of any                               2554 Brainers Rd.
                government contract                                     Langley, WA 98260


2.37.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alford Roofing & Siding
          List the contract number of any                               PO Box 112
                government contract                                     Big Timber, MT 59011


2.38.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        All American Siding Windows & Roofing, I
          List the contract number of any                               3745 Anderson Rd
                government contract                                     Rapid City, SD 57702-0702


2.39.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        All Around Construction
          List the contract number of any                               820 Sonoma Rd
                government contract                                     Helena, MT 59601




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.40.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allans Birky
          List the contract number of any                               42 New Dracut Hill Rd
                government contract                                     Vaughn, MT 59487


2.41.     State what the contract or        INSURANCE PREMIUM
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ALLEGIANCE ZIONS BANK
          List the contract number of any                               P.O. BOX 1750
                government contract                                     CEDAR CITY, UT 84721


2.42.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allen Eggen
          List the contract number of any                               935 Bluegrass Drive East
                government contract                                     Billings, MT 59106


2.43.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allen Geddes
          List the contract number of any                               533 Collins Rd
                government contract                                     Belgrade, MT 59714


2.44.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allen Halter
          List the contract number of any                               6829 Copper Ridge Loop
                government contract                                     Billings, MT 59106




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.45.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allen Ream
          List the contract number of any                               Po Bx 2057
                government contract                                     Columbia Falls, MT 59912


2.46.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allied Investment Company
          List the contract number of any                               PO Box 1015
                government contract                                     Helena, MT 59624


2.47.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allphin Construction
          List the contract number of any                               Po Box 1042
                government contract                                     Cody, WY 82414


2.48.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        AllStar Construction
          List the contract number of any                               PO Box 817
                government contract                                     West Fargo, ND 58078


2.49.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Allstar Construction Commercial
          List the contract number of any                               5145 Industrial St. #103
                government contract                                     Maple Plain, MN 55359




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.50.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alotta Construction
          List the contract number of any                               789 Ridge Rd
                government contract                                     Powell, WY 82435


2.51.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alpenglow Homes -FAC
          List the contract number of any                               2320 W Main St Ste 6
                government contract                                     Bozeman, MT 59718


2.52.     State what the contract or        LEASE AGREEMENT
          lease is for and the nature of    FOR PROPERTY
          the debtor's interest             LOCATED AT 7570
                                            ENTRYWAY DR,
                                            BILLINGS, MT 59101
             State the term remaining
                                                                        ALPINE FIR, LLC
          List the contract number of any                               8321 HILL RD
                government contract                                     KLAMATH FALLS, OR 97603


2.53.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alpine Reflections
          List the contract number of any                               PO Box 509
                government contract                                     Belgrade, MT 59714


2.54.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Alvin Raisland
          List the contract number of any                               61 Swamp Creek
                government contract                                     Big Timber, MT 59011




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.55.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Amanda Kirby
          List the contract number of any                               495 Stimpson Rd
                government contract                                     Oroville, CA 95965


2.56.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Amber L Gerr
          List the contract number of any                               28 Camp Arrowhead Dr
                government contract                                     Big Sky, MT 59716


2.57.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Amber Taylor
          List the contract number of any                               PO Box 1797
                government contract                                     East Helena, MT 59635


2.58.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Amber Waves Inc. - FAC
          List the contract number of any                               11 South Ave West
                government contract                                     Richardton, ND 58652


2.59.     State what the contract or        ACCOUNTS
          lease is for and the nature of    RECEIVABLE
          the debtor's interest             FACTORING

             State the term remaining
                                                                        AMERISOURCE FUNDING INC.
          List the contract number of any                               7225 LANGTRY STREET
                government contract                                     HOUSTON, TX 77040




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.60.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Anchor Construction
          List the contract number of any                               7171 US 191 N
                government contract                                     Lewistown, MT 59457


2.61.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Anderson Construction
          List the contract number of any                               2714 Fen Way Unit C
                government contract                                     Bozeman, MT 59718


2.62.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Andrew Bassak
          List the contract number of any                               305 E Pacific
                government contract                                     East Helena, MT 59635


2.63.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Andrew Herrick
          List the contract number of any                               305 S. Oak St.
                government contract                                     Townsend, MT 59644


2.64.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Andy Ford
          List the contract number of any                               2614 Cottonwood Blvd
                government contract                                     Billings, MT 59105




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.65.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Andy Galen
          List the contract number of any                               5161 Crescent Moon Drive
                government contract                                     Helena, MT 59602


2.66.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Andy Melin
          List the contract number of any                               888 Us Hwy 14
                government contract                                     Greybull, WY 82841


2.67.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Angie Valcarce
          List the contract number of any                               1302 Huffn Puff Ave
                government contract                                     Cody, WY 82414


2.68.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ann Naatus
          List the contract number of any                               10979 US Hwy 212 Lot 1
                government contract                                     Belle Fourche, SD 57717


2.69.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Anna Lindstrand
          List the contract number of any                               619 Logan St
                government contract                                     Helena, MT 59601




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.70.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Anton Wilhelm
          List the contract number of any                               PO Box 1627
                government contract                                     Redlodge, MT 59068


2.71.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Anytime Contracting and Remodel
          List the contract number of any                               PO Box 1364
                government contract                                     Woodinville, WA 98072


2.72.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        AR Roofing & Exteriors
          List the contract number of any                               40100 N. US Hwy 281
                government contract                                     Pratt, KS 67124


2.73.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Arch Metals, Inc
          List the contract number of any                               40 Beverly Court
                government contract                                     Belgrade, MT


2.74.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Arlo Borgnino
          List the contract number of any                               9307 Mandus Olson rd
                government contract                                     Bainbridge Island, WA 98110




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.75.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Armando Diaz
          List the contract number of any                               424 3Rd Ave South
                government contract                                     Greybull, WY 82426


2.76.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Arrow at Winter Park Inc.
                                                                        201 Milwaukee
          List the contract number of any                               Suite 201
                government contract                                     Denver, CO 80206


2.77.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   ARTisan Building Company, Inc.
                                                                        218 S Broadway
          List the contract number of any                               PO Box 740
                government contract                                     Manhattan, MT 59741-0740


2.78.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        ARTK, LLC
          List the contract number of any                               13215 South East Valemont Ln
                government contract                                     Happy Valley, OR 97086


2.79.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Atmosphere Design Build
          List the contract number of any                               595 E Main St.
                government contract                                     Grass Vally, CA 95945




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.80.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Augustine, Jerel
          List the contract number of any                               12020 Big Davis Road
                government contract                                     Three Forks, MT 59752


2.81.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Austin Holm
          List the contract number of any                               22 Manor Dr
                government contract                                     Townsend, MT 59644


2.82.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Auto Resource
          List the contract number of any                               1525 1st Ave North
                government contract                                     Billings, MT 59101


2.83.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Autopilot, Inc.
          List the contract number of any                               619 North Church
                government contract                                     Bozeman, MT 59715


2.84.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        AV Construction - MT
          List the contract number of any                               PO Box 11966
                government contract                                     Bozeman, MT 59719-1966




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.85.     State what the contract or        SALES TAX
          lease is for and the nature of    ADMINSTRATOR
          the debtor's interest

             State the term remaining                                   AVALARA
                                                                        255 SOUTH KING ST.
          List the contract number of any                               SUITE 1800
                government contract                                     SEATTLE, WA 98104


2.86.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Award Construction
          List the contract number of any                               429 Kansas City St Ste 13
                government contract                                     Rapid City, CA 57702


2.87.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Aztec Construction
          List the contract number of any                               4712 Baja Rd.
                government contract                                     Helena, MT 59602


2.88.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        B & S Const
          List the contract number of any                               PO Box 321
                government contract                                      SD


2.89.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        B&H Custom Concrete
          List the contract number of any                               610 Oregon Ave
                government contract                                     Gillette, WY 82718




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.90.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Back Country Carpentry
          List the contract number of any                               700 W Southview
                government contract                                     Belgrade, MT 59714


2.91.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Badger Building Center
          List the contract number of any                               PO Box 295
                government contract                                     Post Falls, ID 83877


2.92.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barbara Spillane
          List the contract number of any                               PO Box 441
                government contract                                     Gualala, CA 95445


2.93.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bard Middleton
          List the contract number of any                               2937 Rimview Drive
                government contract                                     Billings, MT 59102


2.94.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barker Contracting, Inc.
          List the contract number of any                               2127 E. Speedway Blvd. Suite 101
                government contract                                     Tucson, AZ 85719




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.95.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barns By Design
          List the contract number of any                               1720 Jaffer Rd
                government contract                                     Casper, WY 82601


2.96.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barry Gum
          List the contract number of any                               3527 Glenfinnan Rd
                government contract                                     Billlings, MT 59101


2.97.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barry Murnion
          List the contract number of any                               Po Box 1341
                government contract                                     Chinook, MT 59523


2.98.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barry Thompson
          List the contract number of any                               136 Byam Road
                government contract                                     Laurel, MT 59044


2.99.     State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Barta Custom Builders
          List the contract number of any                               4656 Metzger Road
                government contract                                     Laurel, MT 59044




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.100.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bauen Corp FAC
          List the contract number of any                               801 E 52ND Ave
                government contract                                     Denver, CO 80216-1900


2.101.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        BC Hydro
          List the contract number of any                               6911 SouthPoint Dr
                government contract                                     Burnaby, BC V3N4X8


2.102.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bead Properties, LLC
          List the contract number of any                               375 36th Street
                government contract                                     East Moline, IL 61244


2.103.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bear Paw Landscapes
          List the contract number of any                               208 High Plains Road
                government contract                                     Belgrade, MT 59714


2.104.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bearstone Masonry EX
          List the contract number of any                               53 Industry Way SE
                government contract                                     Calgary, AB T3S0A2




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.105.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Becky Ruggles
          List the contract number of any                               4360 Moser Dome
                government contract                                     Joliet, MT 59041


2.106.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bedrock Construction LLC
          List the contract number of any                               1155 Bitteroot Dr
                government contract                                     Billings, MT 59105


2.107.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ben Anderson
          List the contract number of any                               34 streamside way
                government contract                                     Big Sky, MT 59716


2.108.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ben Clark
          List the contract number of any                               2434 Lillian Miller Pkwy
                government contract                                     Denton, TX 76205


2.109.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ben Hahn
          List the contract number of any                               231 S. C St
                government contract                                     Livingston, MT 59047




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.110.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ben Sickler
          List the contract number of any                               2425 Wagner Drive
                government contract                                     Billings, MT 95106


2.111.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Benjamin, Jen
          List the contract number of any                               25 Cox lane
                government contract                                     Whitehall, MT 59759


2.112.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Benson Construction
          List the contract number of any                               2613 Brookway Drive
                government contract                                     Laurel, MT 59044


2.113.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Berg Works Construction LLC.
          List the contract number of any                               455 Bench Blvd
                government contract                                     Billings, MT 59105


2.114.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Beth Gartner
          List the contract number of any                               9221 Kautzman Road
                government contract                                     Billings, MT 59101




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.115.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bettelyoun And Son Construction
          List the contract number of any                               2940 Cline Rd
                government contract                                     Billings, MT 59105


2.116.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bianca Klein
          List the contract number of any                               3 Solar Mountain Rd
                government contract                                     Gardiner, MT 59030


2.117.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bic Green
          List the contract number of any                               426 North Montana Ave
                government contract                                     Bozeman, MT 59715


2.118.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Big Pine Construction LLC
          List the contract number of any                               10251 Big Piney Road
                government contract                                     Rapid Cty, SD 57702


2.119.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Big Sky Beverage, Inc.
          List the contract number of any                               1627 W. Main #362
                government contract                                     Bozeman, MT 59715




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.120.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Big Sky Disaster Restoration
          List the contract number of any                               1616 4th Ave North
                government contract                                     Billings, MT 59101


2.121.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Big Sky Irrigation
          List the contract number of any                               523 Roxy Lane
                government contract                                     Billings, MT 59105


2.122.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Big Sky Plumbing and Heating
          List the contract number of any                               1923 Dodge Ave
                government contract                                     Helena, MT 59601


2.123.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bighorn Storage
          List the contract number of any                               230 Nth Cloud Peak
                government contract                                     Bryon, WY 82412


2.124.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Allison
          List the contract number of any                               4311 Paso Fino Lane
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.125.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Bandel
          List the contract number of any                               1342 Lane 10
                government contract                                     Powell, WY 59101


2.126.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Bertoud
          List the contract number of any                               195 Smith Rd
                government contract                                     Roundup, MT 59072


2.127.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Cathey
          List the contract number of any                               PO Box 69
                government contract                                     Miles City, MT 59301


2.128.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Dotter
          List the contract number of any                               285 John G. Mine Rd.
                government contract                                     Helena, MT 59602


2.129.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Ehman
          List the contract number of any                               1212 North Schuyler St.
                government contract                                     Anaconda, MT 59711




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.130.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Geer
          List the contract number of any                               64th Spicer Lane
                government contract                                     Cody, WY 82414


2.131.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Hughes
          List the contract number of any                               1221 East Montana Street
                government contract                                     Livingston, MT 59047


2.132.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Jacklin
          List the contract number of any                               4908 Linscott Ave
                government contract                                     Downers Grove, IL 60515


2.133.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Kaizer
          List the contract number of any                               13800 Juniper Road
                government contract                                     Molt, MT 59057


2.134.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bill Mayo
          List the contract number of any                               Box 25
                government contract                                     Reed Point, MT 59069




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.135.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               BILL Terry
                government contract                                     Lovell, WY 82431


2.136.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Billings Flying Service
          List the contract number of any                               6309 Jellison Rd
                government contract                                     Billings, MT 59101


2.137.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Binder Irrigation
          List the contract number of any                               PO Box A
                government contract                                     Table Rock, NE 68447


2.138.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Binek Contracting
          List the contract number of any                               40 Meadow Muffin Rd.
                government contract                                     Columbus, MT 59019


2.139.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Black Enterprises Inc
          List the contract number of any                               460 South Douglas St
                government contract                                     Powell, WY 82435




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.140.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Black Investments LLC
          List the contract number of any                               2018 16th Street East
                government contract                                     Williston, ND 58801


2.141.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Black Label Custom Homes
          List the contract number of any                               11 Macee Lane
                government contract                                     Bozeman, MT 59715


2.142.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Black Leaf Construction
          List the contract number of any                               3413 Fairway Dr
                government contract                                     Great Falls, MT 59401


2.143.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Blaze Tadday
          List the contract number of any                               4331 Wells Place
                government contract                                     Billings, MT 59106


2.144.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bliss Livestock
          List the contract number of any                               495 Twin Buttes Rd
                government contract                                     Sand Springs, MT 59077




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.145.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bloedorn Lumber - Casper
          List the contract number of any                               PO Box 1077
                government contract                                     Torrington, WY 82240


2.146.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bloedorn Lumber - Gillette
          List the contract number of any                               P.O. Box 1077
                government contract                                     Torrington, WY 82240


2.147.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bloedorn Lumber - Lewistown, MT
          List the contract number of any                               P.O. Box 864
                government contract                                     Lewistown, MT 59457


2.148.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bloedorn Lumber - Sheridan
          List the contract number of any                               PO Box 1077
                government contract                                     Torrington, WY 82240


2.149.    State what the contract or        HEALTH INSURANCE
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        BLUE CROSS BLUE SHIELD
          List the contract number of any                               P.O. BOX 650615
                government contract                                     DALLAS, TX 75265-0615




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.150.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Blue Heron Builders
          List the contract number of any                               8595 North Montana Ave
                government contract                                     Helena, MT 59602


2.151.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        BlueLam, LLC
          List the contract number of any                               5115 240th Ave Ne
                government contract                                     Redmond, WA 98053


2.152.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Board by Board Construction
          List the contract number of any                               PO 964
                government contract                                     Miles City, MT 59301


2.153.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Bob & Theresa Frye
                                                                        138 South 4th Street West
          List the contract number of any                               Box 546
                government contract                                     Malta, MT 59538


2.154.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Davis
          List the contract number of any                               14 Valley Dr.
                government contract                                     Douglas, WY 82633




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.155.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Hunts
          List the contract number of any                               1985 McMinimey Drive
                government contract                                     Kalispel, MT 59901


2.156.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Huso
          List the contract number of any                               5950 Hwy 250 W
                government contract                                     Wolf Point, MT 59201


2.157.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Kuntz
          List the contract number of any                               17 Vigilante Trail
                government contract                                     Clancy, MT 59634


2.158.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Pitcher
          List the contract number of any                               2444 Hoover Ave
                government contract                                     Billings, MT 59102


2.159.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Rawhouser
          List the contract number of any                               PO Box 314
                government contract                                     Laurel, MT 59044




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.160.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Steele
          List the contract number of any                               P.O Box 363
                government contract                                     Manhatten, MT 59741


2.161.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bob Stroebel
          List the contract number of any                               1520 Foothill Drive
                government contract                                     Billings, MT 59105


2.162.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bobby Whittaker
          List the contract number of any                               545 Clay Street
                government contract                                     Custer, SD 57730


2.163.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Bonitz Nashville
                                                                        1922 Old Murfreesboro Pike
          List the contract number of any                               Suite 530
                government contract                                     Nashville, TN 37217


2.164.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Boom Construction
          List the contract number of any                               550 North 5th St
                government contract                                     Rapid City, SD 57701




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.165.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brad D Hall
          List the contract number of any                               48 McDonald Creek rd
                government contract                                     Livingston, MT 59047


2.166.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brad Deutsch
          List the contract number of any                               9021 S ridge trail
                government contract                                     Sturgis, SD 57785


2.167.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brad Kimball
          List the contract number of any                               4458 Loma Vista
                government contract                                     Billings, MT 59106


2.168.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bradley Construction North, Inc.
          List the contract number of any                               P.O. Box 41
                government contract                                     Hailey, ID 83333


2.169.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brady Design Build
          List the contract number of any                               6730 Athens Boonesboro rd
                government contract                                     Lexington, KY 40509




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.170.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brady Nasset
          List the contract number of any                               137 Liberty Lane
                government contract                                     Pinehaven, WY 82721


2.171.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        BRANDON Fleury
          List the contract number of any                               2730 Class Lane
                government contract                                     Billings, MT 59105


2.172.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brandon Keller
          List the contract number of any                               2426 South 1100 West
                government contract                                     Woods Cross, UT 84087


2.173.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Brandon Smith
                government contract                                     Billings, MT 59101


2.174.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Breit Roofing
          List the contract number of any                               1340 Nottingham Dr.
                government contract                                     Casper, WY 82609




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.175.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brenda LLoyd
          List the contract number of any                               1628 Hwy 52
                government contract                                     Fessenden, ND 58438


2.176.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brendan Klueckman
          List the contract number of any                               625 8th St.
                government contract                                     Newell, SD 57760


2.177.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brenimer Construction INC
          List the contract number of any                               1499 Beaverhead RD
                government contract                                     Helena, MT 59602


2.178.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brent Clark
          List the contract number of any                               41 Horkin Cr Rd
                government contract                                     Volborg, MT 59351


2.179.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brent Lebrun Construction
          List the contract number of any                               6050 Jewel Ln
                government contract                                     Billings, MT 59106




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.180.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brent Wunderlich
          List the contract number of any                               3693 Sartori Street
                government contract                                     HELENA, MT 59602


2.181.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brenton Moore
          List the contract number of any                               430 Wagon Box Rd
                government contract                                     Banner, WY 82832


2.182.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brian Dee
          List the contract number of any                               27771 Forest Rd
                government contract                                     Hotsprings, SD 57747


2.183.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brian Pancoast
          List the contract number of any                               17899 State Route 20
                government contract                                     Mazama, WA 98833


2.184.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brian Pyscher
          List the contract number of any                               2321 Lane 22 1/2
                government contract                                     Lovell, WY 82431




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.185.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brian Rogers
          List the contract number of any                               2910 Colter Ave
                government contract                                     Bozeman, MT 59715


2.186.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bridger Burt
          List the contract number of any                               1621 Leslie Ave
                government contract                                     Helena, MT 59601


2.187.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bridger Steel
          List the contract number of any                               1558 Amsterdam Rd
                government contract                                     Belgrade, MT 59714-8979


2.188.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Brock Rice
          List the contract number of any                               3465 Sentinel
                government contract                                     Bozeman, MT 59715


2.189.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bruce Dunkle
          List the contract number of any                               309 Graham St
                government contract                                     Helena, MT 59601




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.190.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bruce Links
          List the contract number of any                               PO Box 338
                government contract                                     Jeffereson City, MT 59638


2.191.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bruce Mcadow
          List the contract number of any                               17757 Homewood Park Dr.
                government contract                                     Littleton, CO 80121


2.192.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bruce Vasser
          List the contract number of any                               5485 13th Street South
                government contract                                     Great Falls, MT 59405


2.193.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bruce Zignego
          List the contract number of any                               153 Starner Drive
                government contract                                     Bozeman, MT 59718


2.194.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bryan Fallon
          List the contract number of any                               12272 Eden Road
                government contract                                     Whitewood, SC 57793




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.195.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bryan King
          List the contract number of any                               PO Box 43
                government contract                                     Watertown, SD 57201


2.196.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bud Kelsey
          List the contract number of any                               Box 221
                government contract                                     Frannie, WY 82423


2.197.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Builders First Source, Corporate
          List the contract number of any                               2001 Bryan St Ste 1600
                government contract                                     Dallas, TX 75201-3017


2.198.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bunn Construction
          List the contract number of any                               665 Holbert Road
                government contract                                     Pony, MT 59747


2.199.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Butch Hall
          List the contract number of any                               114 Lauretta Dr.
                government contract                                     Billings, MT 59101




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.200.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Buzz Butler
          List the contract number of any                               5157 Dragon Fly St
                government contract                                     bozeman, MT 59718


2.201.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Bw Inc
          List the contract number of any                               648 Black Tail Rd
                government contract                                     Lake Side, MT 59922


2.202.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        C & C Builders Inc.
          List the contract number of any                               160 west 9th Street
                government contract                                     Lovell, WY 82431


2.203.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        C & H Builders Inc
          List the contract number of any                               2752 Hwy 87 East
                government contract                                     Billings, MT 59101


2.204.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        C BAR J MECHANICAL
          List the contract number of any                               2085 South 13Th St.
                government contract                                     Vallentine, MT 59006




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.205.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        C-Rentals
          List the contract number of any                               86 River Rd
                government contract                                     Townsend, MT 59644


2.206.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cache Anderson
          List the contract number of any                               1019 E.3rd Ave. S.
                government contract                                     Columbus, MT 59019


2.207.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cadillac Custom Cabinets
          List the contract number of any                               6 Hunters Trail
                government contract                                     Townsend, MT 59644


2.208.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cadwell Springs Camp
          List the contract number of any                               618 N Cottage
                government contract                                     Belle Creek, MT 59317


2.209.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Caleb Pattin
          List the contract number of any                               PO Box 9
                government contract                                     Jefferson City, MT 59683




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.210.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cam Ballew
          List the contract number of any                               127 Soaring Hawk Ln
                government contract                                     Woodland, WA 98674


2.211.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Capital Construction, LLC
          List the contract number of any                               86 E Baxter Lane East
                government contract


2.212.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Carl Midgley
          List the contract number of any                               5138 Creekmore Loop
                government contract                                     Huntley, MT 59037


2.213.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Carl Vender
          List the contract number of any                               6029 Linck Circle
                government contract                                     Shepherd, MT 59079


2.214.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Carmelite Monastery
          List the contract number of any                               35 Road Afw
                government contract                                     Powell, WY 82435-8149




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.215.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Carmichael & Co
          List the contract number of any                               1741 Island View Dr
                government contract                                     Billings, MT 59101


2.216.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Carr Construction
          List the contract number of any                               411 Main Street
                government contract                                     Winifred, MT 59489


2.217.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Casey Britton
          List the contract number of any                               P.O.Box 81686
                government contract                                     Billings, MT 59108


2.218.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Castellano Enterprises
          List the contract number of any                               2936 Rosebud Drive
                government contract                                     Billings, MT 59102


2.219.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Castle Reef Enterprise
          List the contract number of any                               19 5th Ln
                government contract                                     Ft. Shaw, MT 59443




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.220.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Catherine Baker-Pitts
          List the contract number of any                               124 Seawall Road SW
                government contract                                     Harbor, ME 04679


2.221.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        CC Construction
          List the contract number of any                               PO 2428
                government contract                                     Cody, WY 82414


2.222.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        CC Property Management
          List the contract number of any                               1209 E. St. Patrick St.
                government contract                                     Rapid City, SD 57701


2.223.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cecil Schiltz
          List the contract number of any                               1062 Vali Rd
                government contract                                     Powell, WY 82435


2.224.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Central Wyoming Construction
          List the contract number of any                               1321 Ivy Lane
                government contract                                     Casper, WY 82609




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.225.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        CENTURY CONSTRUCTION LLC
          List the contract number of any                               23204 Summer Creek Drive
                government contract                                     Rapid City, SD 57702


2.226.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Century Gaming
          List the contract number of any                               1327 Weil St
                government contract                                     Billings, MT 59102


2.227.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chad Barnett
          List the contract number of any                               120 N 18th
                government contract                                     Billings, MT 59101


2.228.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chad Schell
          List the contract number of any                               7201 Rd Hills Rd.
                government contract                                     Gillette, WY 82718


2.229.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charles Hlavac
          List the contract number of any                               PO Box 1355
                government contract                                     Choteau, MT 59422




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.230.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charles Holmes Remodeling
          List the contract number of any                               P.O. Box 272
                government contract                                     East Helena, MT 59635


2.231.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charles L Goldstein
          List the contract number of any                               PO Box 398 207 Main St
                government contract                                     Millersburg, KY 40348


2.232.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Charles Lee
                government contract


2.233.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charley Williams
          List the contract number of any                               PO 774286
                government contract                                     Steamboat Springs, CO 80477


2.234.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charlie Jones
          List the contract number of any                               PO Box 266
                government contract                                     Sundance, WY 82729




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.235.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Charlie Lyndes
          List the contract number of any                               99 Muri Road
                government contract                                     Hysham, MT 59038


2.236.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cheatham Construction Llc
          List the contract number of any                               3229 Davis Road
                government contract                                     Greybull, WY 82426


2.237.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chester Hans
          List the contract number of any                               216 3rd Ave SW
                government contract                                     Cut Bank, MT 59427-3430


2.238.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Anderson
          List the contract number of any                               120 Ship Watch Circle
                government contract                                     Kalama, WA 98625


2.239.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Campbell
          List the contract number of any                               452 Joliet Fromberg Rd
                government contract                                     Joliet, MT 59041




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.240.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Culpo
          List the contract number of any                               2813 17 Mile Dr.
                government contract                                     Pebble Beach, CA 93953


2.241.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Chris Hildebrandt
                government contract                                     Belgrade, MT 59714


2.242.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Hryckowian
          List the contract number of any                               PO Box 504
                government contract                                     Gallatin Gateway, MT 59730


2.243.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Mccalmon
          List the contract number of any                               2217 4th Ave S
                government contract                                     Great Falls, MT 59404


2.244.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Chris Munson
          List the contract number of any                               940 HWY. 282
                government contract                                     Clancy, MT 59634




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.245.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Chris Torrence
                government contract


2.246.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Christi Burriss
          List the contract number of any                               200 East Church Street
                government contract                                     Lexington, SC 29072


2.247.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Christianson Companies (Formerly Paces L
                                                                        Formerly Paces Lodging Corporation
          List the contract number of any                               4609 33rd Ave Ste. 400
                government contract                                     Fargo, ND 58104


2.248.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Christine Mikla
          List the contract number of any                               119 Charles St.
                government contract                                     Deadwood, SD 57732


2.249.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Christopher Komer
          List the contract number of any                               PO Box 104
                government contract                                     Monarch, MT 59463




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.250.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Christopher Reavis
          List the contract number of any                               222 Buckcamp Ln
                government contract                                     McCall, ID 83638


2.251.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cindy Nelson
          List the contract number of any                               2599 Winchester Dr
                government contract                                     East Helena, MT 59635


2.252.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        CINDY Rathkamp
          List the contract number of any                               1150 Point Of Rocks Rd
                government contract                                     Whitehall, MT 59759


2.253.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        City of Casper
          List the contract number of any                               310 West A
                government contract                                     Casper, WY


2.254.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        City Of Gunnison
          List the contract number of any                               PO Box 239
                government contract                                     Gunnison, CO 81230




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.255.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        CLAY Dietz
          List the contract number of any                               1198 Road 4
                government contract                                     Powell, WY 82435


2.256.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clear Creek Construction LLC-FAC
          List the contract number of any                               535 East Mkkelipps Road #127
                government contract                                     Mesa, AR 85203


2.257.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cliff Mckay
          List the contract number of any                               5663 Canyon Ferry Rd.
                government contract                                     Helena, MT 59602


2.258.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clint Boyer
          List the contract number of any                               808 Sweeney Creek Rd
                government contract                                     Rosebud, MT 59347


2.259.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clint Hutzenbiler
          List the contract number of any                               1959 Shay Rd
                government contract                                     Laurel, MT 59044




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.260.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clint LaRue
          List the contract number of any                               1405 Shirley Way
                government contract                                     Anaconda, MT 59711


2.261.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clint Schmidt
          List the contract number of any                               11632 Molt Rd
                government contract                                     Molt, MT 59057


2.262.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Clyde Miller
          List the contract number of any                               5973 Terra Court
                government contract                                     Black Hawk, SD 57718


2.263.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cody Tigges
          List the contract number of any                               5029 57th Ave SW
                government contract                                     Great Falls, MT 59404


2.264.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Colby Thompson
          List the contract number of any                               18 Bailer Drive
                government contract                                     Belgrade, MT 59644




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.265.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Coldsmoke Construction
          List the contract number of any                               1788 Midfield Street
                government contract                                     Bozeman, MT 59715


2.266.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Commercial Roofing Montana
          List the contract number of any                               PO Box 80861
                government contract                                     Billings, MT 59108


2.267.    State what the contract or        LEASE AGREEMENT
          lease is for and the nature of    OF UNIT 100 LOCATED
          the debtor's interest             AT 8530 CONCORD
                                            CENTER DR.,
                                            ENGLEWOOD, CO
                                            80112
             State the term remaining                                   CONCORD CENTER PARTNERS, LLC
                                                                        4101 BIRCH STREET
          List the contract number of any                               SUITE 100
                government contract                                     NEWPORT BEACH, CA 92660


2.268.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Conrad Hale
          List the contract number of any                               5295 York Rd
                government contract                                     Helena, MT 59602


2.269.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Continues Rain Gutter
          List the contract number of any                               640 Euclid Ave
                government contract                                     Helena, MT 59601




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.270.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Contractors For Hire
          List the contract number of any                               3504 Central Ave
                government contract                                     Great Falls, MT 59401


2.271.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Corbett Craftsmen
          List the contract number of any                               122 Rolling prairie way
                government contract                                     Three Forks, MT 59752


2.272.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Corey Corbitt
          List the contract number of any                               PO Box 5327
                government contract                                     Helena, MT 59604


2.273.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Corky And Leola Harkins
          List the contract number of any                               733 Mauser
                government contract                                     Lockwood, MT 59101


2.274.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cory Smith
          List the contract number of any                               260 Nettleton Court
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.275.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cory Waskow
          List the contract number of any                               587 Squaw creek Road
                government contract                                     Huntley, MT 59037


2.276.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        COTTON ROOT
          List the contract number of any                               6286 Dawn Drive
                government contract                                     Belgrade, MT 59714


2.277.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Countrywide Contracting
                                                                        1150 Blue Mound West
          List the contract number of any                               Suite 810
                government contract                                     Haslet, TX 76052


2.278.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Berg
          List the contract number of any                               3030 East Custer Avenue
                government contract                                     Helena, MT 59602


2.279.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Collins
          List the contract number of any                               950 12th Avenue Suite 200
                government contract                                     Longview, WA 98632




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.280.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Dvidson
          List the contract number of any                               2550 N. Hendrickson Drive Suite K
                government contract                                     Fort Jones, CA 96032


2.281.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Craig Larson
                government contract                                     Philipsburg, MT 59858


2.282.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Mehling
          List the contract number of any                               Route 1 Box 1067
                government contract                                     Hardin, MT 59034


2.283.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Taft
          List the contract number of any                               926 Blue Sage Court
                government contract                                     Hardin, MT 59034


2.284.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Tuckness
          List the contract number of any                               PO Box 6418
                government contract                                     Bozeman, MT 59771




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.285.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Craig Wardwell
          List the contract number of any                               112 S. Edmunds
                government contract                                     Powell, WY 82435


2.286.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Crooked Arm Construction
          List the contract number of any                               PO Box 575
                government contract                                     Crow Agency, MT 05922


2.287.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Cross Country Construction
          List the contract number of any                               515 27th Street South
                government contract                                     Great Falls, MT 59405


2.288.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Crystal Clear Construction
          List the contract number of any                               8025 Weile
                government contract                                     Manhatten, MT 59741


2.289.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Culligan of Bozeman
          List the contract number of any                               15 Shawnee way
                government contract                                     Bozeman, MT 59715




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.290.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Curtis Arlian
          List the contract number of any                               Po Box 89 Flaxville
                government contract                                     Flaxville, MT 59222


2.291.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Curtis Cockrell
          List the contract number of any                               1316 Rd 11
                government contract                                     Lovell, WY 82431


2.292.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Custer Do It Best
          List the contract number of any                               603 Crook Street
                government contract                                     Custer, SD 57730


2.293.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Custer Hospitality LLC
          List the contract number of any                               35 S 4th St
                government contract                                     Custer, SD 57730


2.294.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Custom Cut Seamless
          List the contract number of any                               13132 Kit Carson Trail
                government contract                                     Piedmont, SD 57769




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.295.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                         Custom II Manufacturing-FAC
          List the contract number of any                                5601 Monforton Road
                government contract                                      Bozeman, MT 59718


2.296.    State what the contract or        LEASE OF 2019
          lease is for and the nature of    WILSON CF-180
          the debtor's interest             (SERIAL #7296) AND
                                            2019 WILSON CF-180
                                            (SERIAL #7297) -LEASE
                                            #9001 (#361 and #363)
             State the term remaining       5 MONTHS                     DAIMLER-MERCEDES BENZ
                                                                         FINANCIAL SERVICES
          List the contract number of any                                1301 E. TOWER RD
                government contract                                      SCHAUMBURG, IL 60173


2.297.    State what the contract or        LEASE OF 2018
          lease is for and the nature of    FREIGHTLINER
          the debtor's interest             (SERIAL #7557) -
                                            LEASE #0001
             State the term remaining       12 MONTHS                    DAIMLER-MERCEDES BENZ
                                                                         FINANCIAL SERVICES
          List the contract number of any                                1301 E. TOWER RD
                government contract                                      SCHAUMBURG, IL 60173


2.298.    State what the contract or        LEASE OF A 2018
          lease is for and the nature of    WILSON 48' COMBO
          the debtor's interest             WITH TARP- SERIAL
                                            (#5679) AND A 2018
                                            WILSON 48' COMBO
                                            WITH TARP (SERIAL
                                            #5678) LEASE #4001
                                            (#180) (#181 AND #191)
             State the term remaining       24 MONTHS                    DAIMLER-MERCEDES BENZ
                                                                         FINANCIAL SERVICES
          List the contract number of any                                1301 E. TOWER RD
                government contract                                      SCHAUMBURG, IL 60173


2.299.    State what the contract or        LEASE OF 2018
          lease is for and the nature of    FREIGHTLINER
          the debtor's interest             (SERIAL #7558) -
                                            LEASE #3001 (#190)
             State the term remaining       37 MONTHS                    DAIMLER-MERCEDES BENZ
                                                                         FINANCIAL SERVICES
          List the contract number of any                                1301 E. TOWER RD
                government contract                                      SCHAUMBURG, IL 60173


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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.300.    State what the contract or        LEASE OF 2020
          lease is for and the nature of    WILSON CF1080
          the debtor's interest             (SERIAL #6949), 2020
                                            WILSON CF1080
                                            (SERIAL #6950) AND A
                                            2020 WILSON CF1080
                                            (SERIAL #6951) -
                                            LEASE #5001
             State the term remaining       16 MONTHS                   DAIMLER-MERCEDES BENZ
                                                                        FINANCIAL SERVICES
          List the contract number of any                               1301 E. TOWER RD
                government contract                                     SCHAUMBURG, IL 60173


2.301.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dakota Winds Construction
          List the contract number of any                               348 Mt. View
                government contract                                     Lead, SD 57754


2.302.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dale Gaasland
          List the contract number of any                               P.O Box 517
                government contract                                     Hill City, SD 57745


2.303.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dale Vick
          List the contract number of any                               PO Box 92
                government contract                                     Elliston, MT 59728


2.304.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dallas Beardall
          List the contract number of any                               295 Rd 2AB
                government contract                                     Cody, WY 82414




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.305.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dallas Eidem
          List the contract number of any                               1001 Davis Rd
                government contract                                     Hardin, MT 59034


2.306.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dallas Teini
          List the contract number of any                               109 Sheep Herder Trail
                government contract                                     Roundup, MT 59072


2.307.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dallas Van Gelder
          List the contract number of any                               14470 Churchhill Rd
                government contract                                     Manhattan, MT 59741


2.308.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dalton Ross
                government contract


2.309.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Damascus Hardware
          List the contract number of any                               28983 State Route 62
                government contract                                     Damascus, OH 44619




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.310.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Damian Paulson
          List the contract number of any                               9215 19th. S. SW
                government contract                                     Taylor, ND 58656


2.311.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Damon Ferrari
          List the contract number of any                               3507 E Hawkeye Ave.
                government contract                                     Turlock, CA 95380


2.312.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dan Cherry
          List the contract number of any                               8407 Danford Road
                government contract                                     Laurel, MT 59044


2.313.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dan Dobrowolski
                government contract


2.314.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dan Oldenburg
          List the contract number of any                               907 Butte Ave.
                government contract                                     Helena, MT 59601




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.315.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dan Simonton
          List the contract number of any                               2047 N. Last Chance Gulch #128
                government contract                                     Helena, MT 59601


2.316.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dan Wardell
          List the contract number of any                               1065 Lane 12
                government contract                                     Lovell, WY 82431


2.317.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dan/Nancy Sheil
                government contract                                     Big Sky, MT 59716


2.318.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Daniel Adkins
          List the contract number of any                               2723 4th Ave North
                government contract                                     Great Falls, MT 59401


2.319.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Daniel McCauley
          List the contract number of any                               P.O. Box 1137
                government contract                                     Helena, MT 59624




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.320.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Daniel Shriver
                government contract


2.321.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dareen Byler
          List the contract number of any                               7090 Highline Road
                government contract                                     Manhattan, MT 59714


2.322.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dark Horn Construction
          List the contract number of any                               80485 Gallatin Road
                government contract                                     Bozeman, MT 59715


2.323.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Darlene Freese
          List the contract number of any                               7127 Raven Dr
                government contract                                     Belgrade, MT 59714


2.324.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Darren Radke
          List the contract number of any                               585 NW Denton Ave
                government contract                                     Dallas, OR 97338




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.325.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Darrin VandenBos
          List the contract number of any                               616 3rd Ave Sw
                government contract                                     Conrad, MT 59425


2.326.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Darwin Bridges
          List the contract number of any                               6035 Rd 1074
                government contract                                     Wolf Point, MT 59201


2.327.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Daryl Wing
          List the contract number of any                               535 Trident Road
                government contract                                     Three Forks, MT 59752


2.328.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Daryle Davis
                government contract                                     Billings, MT 59412


2.329.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Allen
          List the contract number of any                               1919 Water Wood Drive
                government contract                                     Laurel, MT 59044




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.330.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Ball
          List the contract number of any                               PO Box 789
                government contract                                     Manhattan, MT 59741


2.331.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Bertelsen
          List the contract number of any                               325 Fox Drive
                government contract                                     Great Falls, MT 59404


2.332.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Casey
          List the contract number of any                               3748 Greybull River Road
                government contract                                     Greybull, WY 59101


2.333.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Gleich
          List the contract number of any                               PO Box 344
                government contract                                     Clancy, MT 59634


2.334.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Jaraczeski
          List the contract number of any                               17 Liberty Lane
                government contract                                     Great Falls, MT 59405




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.335.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dave Olson
                government contract                                     Spearfish, SD 57783


2.336.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Shellenberger
          List the contract number of any                               6250 Douglas Rd
                government contract                                     Belgrade, MT 59714


2.337.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dave Spring
                government contract                                     Joliet, MT 59041


2.338.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dave Streitz
          List the contract number of any                               331 Meadow Vista lane
                government contract                                     Deerlodge, MT 59722


2.339.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David & Shelly Morrow
          List the contract number of any                               239 Cirque Dr
                government contract                                     Bozeman, MT 59718




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.340.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Allen
          List the contract number of any                               836 M Street
                government contract                                     Anchorage, AL 99501


2.341.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Boynton
          List the contract number of any                               89 N Big Elk Meadow Rd
                government contract                                     Gallatin Gateway, MT 59730


2.342.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Cook
          List the contract number of any                               2930 Arabian Road
                government contract                                     Helena, MT 59602


2.343.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Jensen
          List the contract number of any                               PO 811
                government contract                                     Colstrip, MT 59323


2.344.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Lambert
          List the contract number of any                               1926 23rd Ave South
                government contract                                     Great Falls, MT 59405




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.345.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Miller
          List the contract number of any                               36 Virginia Meadows Rd
                government contract                                     Cameron, MT 59720


2.346.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Reynolds
          List the contract number of any                               PO Box 1337
                government contract                                     Boulder, MT 59632-1337


2.347.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Sattler
          List the contract number of any                               4675 Lincoln Rd West
                government contract                                     Helena, MT 59602


2.348.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Schlaht
          List the contract number of any                               90 Fawn Meadow Rd
                government contract                                     Manhattan, MT 59741


2.349.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        David Waldner
          List the contract number of any                               111 Laura Lane
                government contract                                     Vaughn, MT 59487




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.350.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Davidson Custom Builders
          List the contract number of any                               1758 Midfield Street
                government contract                                     Bozeman, MT 59715


2.351.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dawn Til Dusk
          List the contract number of any                               924 NORTH RODNEY ST.
                government contract                                     HELENA, MT 59601


2.352.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dawn Till Dusk Landscaping
          List the contract number of any                               6 Bugle road
                government contract                                     Clancy, MT 59634


2.353.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dean Welch
          List the contract number of any                               83 Poverty Flat Rd
                government contract                                     Joliet, MT 59041


2.354.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Debra Beauchman
                government contract                                     Sun Praire, MT 59404




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.355.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Deffenbaugh Homes
                                                                        6200 S Old Village Pl
          List the contract number of any                               Ste 100
                government contract                                     Sioux Falls, SD 57108


2.356.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   DeHaan Construction -FAC
                                                                        Travis Dehaan
          List the contract number of any                               329 High K St
                government contract                                     Belgrade, MT 59714-8984


2.357.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Deleers Solutions
          List the contract number of any                               209 Jet Way Drive
                government contract                                     Belgrade, MT 59714


2.358.    State what the contract or        DENTAL INSURANCE
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        DELTA DENTAL INSURANCE COMPANY
          List the contract number of any                               P.O. BO 7564
                government contract                                     SAN FRANCISCO, CA 94120-7564


2.359.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Delvis Combs
          List the contract number of any                               2263 2nd St. West
                government contract                                     Ballentine, MT 59006




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.360.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Denise Sheehy
          List the contract number of any                               47 Bando Ln
                government contract                                     Bozeman, MT 59718


2.361.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Denman Construction Management
          List the contract number of any                               10669 Gee Norman Road
                government contract                                     Bozeman, MT 59714


2.362.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Camino
          List the contract number of any                               29255 Old Highway 87
                government contract                                     Buffalo, WY 82834


2.363.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Cox
          List the contract number of any                               PO Box 335
                government contract                                     Phillipsburg, MT 59858


2.364.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Dupre
          List the contract number of any                               727 South Rodney
                government contract                                     Helena, MT 59601




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.365.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Ferestad
          List the contract number of any                               16285 Highway 87
                government contract                                     Gyser, MT 59447


2.366.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Lee
          List the contract number of any                               7198 Gunn Road
                government contract                                     Helena, MT 59602


2.367.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dennis Pitts
          List the contract number of any                               PO 126
                government contract                                     Roberts, MT 59070


2.368.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Derick Senkyr
          List the contract number of any                               160 Scotch Pine Ln
                government contract                                     Columbia Falls, MT 59912


2.369.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Derudder, Tracey
          List the contract number of any                               3761 Heritage Drive
                government contract                                     Billings, MT 59102




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.370.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Detailed Construction
          List the contract number of any                               P.O. Box 5
                government contract                                     Stockett, MT 59480


2.371.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Devin Morrison
          List the contract number of any                               8522 Lookfar Way
                government contract                                     Bozeman, MT 59715


2.372.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Devries, Randy
          List the contract number of any                               734 Crear Creek Rd
                government contract                                     Roberts, MT 59070


2.373.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Diamond Building Products, LLC. - FAC-HO
          List the contract number of any                               4425 E. Colorado Blvd.
                government contract                                     Spearfish, SD 57783


2.374.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Diamond Truss
          List the contract number of any                               PO Box 683
                government contract                                     Ralston, WY 82440




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.375.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Diana Kuntz
          List the contract number of any                               132 Wheat Field Lane
                government contract                                     Belgrade, MT 59714


2.376.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dick Snider
          List the contract number of any                               128 Beach Drive
                government contract                                     West Yellowstone, MT 59758


2.377.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dickson, Buel
                government contract                                     Great Falls, MT 59404


2.378.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dicor Contractors
          List the contract number of any                               1603 Pass and Covina Road
                government contract                                     La Puente, CA 91744


2.379.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dietz, Tim
          List the contract number of any                               4501 Graf
                government contract                                     Bozeman, MT 59715




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.380.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Diggstown Construction, Inc.-FAC
          List the contract number of any                               PO Box 917
                government contract                                     Manhattan, MT 59714


2.381.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dippolito Guiesppe
          List the contract number of any                               PO Box 1585
                government contract                                     Post Falls, ID 83854


2.382.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        DMD Services
          List the contract number of any                               2518 Zimmerman Trail
                government contract                                     Billings, MT 59102


2.383.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Doctor Lawn
          List the contract number of any                               PO Box 2926
                government contract                                     Great Falls, MT 59403


2.384.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Don Heffington
          List the contract number of any                               1000 E Front
                government contract                                     Butte, MT 59701




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.385.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Don Mcandrew
                government contract                                      MT


2.386.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Don Mork
          List the contract number of any                               780 Old Hwy 10
                government contract                                     Sanders, MT 59076


2.387.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Don Reidelbach
          List the contract number of any                               89 Clark Creek Loop
                government contract                                     Clancy, MT 59634


2.388.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Don Vail Construction
          List the contract number of any                               1635 Sesame Street Drive
                government contract                                     Worland, WY


2.389.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Don Wallace
          List the contract number of any                               PO Box 2066
                government contract                                     Red Lodge, MT 59068




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.390.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        DON WIEDEMER
          List the contract number of any                               12048 Galena Road
                government contract                                     Galena, SD 57732


2.391.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Donald Whitcomb
          List the contract number of any                               2528 Carl St
                government contract                                     Billings, MT 59102


2.392.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dora Sealey
          List the contract number of any                               96 West Bypass Road North
                government contract                                     Dutton, MT 59433


2.393.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Double Haul Construction
          List the contract number of any                               280 Pheasant Lane
                government contract                                     Belgrade, MT 59714


2.394.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Double L Construction Inc
          List the contract number of any                               PO Box 161567
                government contract                                     Big Sky, MT 59716-1567




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.395.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Doug Kotar
          List the contract number of any                               7 Bus Lane
                government contract                                     Laurel, MT 59044


2.396.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Doug Poehls
          List the contract number of any                               1630 South 32nd
                government contract                                     Billings, MT 59101


2.397.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        DP Construction FAC
          List the contract number of any                               140 Two Bin Ln
                government contract                                     Lewistown, MT 59457-7681


2.398.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        DPR Construction
          List the contract number of any                               1001 8th Ave South
                government contract                                     Nashville, TN 37203


2.399.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Drex Shira
          List the contract number of any                               802 Rose Ridge
                government contract                                     Cove, OR 97824




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.400.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Duane Clark
          List the contract number of any                               27 Coal Camp Rd
                government contract                                     Wilsall, MT 59086


2.401.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Duevol Phillips
          List the contract number of any                               7814 Conifer Circle
                government contract                                     Black Hawk, SD 57718


2.402.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Duncan Renovation
          List the contract number of any                               908 S. Tracy Ave #B-2
                government contract                                     Bozeman, MT 59715


2.403.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dustin Lee
          List the contract number of any                               727 S Washington
                government contract                                     Casper, WY 82601


2.404.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        DW Sons Construction LLC
          List the contract number of any                               42 Merlin Drive
                government contract                                     Bozeman, MT 59718




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.405.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dwayne Christensen
          List the contract number of any                               PO Box 253
                government contract                                     Kaycee, WY 82639


2.406.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Dylan Wood
          List the contract number of any                               118 19th St West
                government contract                                     Billings, MT 59102


2.407.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        E Z Lawn Hydro Seeding
          List the contract number of any                               24 Skyway BLVD
                government contract                                     Belgrade, MT 59714


2.408.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eagle Mechanical
          List the contract number of any                               4801 Alpha Drive
                government contract                                     Bozeman, MT 59718


2.409.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eagle Vision Ministries
          List the contract number of any                               2602 1St Ave N Unit 797
                government contract                                     Billings, MT 59103




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.410.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Earl Craig
          List the contract number of any                               209 S 5th Street
                government contract                                     Bear Creek, MT 59007


2.411.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Earl Dooley
          List the contract number of any                               3722 Graybull River Road
                government contract                                     Graybull, WY 82426


2.412.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        East Bench Golf Coarse LLP
          List the contract number of any                               4020 Lake Helena Dr
                government contract                                     Helena, MT 59602


2.413.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Easton Concrete
          List the contract number of any                               P.O Box 20 West Haley Springs
                government contract                                     Bozeman, MT 59718


2.414.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eaton + Yost Construction Company FAC
          List the contract number of any                               2510 Grand Ave
                government contract                                     Billings, MT 59101




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.415.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ed Morgan
          List the contract number of any                               PO Box 242
                government contract                                     Red Lodge, MT 59068


2.416.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ed Zacher
          List the contract number of any                               6000 West Dry Creek
                government contract                                     Manhattan, MT 59741


2.417.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ed's Auto Body & Restoration
          List the contract number of any                               3200 15th St.
                government contract                                     Black Eagle, MT 59414


2.418.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Edee Nehl
          List the contract number of any                               P.O. Box 1754
                government contract                                     Helena, MT 59601


2.419.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Edgar Rural Fire District #4
          List the contract number of any                               108 W Beech St
                government contract                                     Edgar, MT 59026




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.420.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Edge Builders LLC
          List the contract number of any                               32860 N Walking Horse Ln
                government contract                                     Athol, ID 83801


2.421.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        EJ Kelley
          List the contract number of any                               45 Wild Willy Rd.
                government contract                                     Powell, WY 82435


2.422.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Elaine Sherwood
          List the contract number of any                               79 Ricky Drive
                government contract                                     Bozeman, MT 59718


2.423.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eldon Eighmy
          List the contract number of any                               12939 Pine Top Trl
                government contract                                     Hot Springs, SD 57747-6042


2.424.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Element Building
          List the contract number of any                               120 West Jefferson; Unit 14
                government contract                                     Morton, IL 61550




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.425.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eli Walker
          List the contract number of any                               3006 #9 Euclid Dr
                government contract                                     Helena, MT 59601


2.426.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Elijah Christofferson
          List the contract number of any                               735 Mosley Place
                government contract                                     Port Townsend, WA 98368


2.427.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Elite Construction LLC
          List the contract number of any                               2310 Blue Sage Dr
                government contract                                     Laurel, MT 59044


2.428.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Elk River Mountain Homes
          List the contract number of any                               24A Manitou Road
                government contract                                     Fernie V0B 1M0


2.429.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Emmons Building and Design LLC
          List the contract number of any                               5136 Chevelle Drive
                government contract                                     Billings, MT 59106




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.430.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eric Anderson
          List the contract number of any                               po box 237
                government contract                                     Philipsburg, MT 59858


2.431.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eric Bottorff
          List the contract number of any                               263 Upper Luther Road
                government contract                                     Red lodge, MT 59068


2.432.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eric Hunt
          List the contract number of any                               338 Evans Lane Box 5
                government contract                                     Spearfish, SD 57783


2.433.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eric Norton
          List the contract number of any                               PO Box 1143
                government contract                                     Gillette, WY 82717


2.434.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eric Plourde
          List the contract number of any                               4325 Sunny Acres Lane
                government contract                                     Moab, UT 84532




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.435.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Erik Fredlund
          List the contract number of any                               1400 West Aluiminium
                government contract                                     Butte, MT 59701


2.436.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Erin Retzer
          List the contract number of any                               4461 Cliff Drive
                government contract                                     Rapid City, SD 57702


2.437.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eugene Hoffman
          List the contract number of any                               521 South 72nd South West
                government contract                                     Billings, MT 59106


2.438.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eugene Krieger
          List the contract number of any                               1922 Stanhope
                government contract                                     Huntley, MT 59037


2.439.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Eugene Spolar
          List the contract number of any                               3010 Argo Way
                government contract                                     Butte, MT 59701




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.440.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Evan Gamble
          List the contract number of any                               409 Western Drive
                government contract                                     Bozeman, MT 59718


2.441.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Evopro
          List the contract number of any                               1726 Sheridan Lake Road
                government contract                                     Rapid City, SD 57702


2.442.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Exterior Expressions
          List the contract number of any                               4900 Haynes Road
                government contract                                     Shepherd, MT 59079


2.443.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Exterior Pro Builders, Inc.
          List the contract number of any                               19 Xavier Acres
                government contract                                     Middletown, NY 10940


2.444.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Exteriors Unlimited
          List the contract number of any                               PO Box 174
                government contract                                     Piedmont, SD 57769




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.445.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fair & Square Construction
          List the contract number of any                               P.O. Box 264
                government contract                                     Belgrade, MT 59714


2.446.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Farrar Welding and Fab
                                                                        70 Cliff drive
          List the contract number of any                               P.O. Box 275
                government contract                                     Meeteetse, WY 82433


2.447.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fast Signs
          List the contract number of any                               2800 North Montana
                government contract                                     Helena, MT 59601


2.448.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Fawn Felker
                government contract                                     Bozeman, MT 59718


2.449.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fence Crafters
          List the contract number of any                               PO Box 6494
                government contract                                     Helena, MT 59604




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.450.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fetter Construction
          List the contract number of any                               P.O. Box 803
                government contract                                     Harlem, MT 59526


2.451.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        First Choice Builders
          List the contract number of any                               PO Box 364
                government contract                                     Sheridan, WY 82801


2.452.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fishell, Scott
          List the contract number of any                               PO 1162
                government contract                                     Scobey, MT 59263


2.453.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fitte Construction
          List the contract number of any                               P.O. Box 1976
                government contract                                     East Helena, MT 59635


2.454.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fleming, Brett
          List the contract number of any                               2913 Rd 17 N
                government contract                                     Worden, MT 59088




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.455.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Florian Tininenko
          List the contract number of any                               3700 Amsterdam Rd
                government contract                                     Manhattan, MT 59741-8231


2.456.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Floyd Masters
          List the contract number of any                               22 Victory Rd
                government contract                                     Roberts, MT 59020


2.457.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Flynn Co Construction
          List the contract number of any                               PO Box - 1048
                government contract                                     Whitehall, MT 59759


2.458.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Forge Building Company
                                                                        348 W Parkcenter Blvd
          List the contract number of any                               Ste 200
                government contract                                     Boise, ID 83706


2.459.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fortified Homes Inc
          List the contract number of any                               13875 237th Street
                government contract                                     Rapid City, SD 57702




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.460.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Foss Construction
          List the contract number of any                               228 Avenue E
                government contract                                     Billings, MT 59101


2.461.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fowler Construction
          List the contract number of any                               410 North Hoffman
                government contract                                     Belgrade, MT 59714


2.462.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fox Construction INC.
          List the contract number of any                               7192 Hwy 212
                government contract                                     Red Lodge, MT 59068


2.463.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Fox, Robert
          List the contract number of any                               2097 Road 8 N
                government contract                                     Huntley, MT 59037


2.464.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Francis Panion
          List the contract number of any                               PO Box 300
                government contract                                     Ennis, MT 59729




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.465.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Frank Fellows
          List the contract number of any                               111 Mayflower Road
                government contract                                     White Hall, MT 59759


2.466.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Frank Knott
          List the contract number of any                               32 Comleyville Rd
                government contract                                     Ennis, MT 59729


2.467.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Frank Nienaber
          List the contract number of any                               4448 Robbie Ln
                government contract                                     Billings, MT 59106


2.468.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Frank Posey
          List the contract number of any                               148 Luther Roscoe Road
                government contract                                     Red Lodge, MT 59068


2.469.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Frank Wadeell
          List the contract number of any                               4949 Hope Rd
                government contract                                     Butte, MT 59701




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.470.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Frederik Rodenhuis
                                                                        4282 Triangle Ranch Road
          List the contract number of any                               Gate 4
                government contract                                     Mariposa, CA 95338


2.471.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        G & G Contractors
          List the contract number of any                               PO Box 1110
                government contract                                     Columbus, MT 59019


2.472.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        G P Land And Cattle Company
          List the contract number of any                               7935 York Rd
                government contract                                     Helena, MT 59602


2.473.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        G. Cannon Inc
          List the contract number of any                               368 Abrams Mill Rd
                government contract                                     King of Prussia, PA 19406


2.474.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gabe Dunn
          List the contract number of any                               3254 Stony Point Rd
                government contract                                     Santa Rosa, CA 95407




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.475.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gallatin Traditions
          List the contract number of any                               124 S 2nd St.
                government contract                                     Livingston, MT 59047


2.476.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Garth Flaming
          List the contract number of any                               2460 Clarks Pt. Dr.
                government contract                                     Laurel, MT 59044


2.477.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Asay
          List the contract number of any                               1027 Lane 12
                government contract                                     Lovell, WY 82431


2.478.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Boring
          List the contract number of any                               73 Road 2ABN
                government contract                                     Cody, WY 82414


2.479.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Brink
          List the contract number of any                               216 Moore Lane
                government contract                                     Billings, MT 59101




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.480.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Carlson
          List the contract number of any                               10 Midnight Canyon Rd
                government contract                                     Nye, MT 59061


2.481.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Hitchcock
          List the contract number of any                               13 217 Montana HWY 200
                government contract                                     Fort Shaw, MT 59443


2.482.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Mayes
          List the contract number of any                               5407 Powmer Rd
                government contract                                     Billings, MT 59105


2.483.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gary Swenson
          List the contract number of any                               1960 Colorado Gulch
                government contract                                     Helena, MT 59601


2.484.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        GAYLE Sacry
          List the contract number of any                               PO Box 339
                government contract                                     Whitehall, MT 59759-0339




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.485.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gayle Schabarker
          List the contract number of any                               322 W Armitage
                government contract                                     Ennis, MT 59729


2.486.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gehrke Excavation
          List the contract number of any                               11526 Gravel Pit Raod
                government contract                                     Manhattan, MT 59741


2.487.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gene Bohleen
          List the contract number of any                               PO Box 8
                government contract                                     Huntley, MT 59038


2.488.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gene Olsen
          List the contract number of any                               PO Box 347
                government contract                                     White Sulphur Springs, MT 59645


2.489.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        GENE OMSTEAD
          List the contract number of any                               14341 39Th Street
                government contract                                     Alexander, ND 58831




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.490.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Geno Willuweit
          List the contract number of any                               1937 Freemont St
                government contract                                     Rapid City, SD 57702


2.491.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Geoff Harvey
          List the contract number of any                               423 S. K
                government contract                                     Livingston, MT 59047


2.492.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        George Melloh
          List the contract number of any                               8000 Blackhawk Rd. #4
                government contract                                     Keystone, SD 57751


2.493.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        George Niles
          List the contract number of any                               PO Box 7803
                government contract                                     Yellowtail, MT 59035


2.494.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gerald Gabel
          List the contract number of any                               5785 Yellowstone Trail
                government contract                                     Huntley, MT 59037




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.495.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gery Fichter
          List the contract number of any                               3810 Parkridge Dr
                government contract                                     Rapid City, SD 57702


2.496.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gilbert Burdett
          List the contract number of any                               731 Allendale Rd
                government contract                                     Laurel, MT 59044


2.497.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gillies Signs
          List the contract number of any                               1145 Fort Union Blvd #162
                government contract                                     Midvale, UT 84047


2.498.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Gina Dale
                                                                        Box 282
          List the contract number of any                               304 3rd Ave North
                government contract                                     Fairfield, MT 59436


2.499.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        GK Construction
          List the contract number of any                               1169 Lane 11th
                government contract                                     Lovell, WY 82431




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.500.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Glen Curtiss
          List the contract number of any                               3845 Heather Drive
                government contract                                     Helena, MT 59602


2.501.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Glen Deeney
          List the contract number of any                               PO Box 4
                government contract                                     Heart Butte, MT 59448


2.502.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Glenn Middlestead
          List the contract number of any                               3161 Crested Moon Drive
                government contract                                     Helena, MT 59602


2.503.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Glenn Warren
          List the contract number of any                               713 E Shank Basin Rd
                government contract                                     Big Timber, MT 59011


2.504.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gold Plug
          List the contract number of any                               224 New Ventures Dr Ste9
                government contract                                     Bozeman, MT 59718




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.505.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gold Star Construction, LLC
          List the contract number of any                               27 North Baker Rd
                government contract                                     Salmon, ID 83467


2.506.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gordon Clark
          List the contract number of any                               3721 Helburg
                government contract                                     Helena, MT 59602


2.507.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gordon Peterson
          List the contract number of any                               3315 McGirl Road
                government contract                                     Billings, MT 59105


2.508.    State what the contract or        LEASE AGREEMENT
          lease is for and the nature of    FOR PROPERTY
          the debtor's interest             LOCATED AT 1558
                                            AMSTERDAM RD,
                                            BELGRAD, MT 59714
             State the term remaining
                                                                        GRAND FIR, LLC
          List the contract number of any                               8321 HILL RD
                government contract                                     KLAMATH FALLS, OR 97603


2.509.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Granite Development
          List the contract number of any                               P O Box 1027
                government contract                                     Philipsburg, MT 59858




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.510.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Granite Mountain Construction
          List the contract number of any                               126 Springbrook Ave
                government contract                                     Bozeman, MT 59715


2.511.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Grant Cadwallader
                government contract                                     Powell, MT 82435


2.512.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Grant Davis
          List the contract number of any                               255 West 2nd Street
                government contract                                     Cody, WY 82435


2.513.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gray Horse Creations
          List the contract number of any                               9828 Prairie Road
                government contract                                     Manhattan, MT 59741


2.514.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Great Northwest Construction
          List the contract number of any                               1929 Bozeman Trail Rd
                government contract                                     Bozeman, MT 59715-8034




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.515.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Great Western Investments LLC
          List the contract number of any                               15525 Horse Creek Rd
                government contract                                     Bozeman, MT 59715


2.516.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Green Agri-Capital LLC
                government contract                                     Belgrade, MT 59714


2.517.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Green Meadow Ranch
          List the contract number of any                               150 Horseshoe Bend Road
                government contract                                     Helena, MT 59601


2.518.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Green, Chad
          List the contract number of any                               2104 St Andrews Dr
                government contract                                     Billings, MT 59105


2.519.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greenway Enterprises
          List the contract number of any                               1038 Hahn Rd
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.520.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greg Boyle
          List the contract number of any                               2315 S. 44Th St. W.
                government contract                                     Billings, MT 59106


2.521.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greg Hampton
          List the contract number of any                               2012 Sweetgrass Rd
                government contract                                     Helena, MT 59601-5881


2.522.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greg Lovegrove
          List the contract number of any                               2727 Sage Valley Road
                government contract                                     Billings, MT 59101


2.523.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greg Mouton
          List the contract number of any                               23466 Crowley Eunice Hwy
                government contract                                     Crowley, LA 70526-0824


2.524.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Greg Wegner
          List the contract number of any                               PO Box 412
                government contract                                     Hardin, MT 59034




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.525.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Grey Gardner
          List the contract number of any                               294 Valley Creek Rd
                government contract                                     Park City, MT 59063


2.526.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Grimshaw Const.
          List the contract number of any                               39 E First
                government contract                                     Casper, WY 82601


2.527.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Guinevere Brittingham
          List the contract number of any                               199 McArthur St. S
                government contract                                     Tenino, WA 98589


2.528.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Gunnar Anderson
          List the contract number of any                               1901 Yellowstone Ave
                government contract                                     Billings, MT 59102


2.529.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Guy Small
          List the contract number of any                               1783 Fly Creek Road
                government contract                                     Pompeys Piller, MT 59064




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.530.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        H-S Roofing-FAC
          List the contract number of any                               14333 Sommermeyer St.
                government contract                                     Houston, TX 77041


2.531.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Haas Builders-FAC
          List the contract number of any                               PO Box 161487
                government contract                                     Big Sky, MT 59716


2.532.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hagen Fabrication
          List the contract number of any                               363 Rd 4EU
                government contract                                     Meeteetse, WY


2.533.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hallie Chen
          List the contract number of any                               10333 Miner Place
                government contract                                     Cupertino, CA 95014


2.534.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hammond Construction
          List the contract number of any                               5406 Cerkoney Lane
                government contract                                     Shepherd, MT 59079




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.535.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Handyman Construction
          List the contract number of any                               823 US Hwy 87 N.
                government contract                                     Roundup, MT 59072


2.536.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hanson Kelly Construction
          List the contract number of any                               P.O. Box 80527
                government contract                                     Billings, MT 59108


2.537.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hanson, Chris
          List the contract number of any                               2203 Lyndale Lane
                government contract                                     Billings, MT 59102


2.538.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Haran Roofing
          List the contract number of any                               P.O. Box 2085
                government contract                                     Red Lodge, MT 59068


2.539.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Harant, Mark
          List the contract number of any                               129 20th St.
                government contract                                     Black Eagle, MT 59414




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.540.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hard Rock Road Building & Utilities
          List the contract number of any                               420 Sierra Rd W
                government contract                                     Helena, MT 59602-6509


2.541.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Harley & Rhonda Shuck
          List the contract number of any                               3 Columbus Dr
                government contract                                     Parkman, WY 82839


2.542.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Harold Greiss
          List the contract number of any                               5431 SUN HILL DRIVE
                government contract                                     HELENA, MT 59602


2.543.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Harris Industries LLC
          List the contract number of any                               3912 Colorado Avenue
                government contract                                     Helena, MT 59602


2.544.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Harry & Carol Hinshaw
                government contract                                     Ennis, MT 59729




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.545.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Harry Smith
          List the contract number of any                               3171 Brow Tine
                government contract                                     Helena, MT 59602


2.546.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hartline Construction
          List the contract number of any                               3359 Edgewater Dr
                government contract                                     Tahoe City, CA 96145


2.547.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hartman Construction
          List the contract number of any                               PO Box 217
                government contract                                     Custer, SD 57730


2.548.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hartmann, Weston
          List the contract number of any                               Po Box 2
                government contract                                     Kadoka, SD 57543-0002


2.549.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hawe Steel Design
          List the contract number of any                               1112 South Arizona
                government contract                                     Butte, MT 59701




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.550.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Headwaters Hops
          List the contract number of any                               9700 Clarkston Rd
                government contract                                     Three Forks, MT 59752


2.551.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heart X Construction
          List the contract number of any                               PO Box 696
                government contract                                     Lame Deer, MT 59043


2.552.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heartbeat Designs
          List the contract number of any                               8181 Rolling Hills Dr
                government contract                                     Bozeman, MT 59715


2.553.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heartland Construction
          List the contract number of any                               1140 Yuri Road
                government contract                                     Helena, MT 59602


2.554.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heath Keffeler
          List the contract number of any                               22308 New Underwood Rd
                government contract                                     New Underwood, SD 57761




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.555.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heather Kunz
          List the contract number of any                               2817 Encino Dr
                government contract                                     Great Falls, MT 59404


2.556.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heidco Inc
          List the contract number of any                               1504 Laforest Ave
                government contract                                     Bismarck, ND 58501


2.557.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Heidi Parks
          List the contract number of any                               8 Twisted Pines Road
                government contract                                     Roundup, MT 59072


2.558.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        High Caliber Homes - FAC
          List the contract number of any                               1499 Cobb Hill Rd
                government contract                                     Bozeman, MT 59718


2.559.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        High Mountain Carpentry
          List the contract number of any                               6430 Fox Trotter Lane
                government contract                                     Bozeman, MT 59715




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.560.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Highland Livestock
          List the contract number of any                               356 Frontage Road East
                government contract                                     Livingston, MT 59047


2.561.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Highsmith Construction
          List the contract number of any                               3138 Stillwater Drivve
                government contract                                     Billings, MT 59102


2.562.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hilgard Builders
          List the contract number of any                               PO Box 891
                government contract                                     West Yellowstone, MT 59758


2.563.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Hilles, Rick
                government contract                                     Bozeman, MT 59715


2.564.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        His Rustic Woodwrights
          List the contract number of any                               687 North 5th Avenue
                government contract                                     Mills, WY 82604




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.565.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        HMC
          List the contract number of any                               P.O. Box 191
                government contract                                     Pray, MT 59065


2.566.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Holly Denning
          List the contract number of any                               139 Dune Drive
                government contract                                     Great Falls, MT 59404


2.567.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Home Health and Hospice
          List the contract number of any                               224 Elk Street
                government contract                                     Rapid City, SD 57701


2.568.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Home Outfitters
          List the contract number of any                               PO Box 334
                government contract                                     Clyde Park, MT 59018


2.569.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hometown Heating And Cooling
          List the contract number of any                               14 High K
                government contract                                     Belgrade, MT 59714




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.570.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hooper Construction
          List the contract number of any                               280 State Hwy 32
                government contract                                     Lovell, WY 82431


2.571.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hope Bradley
          List the contract number of any                               475 Red Oak Dr
                government contract                                     Belgrade, MT 59714


2.572.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Howell Construction
          List the contract number of any                               PO Box 2104
                government contract                                     Red Lodge, MT 59068


2.573.    State what the contract or        SOFTWARE
          lease is for and the nature of    SUBSCRIPTION
          the debtor's interest

             State the term remaining
                                                                        HUBSPOT
          List the contract number of any                               25 FIRST STREET
                government contract                                     CAMBRIDGE, MA 02141


2.574.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hurley Oil Field Services
          List the contract number of any                               13352 HWY 200
                government contract                                     Fairview 59221




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.575.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Hutson, Shaun
          List the contract number of any                               31 Deep Creek South Fork
                government contract                                     Livingston, MT 59047


2.576.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        HYMARK CONSTRUCTION, LLC
          List the contract number of any                               PO Box 1347
                government contract                                     Belgrade, MT 59714


2.577.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ian Bowmer
          List the contract number of any                               P.O. BOX 494
                government contract                                     WAITSFIELD, VT 05673


2.578.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Idaho Storage Connection
          List the contract number of any                               PO Box 140671
                government contract                                     Garden City, ID 83714


2.579.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ideal Roofing
          List the contract number of any                               1943 Main St
                government contract                                     Billings, MT 59105




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.580.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ike Fleek
          List the contract number of any                               PO Box 704
                government contract                                     Basin, WY 82410


2.581.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Image Builders FAC
                                                                        3641 S. 56th Street
          List the contract number of any                               West
                government contract                                     Billings, MT 59101


2.582.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Indian Health Services - Northern Cheyen
          List the contract number of any                               PO Box 70
                government contract                                     Lame Deer, MT 59043


2.583.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Indoor Garden Supply
          List the contract number of any                               1350 Atlantic Avenue
                government contract                                     Woodland, WA 98674


2.584.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ingram-Clevenger, Inc.
          List the contract number of any                               PO Box 5387
                government contract                                     Helena, MT 59604




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.585.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ingrid Lovitt
          List the contract number of any                               1722 Winnie
                government contract                                     Helena, MT 59601


2.586.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Ipswich Lumber & Hardware LLC
                                                                        19 5th Ave
          List the contract number of any                               P.O. Box 127
                government contract                                     Ipswich, SD 57451


2.587.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        J & E Irrigation
          List the contract number of any                               405 South 3rd
                government contract                                     Basin, WY 82410


2.588.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        J & J Construction
          List the contract number of any                               1510 Avenue F
                government contract                                     Billings, MT


2.589.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        J & N Backcountry Construction
          List the contract number of any                               2204 Eagle Rock Drive
                government contract                                     Billings, MT 59101




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.590.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        J Van Contracting, LLC
          List the contract number of any                               P.O. Box 456
                government contract                                     Basin, WY 82410


2.591.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jack Edwards
          List the contract number of any                               Po Box 71
                government contract                                     Hill City, SD 57745


2.592.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jack Lombardo
          List the contract number of any                               1740 E State St
                government contract                                     Meridian, ID 83642


2.593.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Jack Stewart
                government contract                                     Kent, WA 98032


2.594.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jackson Contractor Group, Inc- FAC
          List the contract number of any                               Po Box 967
                government contract                                     Missoula, MT 59806-0967




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.595.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jacob Miller
          List the contract number of any                               167 West River Rd
                government contract                                     Worland, WY 82401


2.596.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jacob Nance
          List the contract number of any                               808 Miles Ave
                government contract                                     Billings, MT 59101


2.597.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JACOBS PRECISION WELDING
          List the contract number of any                               522 S Main Street
                government contract                                     Lead, SD 57754


2.598.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jake Kerr Services
          List the contract number of any                               PO Box 65
                government contract                                     Roberts, MT 59070


2.599.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jake W Hassler
          List the contract number of any                               901 Paisley Dr
                government contract                                     Belgrade, MT 59714




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.600.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               James Herron
                government contract                                     Laurel, MT 59044


2.601.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Hoeft
          List the contract number of any                               PO Box 553
                government contract                                     Deadwood, SD 57732


2.602.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Lyons
          List the contract number of any                               20 West Rd
                government contract                                     Dune Acres, IN 46304


2.603.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Marshal
          List the contract number of any                               P.O Box 4068
                government contract                                     Helena, MT 59604


2.604.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Moses
          List the contract number of any                               1223 Twain St
                government contract                                     Billings, MT 59105




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.605.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Nebeker
          List the contract number of any                               5350 N. Rattlesnake Ln.
                government contract                                     Laketown, UT 84038


2.606.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James W Carpenter
          List the contract number of any                               815 12th Ave Street North
                government contract                                     Great Falls, MT


2.607.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        James Wilcox
          List the contract number of any                               6806 South Frontage Road
                government contract                                     Billings, MT 59101


2.608.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jamon Jewett
          List the contract number of any                               4175 Fox Hollow Dr
                government contract                                     Helena, MT 59602


2.609.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jane Beisner
          List the contract number of any                               PO Box 9031
                government contract                                     Rapid City, SD 57702




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.610.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Janelle Leintz
          List the contract number of any                               12080 County Rd. 350
                government contract                                     Sidney, MT 59270


2.611.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Janet Skinner
          List the contract number of any                               16140 Cedar Brae Rd
                government contract                                     Leavenworth, WA 98826


2.612.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jared Thede
          List the contract number of any                               3036 Country Aire Drive
                government contract                                     Cedarburg, WI 53012


2.613.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Jason Fantom
                government contract


2.614.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Fleming
          List the contract number of any                               706 Sonic Way
                government contract                                     Box Elder, SD 57719




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.615.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Loose
          List the contract number of any                               po box 354
                government contract                                     Hobson, MT 59452


2.616.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Stensvad
          List the contract number of any                               PO Box 1
                government contract                                     Billings, MT 59101


2.617.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Therriault
          List the contract number of any                               3500 Birkland Drive
                government contract                                     Helena, MT 59602


2.618.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Tresner
          List the contract number of any                               205 Hope Road
                government contract                                     Helena, MT 59602


2.619.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Van Vleet
          List the contract number of any                               po box 337
                government contract                                     Three Forks, MT 59752




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.620.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jason Walter
          List the contract number of any                               PO Box 90
                government contract                                     Pray, MT 59065


2.621.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JAY Darrah
          List the contract number of any                               4935 72nd Ave West
                government contract                                     Havre 59501


2.622.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jay Hart
          List the contract number of any                               3720 Hart Ln
                government contract                                     Helena, MT 59602


2.623.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jay Murphy
          List the contract number of any                               6220 Hickory Rd
                government contract                                     Helena, MT 59602


2.624.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jayne Schleicher
          List the contract number of any                               13 Rogers Lane #8
                government contract                                     LIVINGSTON, MT 59047




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.625.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JB Woodfitter Homes
          List the contract number of any                               3891 275th Street West
                government contract                                     Prior Lake, MN 55372


2.626.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JB's Concepts
          List the contract number of any                               2315 Hoover Ave
                government contract                                     Billings, MT 59102


2.627.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JBD inc.
          List the contract number of any                               1656 S Sheridan Ave.
                government contract                                     Sheridan, WY 82801


2.628.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JD Svedberg
          List the contract number of any                               PO Box 333
                government contract                                     Hardin, MT 59034


2.629.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JE Paino
          List the contract number of any                               PO Box 1090
                government contract                                     Dixon, CA 95620-1090




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.630.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeanne Shepherd
          List the contract number of any                               2425 New Haven Road
                government contract                                     Oshoto, WY 82721


2.631.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeanne Wesley-Wiese
          List the contract number of any                               707 N Wallace
                government contract                                     Bozeman, MT 59715


2.632.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeannine Brown
          List the contract number of any                               701 Pyrite Court
                government contract                                     Helena, MT 59601


2.633.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Breland
          List the contract number of any                               3344 Lavender
                government contract                                     Helena, MT 59602


2.634.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Flansaas
          List the contract number of any                               3219 Augusta Drive
                government contract                                     Bozeman, MT 59715




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.635.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Hill
          List the contract number of any                               PO Box 68
                government contract                                     Three Forks, MT 59752


2.636.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Lamb
          List the contract number of any                               1388 Hwy 69
                government contract                                     Cardwell, MT 59721


2.637.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Marks
          List the contract number of any                               3643 MT Hwy 284
                government contract                                     Townsend, MT 59644


2.638.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JEFF Overton
          List the contract number of any                               802 Deadman Canyon
                government contract                                     Reed Point, MT 59069


2.639.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Schmidt
          List the contract number of any                               PO Box 871
                government contract                                     Powell, WY 82435




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.640.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Seliskar
          List the contract number of any                               2445 Grizzly Gulch
                government contract                                     Helena, MT 59601


2.641.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeff Wardell
          List the contract number of any                               475 Montana Ave
                government contract                                     Lovell, WY 82431


2.642.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeffery Stocks
          List the contract number of any                               208 Marble dr
                government contract                                     Evanston, WY 82930


2.643.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jendale Construction
          List the contract number of any                               1827 Lake Elmo Drive
                government contract                                     Billings, MT 59105


2.644.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeremy Fuller
          List the contract number of any                               4300 11th Ave. NW
                government contract                                     Seattle, WA 98107




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.645.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeremy Heen
          List the contract number of any                               4502 139th AVE NW
                government contract                                     Alexander, ND 58831


2.646.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeremy Kisling
          List the contract number of any                               419 Meade Street
                government contract                                     Sheridan, WY 82807


2.647.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jeremy Vivrette
          List the contract number of any                               915 Hauser Blvd.
                government contract                                     Helena, MT 59601


2.648.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerrie Lynn Nelson
          List the contract number of any                               9340 S Frontage Rd
                government contract                                     Billngs, MT 59101


2.649.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Jerry Castona
                government contract




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.650.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerry Fullmer
          List the contract number of any                               PO Box 465
                government contract                                     Piedmont, SD 57769


2.651.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerry Nash
          List the contract number of any                               3820 Valley Dr
                government contract                                     Helena, MT 59602


2.652.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerry Reisig
          List the contract number of any                               422 N 17th Ave
                government contract                                     Bozeman, MT 59715


2.653.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerry Sorensen
          List the contract number of any                               3815 Kiki Street
                government contract                                     Helena, MT 59602


2.654.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jerry Wiederholt
          List the contract number of any                               576 Railroad Hwy
                government contract                                     Huntley, MT 59037




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.655.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jersey Architectural Door & Supply Co.
          List the contract number of any                               722 Adriatic Avenue
                government contract                                     Atlantic City, NJ 08401


2.656.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jess Conitz
          List the contract number of any                               1518 Longhorn Way
                government contract                                     Billings, MT 59105


2.657.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JESSE Davis
          List the contract number of any                               230 Cromwell Dixon Lane #F PMB 212
                government contract                                     Helena, MT 59601


2.658.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jetmore Construction
          List the contract number of any                               41 Spring Drive
                government contract                                     Roundup, MT 59032


2.659.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jewel Box Tiny Homes
          List the contract number of any                               264 El Rancho Road
                government contract                                     Kalispell, MT 59901




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.660.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jill Ritter
          List the contract number of any                               2631 Magenta Rd
                government contract                                     Bozeman, MT 59718


2.661.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Christensen
          List the contract number of any                               6409 Southern Bluffs Ln
                government contract                                     Billings, MT 59106


2.662.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Cotter
          List the contract number of any                               815 Fir Ave
                government contract                                     Laurel, MT 59044


2.663.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Derleth
          List the contract number of any                               4727 Stagecoach Trail Road
                government contract                                     Manhattan, MT 59741


2.664.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Griffith
          List the contract number of any                               6572 W Hammermill
                government contract                                     Garden City, ID 83714




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.665.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Holmes Construction
          List the contract number of any                               PO 161653
                government contract                                     Big Sky, MT 59716


2.666.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Howell
          List the contract number of any                               249 Little Porcupine Creek Road
                government contract                                     Forsyth, MT 59327


2.667.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Jim Kamminga
                government contract


2.668.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Maddox
          List the contract number of any                               272 Tom Miner Creek Rd
                government contract                                     Emigrant, MT 59027


2.669.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Moehsmer
          List the contract number of any                               233 Grove Creek Road
                government contract                                     Belfry, MT 59008




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.670.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Trueax
          List the contract number of any                               3 Twilight Dr
                government contract                                     Clancy, MT 59634


2.671.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jim Wilson
          List the contract number of any                               109 Navajo Trail
                government contract                                     Lucas, KY 42156


2.672.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jims Building Service INC
          List the contract number of any                               1284 RD 9
                government contract                                     Powell, WY 82435


2.673.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JL Hendersen
          List the contract number of any                               557 US Hwy 89
                government contract                                     Vaughn, MT 59487


2.674.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JMC Services
          List the contract number of any                               2745 Cherokee
                government contract                                     Casper, WY 82604




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.675.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JMS Properties
          List the contract number of any                               4101 Clint Rd
                government contract                                     Billings, MT 59105


2.676.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JNG INC.
          List the contract number of any                               345 Herman Gulch Road
                government contract                                     Butte, MT 59701


2.677.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jo Broadus
          List the contract number of any                               14 John Deer Lane
                government contract                                     Forsyth, MT 59327


2.678.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jobe Land And Livestock
          List the contract number of any                               PO Box 24
                government contract                                     Gallatin Gateway, MT 59730


2.679.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Bushilla
          List the contract number of any                               5360 Nesting Ospry Way
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.680.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Hanser
          List the contract number of any                               15 Whispering Pines Ln
                government contract                                     Mc Leod, MT 59052


2.681.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Harper
          List the contract number of any                               1573 Ln. 14
                government contract                                     Worland, WY 82401


2.682.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Law
          List the contract number of any                               PO Box 156
                government contract                                     Park City, MT 59063


2.683.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Mobley
          List the contract number of any                               252 Gohost Canyon Court
                government contract                                     Belgrade, MT 59714


2.684.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Mueller
          List the contract number of any                               3122 Sims Lane
                government contract                                     Stevensville, MT 59870




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.685.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Pluim
          List the contract number of any                               18898 Plum Industrial Ct.
                government contract                                     Sonora, CA 95370


2.686.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Robb Custom Homes
          List the contract number of any                               306 Peaksview Dr
                government contract                                     Bozeman, MT 59718-6645


2.687.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joe Sigdestad
          List the contract number of any                               904 Washington Street
                government contract                                     Lead, SD 57754


2.688.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joel Olson
          List the contract number of any                               130 butcher rd
                government contract                                     Osage, WY 52723


2.689.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joel Walburg
          List the contract number of any                               563 59th St.
                government contract                                     Oakland, CA 94609




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.690.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Amestoy
          List the contract number of any                               2321 Cannon St.
                government contract                                     Helena, MT 59601


2.691.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               John Betka
                government contract                                     Helena, MT 59601


2.692.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Brethauer
          List the contract number of any                               312 Ruhe Lane
                government contract                                     Box Elder, SD 57719


2.693.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Burrell
          List the contract number of any                               PO Box 364
                government contract                                     Spearfish, SD 57783


2.694.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Cathcart
          List the contract number of any                               855 Austin Rd.
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.695.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Christopher
          List the contract number of any                               24271 397th Avenue
                government contract                                     Letcher, SD 57359


2.696.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Donohue
          List the contract number of any                               89450 Ocean Dr.
                government contract                                     Warrenton, OR 97146


2.697.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Flatt
          List the contract number of any                               5545 York Rd.
                government contract                                     Helena, MT 59602


2.698.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Galiczewski
          List the contract number of any                               5516 Wildwood Drive
                government contract                                     Rapid City, SD 57702


2.699.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Holds
          List the contract number of any                               Box 417
                government contract                                     Crow Agenc, MT 59022




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.700.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Jackson
          List the contract number of any                               1108 8th Ave
                government contract                                     Belle Fourche, SD 57717


2.701.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               John Larson
                government contract                                     BILLINGS, MT 59103


2.702.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Milich
          List the contract number of any                               P.O. Box 314
                government contract                                     Bozeman, MT 59771


2.703.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Nelson Construction
          List the contract number of any                               PO 225
                government contract                                     Joliet, MT 59041


2.704.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               John Peasley
                government contract




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.705.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Rolph
          List the contract number of any                               PO Box 71
                government contract                                     East Helena, MT 59635


2.706.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Schmitt
          List the contract number of any                               201 Erickson St.
                government contract                                     Anaconda, MT 59711


2.707.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Shackelford
          List the contract number of any                               309 N. 5th Ave
                government contract                                     Forsyth, MT 59327


2.708.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Stilger
          List the contract number of any                               5835 Interstate Ave
                government contract                                     Billings, MT 59101


2.709.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John VanDelinder
          List the contract number of any                               711 Silverbow
                government contract                                     Belgrade, MT 59714




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.710.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Verzuh
          List the contract number of any                               14679 BRACKETT CREEK
                government contract                                     BOZEMAN, MT 59715


2.711.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        John Viviano
          List the contract number of any                               45 Denali Cabin Lane
                government contract                                     Roundup, MT 59072


2.712.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Johnson's Fine Carpentry
          List the contract number of any                               420 Pennsylvania Ave.
                government contract                                     Laurel, MT 59044


2.713.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joker Lebrun
          List the contract number of any                               66 Davis Lane
                government contract                                     COLUMBUS, MT 59019


2.714.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jolley Builders
          List the contract number of any                               1301 Walnut
                government contract                                     Helena, MT 59601




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.715.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jon Marshall
          List the contract number of any                               601 Toutle Park Rd
                government contract                                     Castle Rock, WA 98611


2.716.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jon Olsen
          List the contract number of any                               6780 Patterson Rd
                government contract                                     Bozeman, MT 59715


2.717.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jon Skiles
          List the contract number of any                               19 Rosebud Road
                government contract                                     Absarokee, MT 59001


2.718.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Jonathan Klein
                                                                        1 Jack Creek Rd
          List the contract number of any                               Ennis
                government contract                                     Ennis, MT 59729


2.719.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JoRae Miedtke
          List the contract number of any                               3350 Wylie Dr.
                government contract                                     Helena, MT 59602




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.720.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jordan Harder
          List the contract number of any                               4023 Cocolalla Loop
                government contract                                     Cocolalla, ID 83813


2.721.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jordan Spyke
          List the contract number of any                               3349 Trial Creek
                government contract                                     Bozeman, MT 59715


2.722.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jordan Young
          List the contract number of any                               4300 NE Lockwood Creek Rd.
                government contract                                     La Center, WA 98629


2.723.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jorge Filevich
          List the contract number of any                               2950 NW Imperial Terrace
                government contract                                     Portland, OR 97210


2.724.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jornada Roofing
          List the contract number of any                               1520 Pike St Suit #5
                government contract                                     Auburn, WA 98001




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.725.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jose Orozco
          List the contract number of any                               1117 North 19th # 5
                government contract                                     Billings, MT 59102


2.726.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joseph Bassett
          List the contract number of any                               876 Ln 38
                government contract                                     Burlington, WY 82411


2.727.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Joseph Sprinkle
                                                                        37 Shoot Not Ln
          List the contract number of any                               Sheridan
                government contract                                     Virginia City, MT 59755


2.728.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Josh Barker
                government contract                                     Ranchester, WY 82839


2.729.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Josh Giddings
          List the contract number of any                               750 Frank Road
                government contract                                     Belgrade, MT 59714




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.730.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Josh Martolglio
          List the contract number of any                               23 Sunburst Dr
                government contract                                     Cody, WY 82414


2.731.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Josh Wilson
          List the contract number of any                               PO Box 54
                government contract                                     Dayton, WY 82836


2.732.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Joshua Austill
          List the contract number of any                               1404 Greene St
                government contract                                     Helena, MT 59602


2.733.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Journey Construction
          List the contract number of any                               703 Nebula St
                government contract                                     Livingston, MT 59047


2.734.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JR Megee
          List the contract number of any                               610 S. Fork Rd
                government contract




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.735.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JRS Solutions
          List the contract number of any                               3425 Wildbunch Drive
                government contract                                     Belgrade, MT 59714


2.736.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Julie Michaels
          List the contract number of any                               PO BOX 121
                government contract                                     Burlington, WY 82411


2.737.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Julie Osborne
          List the contract number of any                               3673 Gladiator Circle
                government contract                                     Billings, MT 59102


2.738.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Jupe Construction
          List the contract number of any                               65 Runway
                government contract                                     Livingston, MT 59047


2.739.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Justin Hein
                government contract                                     Billings, MT 59101




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.740.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        JW General
          List the contract number of any                               46 Sportsman Park Rd
                government contract                                     Laurel, MT 59044


2.741.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K B Building & Supply(Sign & PO)
          List the contract number of any                               8258 Huffine Lane
                government contract                                     Bozeman, MT 59718


2.742.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K Bar
          List the contract number of any                               219 E. First St.
                government contract                                     Powell, WY 82435


2.743.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K C B Construction
          List the contract number of any                               22285 Frontage Road
                government contract                                     Belgrade, MT 59714-8550


2.744.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K G Ranch
          List the contract number of any                               110 K G Ranch Rd
                government contract                                     Three Forks, MT 59752




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.745.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KLM
          List the contract number of any                               PO Box 161108
                government contract                                     Big Sky, MT 59716-1108


2.746.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K T Construction
          List the contract number of any                               36 Yellowstone Bluffs Rd
                government contract                                     Park City, MT 59063


2.747.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K V Construction
          List the contract number of any                               PO Box 334
                government contract                                     Emigrant, MT 59027


2.748.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        K.P. Const.
          List the contract number of any                               513 Maple St.
                government contract                                     New Castle, WY 82701


2.749.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kal Schweitzer
          List the contract number of any                               504 Fieldstone Dr
                government contract                                     Bozeman, MT 59715




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.750.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Karen Siemion
          List the contract number of any                               97 Valley View Rd
                government contract                                     Reedpoint, MT 59069


2.751.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Karry Larmer
          List the contract number of any                               14500 Canyon creek Rd
                government contract                                     Molt, MT 59057


2.752.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KATE Knels
          List the contract number of any                               16061 33rd St NW
                government contract                                     Fairview, MT 59221


2.753.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kathleen Fischer
          List the contract number of any                               1100 Jackrabbit
                government contract                                     Bozeman, MT 59718


2.754.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kathy Malone
          List the contract number of any                               PO Box 146
                government contract                                     Townsend, MT 59644




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.755.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kathy Wilkinson
          List the contract number of any                               625 Pike crt
                government contract                                     Billings, MT 59106


2.756.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Katie Ugrin
          List the contract number of any                               301 Canary Lane
                government contract                                     Bozeman, MT 59715


2.757.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kaufmann Construction, INC
          List the contract number of any                               20 Cypress Ave
                government contract                                     Bozeman, MT 59715


2.758.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KCD Enterprise
          List the contract number of any                               PO Box 11113
                government contract                                     Bozeman, MT 59719


2.759.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keegan's Custom Homes
          List the contract number of any                               P.O. Box 6190
                government contract                                     Bozeman, MT 59771




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.760.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keever Construction
          List the contract number of any                               1050 Park Road
                government contract                                     Shepherd, MT 59079


2.761.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keith Herren
          List the contract number of any                               686 Oregon Ave
                government contract                                     Lovell, WY 82431


2.762.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keith Roofing
          List the contract number of any                               255 Cartwright Way
                government contract                                     Hamilton, MT 59840


2.763.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keith Wolcott
          List the contract number of any                               201 Jefferson St
                government contract                                     Helena, MT 59601


2.764.    State what the contract or        COMMERCIAL LEASE
          lease is for and the nature of    OF 6797 WILDCAT
          the debtor's interest             ROAD, EVANSVILLE,
                                            WY 82636
             State the term remaining
                                                                        KELBEC HOLDINGS, LLC
          List the contract number of any                               3350 NORTH FORK HIGHWAY
                government contract                                     CODY, WY 82414




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.765.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kelly Murphy
          List the contract number of any                               2336 Butch Cassidy
                government contract                                     Bozeman, MT 59718


2.766.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kelly Rodgers
          List the contract number of any                               PO Box 1561
                government contract                                     Newtown, ND 58763


2.767.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kelly Siler
          List the contract number of any                               PO Box 4722
                government contract                                     Helena, MT 59604


2.768.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken & Jason Craig
          List the contract number of any                               3355 Blue Creek Road
                government contract                                     Billings, MT 59102


2.769.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Ken Austill
                                                                        P.O. Box 162
          List the contract number of any                               108 3rd Ave
                government contract                                     Custer, MT 59024




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.770.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Booth
          List the contract number of any                               5060 Garnet Dr
                government contract                                     Helena, MT 59602


2.771.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Burger
          List the contract number of any                               1912 West Main Street
                government contract                                     Bozeman, MT 59718


2.772.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Carlson
          List the contract number of any                               5121 Thomas Katheran Road
                government contract                                     Billings, MT 59101


2.773.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Laidlaw
          List the contract number of any                               3081 Payne Rd
                government contract                                     Medford, OR 97504


2.774.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Miller
          List the contract number of any                               PO Box 87
                government contract                                     Milk River T0K1M0




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.775.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Ken Schandelmeier
                government contract                                     ALDER, MT 59710


2.776.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Vanderby
          List the contract number of any                               11336 Gravel Pit Road
                government contract                                     Manhattan, MT 59741


2.777.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Walters Construction
          List the contract number of any                               PO Box 10851
                government contract                                     Bozeman, MT 59719-0851


2.778.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken White
          List the contract number of any                               9460 Ponderosa Rd
                government contract                                     Three Forks, MT 59752


2.779.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Ken Wright
          List the contract number of any                               1922 Lane 15
                government contract                                     Powell, WY 82435




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.780.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kennell Radiant Heat
          List the contract number of any                               80 Gibson Rd.
                government contract                                     Joliet, MT 59041


2.781.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kenneth Lord
          List the contract number of any                               2180 Summit Dr.
                government contract                                     Escondido, CA 92025


2.782.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kenneth Osborn
          List the contract number of any                               11 Finn Gulch
                government contract                                     Jefferson City, MT 59638


2.783.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kenny Kesterson
          List the contract number of any                               6300 Jackrabbit Lane
                government contract                                     Belgrade, MT 59714


2.784.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kens Equipment-Use credit in system
          List the contract number of any                               62 Repair Rd
                government contract                                     Livingston, MT 59047




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.785.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kent Beer
          List the contract number of any                               1108 El Paso Dr
                government contract                                     Great Falls, MT 59404


2.786.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kerry Kimball
          List the contract number of any                               2200 shadow canyon rd
                government contract                                     Huntley, MT 59037


2.787.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kevin Corrigan
          List the contract number of any                               6700 Sypes Canyon Road
                government contract                                     Bozeman, MT 59715


2.788.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kevin Drolet
          List the contract number of any                               221 11th LN SW
                government contract                                     Fairfield, MT 59436


2.789.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kevin Hance
          List the contract number of any                               5367 Glacier Point Loop
                government contract                                     Helena, MT 59602




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.790.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Kevin Lindgren
                government contract                                     Helena, MT 59602


2.791.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Kevin Pechacek
                government contract


2.792.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kevin Pierson
          List the contract number of any                               317 31st Street South
                government contract                                     Great Falls, MT 59405


2.793.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Kevin Ralston
                                                                        26315 S FM 219 Carlton
          List the contract number of any                               TX 76436
                government contract                                     Littleton, CO 76436


2.794.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kevin Stoltzfus
          List the contract number of any                               2712 Dakota Lane
                government contract                                     Great Falls, MT 59404




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.795.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Keyne Kensinger
          List the contract number of any                               PO Box 1462
                government contract                                     Ennis, MT 59729


2.796.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kim Morrow
          List the contract number of any                               32 Gardner Park Drive
                government contract                                     Bozeman, MT 59715


2.797.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kirk Blee
          List the contract number of any                               841 Ave B
                government contract                                     Billings, MT 59102


2.798.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KIT Construction LLC
          List the contract number of any                               1633 Main Street Suite A Box 111
                government contract                                     Billings, MT 59105


2.799.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Klass, Chris
          List the contract number of any                               11535 K-Tel Drive
                government contract                                     Minnentonka, MN 55345




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.800.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Klingaman Construction
          List the contract number of any                               4226 Stone
                government contract                                     Billings, MT 59101


2.801.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Klondike Construction
          List the contract number of any                               50 Maverik Trail
                government contract                                     Buffalo, WY 82834


2.802.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Klonski Construction
          List the contract number of any                               PO Box 80466
                government contract                                     Billings, MT 59108


2.803.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Knees School District
          List the contract number of any                               438 2nd Ave
                government contract                                     Carter, MT 59420


2.804.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Koenig, Shawn & Shelly
          List the contract number of any                               160 Bull Run
                government contract                                     Belgrade, MT 59714




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.805.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KP Construction
          List the contract number of any                               513 Maple St.
                government contract                                     Newcastle, WY 82701


2.806.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Krewe Roofing and Construction
          List the contract number of any                               210 Stonefly Dr
                government contract                                     Bozeman, MT 59718


2.807.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kris Newstrom
          List the contract number of any                               PO Box 175
                government contract                                     Gallatin Gateway, MT 59730


2.808.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kristi Drake
          List the contract number of any                               2950 Walden Place
                government contract                                     Billings, MT 59102


2.809.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kristy Catlin
          List the contract number of any                               3729 Ben Hogan Ln
                government contract                                     Billings, MT 59106




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.810.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kugel Construction
          List the contract number of any                               1722 Bishop Road
                government contract                                     chehalis, WA 98532


2.811.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kurt Valiton
          List the contract number of any                               931 9th Ave
                government contract                                     Helena, MT 59601


2.812.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KW Construction (Ken Williams)
          List the contract number of any                               PO Box 18
                government contract                                     Gallatin Gateway, MT 59730


2.813.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kyle Johnson
          List the contract number of any                               42 Lower Prarie Dog Road
                government contract                                     Sheridan, WY 82801


2.814.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        KYLE Peck
          List the contract number of any                               240 Dogwood Drive
                government contract                                     Bozeman, MT 59718




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.815.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Kyle Stone
          List the contract number of any                               PO Box 693
                government contract                                     Ennis, MT 59729


2.816.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        L & D Concrete
          List the contract number of any                               1805 Lariat Lane
                government contract                                     Billings, MT 59105


2.817.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        L & H Customs
          List the contract number of any                               223 Alder Gulch Road
                government contract                                     Virginia City, MT 59755


2.818.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        LA Construction
          List the contract number of any                               1224 Road 15
                government contract                                     Powell, WY 82435


2.819.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lance Cleveland
          List the contract number of any                               21 Wilburn Lane
                government contract                                     Great Falls, MT 59404




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.820.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Lance Kelsey
                government contract                                     Encampment, WY 82325


2.821.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lance Perrett
          List the contract number of any                               14811 Glenwood Drive
                government contract                                     Summerset, SD 57769


2.822.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Landmark Construction & Development
          List the contract number of any                               266 US Highway 14A East
                government contract                                     Lovell, WY 82431


2.823.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Landon Nix
          List the contract number of any                               316 Filson Rd
                government contract                                     Winston, MT 59647


2.824.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lanzendorf Construction
          List the contract number of any                               1107 East Gallatin Ave
                government contract                                     Belgrade, MT 59714




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.825.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Larry Martin
          List the contract number of any                               482 Derby Drive
                government contract                                     Conrad, MT 59425


2.826.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Larry Pankratz
          List the contract number of any                               1203 Roan Wood Rd
                government contract                                     Opheim, MT 59250


2.827.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Larry Rau
          List the contract number of any                               199 Joy Rd
                government contract                                     Livermore, CO 80536


2.828.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Larry Richtmyer
          List the contract number of any                               9 South Fork Ray Creek
                government contract                                     Townsend, MT 59644


2.829.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Laura Mader
          List the contract number of any                               830 N Main St Suite 3
                government contract                                     Spearfish, SD 57783




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.830.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Laura Taylor
          List the contract number of any                               PO Box 132
                government contract                                     Ringling, MT 59642


2.831.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Laurin Kluver
          List the contract number of any                               Box 262
                government contract                                     Colstrip, MT


2.832.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lawerence, Willy
          List the contract number of any                               16300 S.120Th St.
                government contract                                     Bennet, NE 68317


2.833.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Lawrence Falls Down
                                                                        474 Falls Down Ln
          List the contract number of any                               P.O. Box 144
                government contract                                     Pryor, MT 59066


2.834.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Leather Stockings Timber Products, Inc.
          List the contract number of any                               359 Delware County Highway 11
                government contract                                     Oneonta, NY 13820




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.835.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Leclair Construction
          List the contract number of any                               2421 Highland BLVD
                government contract                                     Bozeman, MT 59715


2.836.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lee Burroughs
          List the contract number of any                               PO Box 27
                government contract                                     Lavina, MT 59046


2.837.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lee Davis
          List the contract number of any                               28 Fidler Creek Rd
                government contract                                     Fishtail, MT 59028


2.838.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lee Schmunk
          List the contract number of any                               19760 Hunter rd
                government contract                                     Spearfish, SD 57783


2.839.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lee Wilkerson
          List the contract number of any                               153 Alec Roy Rd
                government contract                                     Roundup, MT 59072




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.840.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Legg Construction
          List the contract number of any                               186 Lane 5
                government contract                                     Deaver, WY 82421


2.841.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lehner Construction
          List the contract number of any                               Box 4
                government contract                                     Absarokee, MT 59001


2.842.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Leonard Helms
          List the contract number of any                               1605 Dickie Road
                government contract                                     BILLINGS, MT 59101


2.843.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Leroy Cummins
                government contract


2.844.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Leroy Curren
          List the contract number of any                               275 Curren Road
                government contract                                     Aladdin, WY 82710




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.845.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Leslie Tobler
          List the contract number of any                               1625 Weldon Rd
                government contract                                     Billings, MT 59101


2.846.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lewis Blake
          List the contract number of any                               2415 Brook Hollow
                government contract                                     Billings, MT 59105


2.847.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lewis Construction - Ohio
          List the contract number of any                               8031 E. Market St.
                government contract                                     Warren, OH 44484


2.848.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Liberty Construction
          List the contract number of any                               181 Discovery Way
                government contract                                     Sagle, ID 83860


2.849.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Liberty Fence & Deck
          List the contract number of any                               669 Bluegrass Dr
                government contract




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.850.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Liberty Granite & Marble
          List the contract number of any                               PO Box 171
                government contract


2.851.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Linda Karst
          List the contract number of any                               1657 East I Rd
                government contract                                     Ballantine, MT 59006


2.852.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Lionso Leyva
                government contract


2.853.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lisa A Stemper
          List the contract number of any                               400 BOX ELDER RD W
                government contract                                     Box Elder, SD 57719


2.854.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lisa Beninati
          List the contract number of any                               51 Sumac Trail
                government contract                                     Elkland, MO 65644




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.855.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lisa Dalin
          List the contract number of any                               3361Rd 29
                government contract                                     Greybull, WY 82426


2.856.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lisa Dunning
          List the contract number of any                               4041 Trail Creek Road
                government contract                                     Bozeman, MT 59715


2.857.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Liz Walterman
          List the contract number of any                               305 S Canyon Drive 8D
                government contract                                     Rapid City, SD 57702


2.858.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lobo Construction
          List the contract number of any                               204 Durston Rd Ste A
                government contract                                     Bozeman, MT 59718


2.859.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lock Doctor
          List the contract number of any                               1270 Lockwood Rd #6
                government contract                                     Billings, MT 59101




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.860.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Loenbro LTI
          List the contract number of any                               2221 South Plaza Drive
                government contract                                     Rapid City, SD 57702


2.861.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Log Builders INC
          List the contract number of any                               266 Waterton Way
                government contract                                     Billings, MT 59102


2.862.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Logan Carpenter
          List the contract number of any                               PO Box 7496
                government contract                                     Helena, MT 59604


2.863.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lookhart, Brad
          List the contract number of any                               330 East Tobiano Trail
                government contract                                     Belgrade, MT 59714


2.864.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Loren Johnson
                government contract                                     Malta, MT 59538




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.865.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lori & Roger Young
          List the contract number of any                               3995 Lake Point Dr #24
                government contract                                     Helena, MT 59602


2.866.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lori Bitterman
          List the contract number of any                               990 Antelope Ridge Road
                government contract                                     Belgrade, MT 59714


2.867.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Lori Burbach
                government contract                                     Minot, ND 58701


2.868.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lori Whalen
          List the contract number of any                               268 Wilderness Way
                government contract                                     Friday Harbor, WA 98250


2.869.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lorin Byrd
          List the contract number of any                               6 Jack Farm Road
                government contract                                     Townsend, MT 59644




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.870.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Loudoun Valley Roofing Inc
          List the contract number of any                               37306 E. Richardson Lane
                government contract                                     Purcellville, VA 20132


2.871.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Louie Hieb
                government contract                                     Ekalaka, MT 59324


2.872.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Louis Bertolotto
          List the contract number of any                               505 E 8th St.
                government contract                                     Newell, SD 57760


2.873.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Louis Centa
          List the contract number of any                               PO Box 11047
                government contract                                     Bozeman, MT 59719-1047


2.874.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Love Construction Inc.
          List the contract number of any                               PO Box 811
                government contract                                     Manhattan, MT 59741




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.875.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lovell Building Center
          List the contract number of any                               143 East Main Street
                government contract                                     Lovell, WY 82431


2.876.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Luke Downing
          List the contract number of any                               3362 Tizer Dr
                government contract                                     Helena, MT 59602


2.877.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Luke Hemphill
          List the contract number of any                               341 North Broadway
                government contract                                     Hines, OR 97738


2.878.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lumber Jack Log Homes
          List the contract number of any                               43 Sage Meadow Circle
                government contract                                     Whitehall, MT 59759


2.879.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Luminous Construction LLC
          List the contract number of any                               PO Box 3042
                government contract                                     custer, SD 57730




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.880.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Luna Design & Construction
          List the contract number of any                               3241 Laurel Rd
                government contract                                     Longview, WA 98632


2.881.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lyle Hunt
          List the contract number of any                               610 W Grove St
                government contract                                     Glenrock, WY 82637


2.882.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Lyndon Kauffman
          List the contract number of any                               2272 US HWY 89
                government contract                                     Fairfield, MT 59436


2.883.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        M & K Construction
          List the contract number of any                               1329 Lewis
                government contract                                     Helena, MT 59601


2.884.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        M Bar M Properties Inc
          List the contract number of any                               2521 Enterprise #1
                government contract                                     Billings, MT 59102




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.885.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        M.S.R Properties
          List the contract number of any                               PO Box 1488
                government contract                                     Lewiston, ID 83501


2.886.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        M2 Construction
          List the contract number of any                               35 Avalanche Road
                government contract                                     Sandpoint, ID 83864


2.887.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Magic City Motors
          List the contract number of any                               1501 1St Ave N
                government contract                                     Billings, MT 59101


2.888.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Majestic Custom Homes-FAC-HOLD
          List the contract number of any                               5295 Foster Ln
                government contract                                     Belgrade, MT 59714-8651


2.889.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Major Builders
          List the contract number of any                               514 MENOHER BOULEVARD
                government contract                                     JOHNSTOWN, PA 15901




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.890.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Maki, Steve
                government contract                                     Belt, MT 59412


2.891.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Malcolm Price
          List the contract number of any                               22821 Elm Springs Rd.
                government contract                                     Wasta, SD 57791


2.892.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mandeville Construction
          List the contract number of any                               1127 Mandeville Lane
                government contract                                     Bozeman, MT 59715


2.893.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Manny Mason
          List the contract number of any                               3325 Wisconsin Ave
                government contract                                     Rapid City, SD 57701


2.894.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Manuel Construction Services
          List the contract number of any                               845 Robles Road
                government contract                                     Oracle, AZ 85623




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.895.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marcus Whisler
          List the contract number of any                               7122 Helfrick Rd
                government contract                                     BILLINGS, MT 59101


2.896.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marin Development Company, LLC
          List the contract number of any                               16405 Northcross Drive - Suite G-1
                government contract                                     Huntersville, NC 28078


2.897.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Mario Oblak
                government contract                                     Bainbridge Island, WA 98110


2.898.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark And Terry Lerum
          List the contract number of any                               4213 Paso Fino Lane
                government contract                                     Helena, MT 59602


2.899.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Bunch
          List the contract number of any                               213 South Maggelssen Road
                government contract                                     Laurel, MT




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.900.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Duffy
          List the contract number of any                               PO Box 7300
                government contract                                     Bozeman, MT 59771-7300


2.901.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Foster
          List the contract number of any                               160 Sky View Dr
                government contract                                     Belgrade, MT 59714


2.902.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Langehough
          List the contract number of any                               PO Box 1127
                government contract                                     Manhatten, MT 59741


2.903.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Mathews
          List the contract number of any                               PO Box 1062
                government contract                                     Belgrade, MT 59714


2.904.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark McKenna
          List the contract number of any                               1427 Lane 14
                government contract                                     Powell, WY 82435




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.905.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Mark Monroe
                government contract                                      MT


2.906.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Moushegian
          List the contract number of any                               3953 9th Ave.
                government contract                                     San Diego, CA 92103


2.907.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Person
          List the contract number of any                               333 Stuckey Road
                government contract                                     Great Falls, MT 59404


2.908.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Mark Prince
                government contract                                     Belgrade, MT 59714


2.909.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Rehder
          List the contract number of any                               315 South 8th Street
                government contract                                     Livingston, MT 59047




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.910.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Rosebush
          List the contract number of any                               339 Main st
                government contract                                     Roundup, MT 59072


2.911.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Rothwell
          List the contract number of any                               1117 7th Street South Suite 1
                government contract                                     Great Falls, MT 59405


2.912.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Sargent
          List the contract number of any                               PO Box 3
                government contract                                     Forsyth, MT 59327


2.913.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Schnoor
          List the contract number of any                               412 Clark St
                government contract                                     Rapid City, SD 57701


2.914.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Schultz
          List the contract number of any                               11 Teton Ave
                government contract                                     Bozeman, MT 59718




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.915.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Severson
          List the contract number of any                               305 37th Street North
                government contract                                     Great Falls, MT 59401


2.916.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Sigler
          List the contract number of any                               125 W. Douglas
                government contract                                     Oneill, NE 68763


2.917.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Sonderby
          List the contract number of any                               8 Fry Drive
                government contract                                     Sheridan, MT 82801


2.918.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mark Welch
          List the contract number of any                               PO Box 206
                government contract                                     Columbia Falls, MT 59912


2.919.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marla Sebade
          List the contract number of any                               2732 West St. Patrick Street
                government contract                                     Rapid City, SD 57702




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.920.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marlin Maynard
          List the contract number of any                               875 Main Street
                government contract                                     Deadwood, SD 57732


2.921.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Marlon Shortman
                government contract                                     Shephard, MT 59079


2.922.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marstaeller Construction
          List the contract number of any                               915 Bobcat Drive
                government contract                                     Laurel, MT 59044


2.923.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Martin Dejong
          List the contract number of any                               1306 O-Shannon Drive
                government contract                                     Gillette, WY 82716


2.924.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Martin Johnson
          List the contract number of any                               602 Bond St
                government contract                                     Bozeman, MT 59715




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.925.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marty Hiatt
          List the contract number of any                               312 8th Street S
                government contract                                     Great Falls, MT 59405


2.926.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marty Miller
          List the contract number of any                               64 Doc Bar Drive
                government contract                                     Cody, WY 82414


2.927.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Marty Norman
          List the contract number of any                               26133 Link Road
                government contract                                     Fort Pierre, SD 57532


2.928.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mary Goodell
          List the contract number of any                               123 1st St NE
                government contract                                     Dutton, MT 59433


2.929.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mary Manson
          List the contract number of any                               387 Horsethief Road
                government contract                                     Roundup, MT 59072




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.930.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mascari, Sam
          List the contract number of any                               45 Tumbleweed Trail
                government contract                                     Livingston, MT 59047


2.931.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mason Properties
          List the contract number of any                               PO Box 2244
                government contract                                     East Helena, MT 59635


2.932.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mason Riddle
          List the contract number of any                               5430 Chief Grey Wolf Trl.
                government contract                                     Laurel, MT 59044


2.933.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Masterworks Construction, Inc
          List the contract number of any                               PO Box 40
                government contract                                     Emigrant, MT 59027-0040


2.934.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Matt Cooper Construction-FAC
          List the contract number of any                               PO Box 11026
                government contract                                     Bozeman, MT 59719-1026




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.935.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Matt Russell
          List the contract number of any                               312 Owings Creek
                government contract                                     Hamilton, MT 59835


2.936.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Matt Smith
          List the contract number of any                               2016 Driftwood River Dr
                government contract                                     Laurel, MT 59044


2.937.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MATT STASH
          List the contract number of any                               516 N WALLACE
                government contract                                     Bozeman, MT 59715


2.938.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Matt Tomich
          List the contract number of any                               2946 Melrose Road
                government contract                                     Helena, MT 59602


2.939.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Matt Welch
          List the contract number of any                               511 8th Ave.
                government contract                                     Laurel, MT 59044




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.940.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Maurer Construction Inc.
          List the contract number of any                               2621 Connery way
                government contract                                     Missoula, MT 59808


2.941.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Max Wright
          List the contract number of any                               1194 Chalk Rd
                government contract                                     Powell, WY 82435


2.942.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MB Customs
          List the contract number of any                               44 Mt Vista Drive
                government contract                                     Roberts, MT 59070


2.943.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mccollam Service & Construction
          List the contract number of any                               PO Box 277
                government contract                                     Byron, WY 82412


2.944.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mccune, Jeremy
          List the contract number of any                               1914 Mary St
                government contract                                     Billings, MT 59105




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.945.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        McLane Construction - FAC
          List the contract number of any                               309 N. Bozeman Ave.
                government contract                                     Bozeman, MT 59715-3661


2.946.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        McM Home Improvement, Inc.
          List the contract number of any                               2201 Yellowstone Avenue
                government contract                                     Billings, MT


2.947.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        McManus Equipment and Service Company
          List the contract number of any                               6203 W Yellowstone Hwy
                government contract                                     casper, WY 82601


2.948.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MDM Enterprises
          List the contract number of any                               15367 Van Sky Road
                government contract                                     Broadview, MT


2.949.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Meadow Green Sales
          List the contract number of any                               1411 South 32nd Street West
                government contract                                     Billings, MT 59102




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.950.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Melissa Cronin
          List the contract number of any                               P.O. Box 1855
                government contract                                     Bozeman, MT 59714


2.951.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Melissa Demers
          List the contract number of any                               355 Wilkinson
                government contract                                     Helena, MT 59632


2.952.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Melissa Summerfield
          List the contract number of any                               4525 Draft Horse Drive
                government contract                                     Bozeman, MT 59718


2.953.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Melvin Pritzkau
          List the contract number of any                               2517 Hwy 24
                government contract                                     Alva, WY 82711


2.954.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               MGM Enterprises
                government contract




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.955.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Micah Cryder
          List the contract number of any                               1320 Crawford Drive
                government contract                                     Billings, MT


2.956.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael & Sammye Pisani
          List the contract number of any                               68 Elk View Rd
                government contract                                     Mc Allister, MT 59740


2.957.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Arnold
          List the contract number of any                               Box 1322
                government contract                                     Fort Benton, MT 59442


2.958.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Babb
          List the contract number of any                               2701 Ivy Drive
                government contract                                     Great Falls, MT 59404


2.959.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Barrie
          List the contract number of any                               10957 Minnesla Road
                government contract                                     Belle Fourche, SD 57717




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.960.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Beck
          List the contract number of any                               5010 Raliegh Way
                government contract                                     Carmichael, CA 95608


2.961.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Bocskovits
          List the contract number of any                               1521 Crenshaw Rd
                government contract                                     Knoxville, TN 37920


2.962.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Kunz
          List the contract number of any                               269 Rising Sun Rd
                government contract                                     Cameron, MT 59720


2.963.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Trabbic
          List the contract number of any                               PO BOX 432
                government contract                                     Fremont, OH 43420


2.964.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Wadsworth
          List the contract number of any                               10541 West Avenida Del Sol
                government contract                                     Mt Pleasant, AZ 85383




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.965.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Michael Wehrman
          List the contract number of any                               4737 Hoskins Rd
                government contract                                     Billings, MT 59105


2.966.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mick & Lannette Gainan
          List the contract number of any                               2514 Blue Ct
                government contract                                     Billings, MT 59106


2.967.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mickey Case
          List the contract number of any                               61 Louis Lamour Ln
                government contract                                     Powell, WY 82435


2.968.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Midway Construction & Dirt Works
          List the contract number of any                               1775 Hwy 310
                government contract                                     Lovell, WY 82431


2.969.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Arnst
          List the contract number of any                               3955 Kai Ct
                government contract                                     Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.970.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining

          List the contract number of any                               Mike Dudash
                government contract                                     Rapid City, SD 57701


2.971.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike DuFresne
          List the contract number of any                               5632 Phantom Creek Ave
                government contract                                     Billings, MT 59106


2.972.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Glunt
          List the contract number of any                               278 PASO LANE
                government contract                                     STEVENSVILLE, MT 59870


2.973.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Holliday
          List the contract number of any                               1420 Buffalo Trail
                government contract                                     Molt, MT


2.974.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Jeffers
          List the contract number of any                               7616 Stonewood Ct.
                government contract                                     Granite Bay, CA 95746




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.975.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining                                   Mike Jones
                                                                        4626 Shadowglenn Drive
          List the contract number of any                               Unit B
                government contract                                     Bozeman, MT 59718


2.976.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Kautz
          List the contract number of any                               PO Box 908
                government contract                                     Bozeman, MT 59771


2.977.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike King
          List the contract number of any                               P.O. BOX 160567
                government contract                                     BIG SKY, MT 59716


2.978.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Koski
          List the contract number of any                               4377 HWY 78
                government contract                                     Columbus, MT 59019


2.979.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Lantz
          List the contract number of any                               1060 Donegal
                government contract                                     Casper, WY 82609




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.980.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Murphy Roofing
          List the contract number of any                               1900 Cherry Drive
                government contract                                     Great Falls, MT 59404


2.981.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Peterson
          List the contract number of any                               219 Beaver Dr
                government contract                                     Townsend, MT 59644


2.982.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Reynolds
          List the contract number of any                               22 Yerger Rd
                government contract                                     Absarokee, MT 59001


2.983.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Roach
          List the contract number of any                               5539 York Road
                government contract                                     Helena, MT 59602


2.984.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Schmidthuber
          List the contract number of any                               P.O. Box 484
                government contract                                     Boulder, MT 59632




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.985.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Songer
          List the contract number of any                               1302 Green Street
                government contract                                     Helena, MT 59602


2.986.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Taylor
          List the contract number of any                               16 Penstemon Lane
                government contract                                     Park City, MT 59063


2.987.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mike Widdicombe
          List the contract number of any                               2424 1st Ave South
                government contract                                     Billings, MT 59101


2.988.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Miles Hupka
          List the contract number of any                               1767 North 2nd Road
                government contract                                     Huntley, MT 59037


2.989.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Milesnick Welding, Inc.
          List the contract number of any                               149 Briar Place
                government contract                                     BELGRADE, MT 59714




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.990.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Milnes Companies
          List the contract number of any                               1831 State Route 848
                government contract                                     Tunkhannock, PA 18657


2.991.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mineral Palace Hotel & Gaming
          List the contract number of any                               601 Main Street
                government contract                                     Deadwood, SD 57783


2.992.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mirror Image, Inc.
          List the contract number of any                               2743 Sheepshank Dr.
                government contract                                     Belgrade, MT 59714


2.993.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mission Electric
          List the contract number of any                               2626 9th Avenue North
                government contract                                     Great Falls, MT 59401


2.994.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Missouri River Contractors
          List the contract number of any                               1500 Blaine
                government contract                                     Helena, MT 59601




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.995.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MK Archistructure, Inc
          List the contract number of any                               13520 California St
                government contract                                     Valley, NE


2.996.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MK Roofing
          List the contract number of any                               1808 5th Street NW
                government contract                                     Great Falls, MT 59404


2.997.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        MLS Construction
          List the contract number of any                               25 Vista Drive
                government contract                                     Billings, MT 59102


2.998.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Moab Construction
          List the contract number of any                               PO Box 633
                government contract                                     Moab, UT 84532


2.999.    State what the contract or        CUSTOMER SALE
          lease is for and the nature of    ORDER
          the debtor's interest

             State the term remaining
                                                                        Mobile Concrete
          List the contract number of any                               606 Wyoming Blvd SW
                government contract                                     Mills, WY 82644




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1000. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mona Phillips
          List the contract number of any                              3861 Hwy 87
                government contract                                    Banner, WY 82832


2.1001. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Monja Griffin
          List the contract number of any                              110 N. 3rd
                government contract                                    Bridger, MT 59014


2.1002. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mono Slab EZ Form
          List the contract number of any                              P.O. Box 371
                government contract                                    Island Park, ID 83429


2.1003. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana Boiler Service
          List the contract number of any                              PO BOX 50429
                government contract                                    Billings, MT 59102


2.1004. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana Construction Works
          List the contract number of any                              410 W Curtiss St
                government contract                                    Bozeman, MT 59715-4535




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1005. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana Levis Home Improvements
          List the contract number of any                              707 Hilldale
                government contract                                    Helena, MT 59601


2.1006. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana Propane
          List the contract number of any                              3440 Centenial
                government contract                                    Helena, MT 59601


2.1007. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana State University
          List the contract number of any                              1500 University Dr.
                government contract                                    Billings, MT 59101


2.1008. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana State University Campus Stores
          List the contract number of any                              125 Strand Union Building
                government contract                                    Bozeman, MT 59715


2.1009. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Montana Whitewater
          List the contract number of any                              Box 1552
                government contract                                    Bozeman, MT 59771




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1010. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Monte Russell
                government contract                                    Billings, MT 59101


2.1011. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Moon Construction
          List the contract number of any                              PO Box 1217
                government contract                                    LAUREL, MT 59044


2.1012. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Morgan Builders, LLC
          List the contract number of any                              PO Box 11815
                government contract                                    Bozeman, MT 59719


2.1013. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Morrison Custom Welding
          List the contract number of any                              1435 S Honeytown Rd
                government contract                                    Wooster, OH 44691-8914


2.1014. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mountain Air Systems
          List the contract number of any                              6110 East Shadow Dr
                government contract                                    Bozeman, MT 59715




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1015. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mountain Dove Construction, Co
          List the contract number of any                              10997 W Thompson rd
                government contract                                    Coeur D Alene, ID 83814


2.1016. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Mountain Lawn & Homes
                government contract                                    Livingston, MT 59047


2.1017. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mountain Valley
          List the contract number of any                              56 Williams Road East
                government contract                                    Gallatin Gateway, MT 59730


2.1018. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Mountain View Painting
          List the contract number of any                              13250 Canyon Creek Road
                government contract                                    Molt, MT 59057


2.1019. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       MountainWest Dairy Services
          List the contract number of any                              6820 Camp Creek RD
                government contract                                    Manhattan, MT 59741




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1020. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  MSN & Associates, LLC
                                                                       19 Green River Drive
          List the contract number of any                              PO Box 1713
                government contract                                    Dubois, WY 82513


2.1021. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Murphy Landscaping
          List the contract number of any                              10 Figgins Circle
                government contract                                    Laurel, MT 59044


2.1022. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       MYG Inc.
          List the contract number of any                              1 Jackson Creek RD
                government contract                                    Clancy, MT 59634


2.1023. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Naert Construction, Inc-FAC
          List the contract number of any                              PO Box 269
                government contract                                    Gallatin Gateway, MT 59730-0269


2.1024. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nancy Nehs
          List the contract number of any                              505 Westwood Circle
                government contract                                    Belgrade, MT 59714




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1025. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nancy Petersen
          List the contract number of any                              744 Yellowstone Ave
                government contract                                    Billings, MT 59101


2.1026. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nancy Sims
          List the contract number of any                              127 Little Rock Road
                government contract                                    Powell, WY 82435


2.1027. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nasi Construction LLC
          List the contract number of any                              700 Granite Street
                government contract                                    Hurley, WI 54534


2.1028. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nate Halubka
          List the contract number of any                              1060 Forestvale
                government contract                                    Helena, MT 59602


2.1029. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nathan Broadbent
          List the contract number of any                              3765 sales road
                government contract                                    Belgrade, MT 59714




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1030. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nathan Shepard
          List the contract number of any                              4365 Duck Creek Rd
                government contract                                    Billings, MT 59101


2.1031. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Natures Creations
          List the contract number of any                              14794 139th Pl
                government contract                                    Piedmont, SD 57769-5015


2.1032. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Neal Fisher
                government contract                                    Shepard, MT 59079


2.1033. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ned Johnerson
          List the contract number of any                              4118 Palisades Park Dr
                government contract                                    Billings, MT 59106


2.1034. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       NEST DESIGN
          List the contract number of any                              510 9TH SUITE 206
                government contract                                    Rapid City, SD 57701




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1035. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Newhall Studios
          List the contract number of any                              410 South 6th
                government contract                                    Livingston, MT 59047


2.1036. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Newman Restoration and Cleaning
          List the contract number of any                              2450 Coonie Court
                government contract                                    Billings, MT 59106


2.1037. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nick Bright
          List the contract number of any                              1289 Rimini Rd
                government contract                                    Helena, MT 59601


2.1038. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nick Pancheau
          List the contract number of any                              2424 Sunrise Ave
                government contract                                    Billings, MT 59101


2.1039. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nick Pipinich
          List the contract number of any                              7285 Belmont Drive
                government contract                                    Marysville, MT 59640




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1040. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nickol, Kristian
          List the contract number of any                              1519 Mustang Valley Drive
                government contract                                    Billings, MT 59105


2.1041. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Noah Bollom
          List the contract number of any                              28 Sunrise Road
                government contract                                    Cody, WY 82414


2.1042. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Noise Water Group
          List the contract number of any                              404 West Olive
                government contract                                    Bozeman, MT 59715


2.1043. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nolan Conway
          List the contract number of any                              102 Loring Road
                government contract                                    Cut Bank, MT 59427


2.1044. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nona Waddington
          List the contract number of any                              133 Sayle Rd
                government contract                                    Otter, MT 59062




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1045. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Nordesign
          List the contract number of any                              321 S 8TH Ave
                government contract                                    Bozeman, MT 59715-4464


2.1046. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Norsemen Construction
          List the contract number of any                              512 West Front Ave
                government contract                                    Joliet, MT 59041


2.1047. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       North Country Construction
          List the contract number of any                              7 Grandview Loop
                government contract                                    Townsend, MT 59644


2.1048. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Northern Cheyenne Tribal Housing
          List the contract number of any                              P.O.Box 327
                government contract                                    Lame Deer, MT 59043


2.1049. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Northern Lights Roofing
          List the contract number of any                              1015 5Th Street
                government contract                                    Havre, MT 59501




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1050. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Northern Lites Co.
          List the contract number of any                              28878 124th St
                government contract                                    Mobridge, SD 57601


2.1051. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Northern States Construction
          List the contract number of any                              517 Roundhouse Rd
                government contract                                    Laurel, MT 59044


2.1052. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       NW Landmark LLC
          List the contract number of any                              2506 N. East 1 44th Ave.
                government contract                                    Portland, OR 97230


2.1053. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Old Elk Ranch
          List the contract number of any                              200 Table Mountain rd
                government contract                                    Tie Siding, WY 82084


2.1054. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       On the River Construction
          List the contract number of any                              PO BOX 353
                government contract                                    Clayton, NY 13624




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                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1055. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ondrus, Patrick
          List the contract number of any                              PO Box 480
                government contract                                    Gardiner, MT 59030-0480


2.1056. State what the contract or          ACCOUNTING
        lease is for and the nature of      SOFTWARE AND ERP
        the debtor's interest

             State the term remaining
                                                                       ORACLE NETSUITE
          List the contract number of any                              500 ORACLE PARKWAY
                government contract                                    REDWOOD SHORES, CA 94065


2.1057. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Otto Banks
          List the contract number of any                              10002 Victoria Pl.
                government contract                                    Jamestown, CA 95327


2.1058. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Over the Top Roofing
          List the contract number of any                              PO Box 4586
                government contract                                    Butte, MT 59702


2.1059. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Overlease Construction
          List the contract number of any                              PO Box 11296
                government contract                                    Bozeman, MT 59719




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1060. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       P R G Group, LLC
          List the contract number of any                              PO Box 161427
                government contract                                    Big Sky, MT 59716


2.1061. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Pam Gabel
                government contract                                    HUNTLEY, MT 59037


2.1062. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pam Halliday
          List the contract number of any                              220 Falls Rd
                government contract                                    Pasco, WA 99301


2.1063. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pam Thatcher
          List the contract number of any                              491 Cemetary Rd
                government contract                                    Park City, MT 59063


2.1064. State what the contract or          SUBLEASE
        lease is for and the nature of      AGREEMENT OF 605 E.
        the debtor's interest               WILLOW STREET,
                                            SIOUX FALLS, SD
                                            57005
             State the term remaining                                  PARADIGM LUMBER, LLC
                                                                       2401 WEST TREVI
          List the contract number of any                              SUITE 200
                government contract                                    SIOUX FALLS, SD 57708




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1065. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pat Kneedler
          List the contract number of any                              34 Old Alhambra Rd
                government contract                                    Clancy, MT 59634


2.1066. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pat Krogstad
          List the contract number of any                              8098 Gouch Hill Road
                government contract                                    Bozeman, MT 59718


2.1067. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Patrick Bishop
                government contract                                    Bozeman, MT 59718


2.1068. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Patrick Calkin
          List the contract number of any                              101 Diamond Basin Road
                government contract                                    Cody, WY 82414


2.1069. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Patrick Griffiths
          List the contract number of any                              1244 NW Albany Ave
                government contract                                    Bend, OR 97703




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1070. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Patrick Johnson
          List the contract number of any                              1271 Sawbuck Pl.
                government contract                                    Helena, MT 59602


2.1071. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Patrick Kleffner
          List the contract number of any                              204 Riverview Drive East
                government contract                                    Great Falls, MT 59404


2.1072. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Patrick Zweifel
          List the contract number of any                              9455 Kilchis River Road
                government contract                                    Tillamook, OR 97141


2.1073. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       PAUL Armstrong
          List the contract number of any                              285 Lost Trail Rd
                government contract                                    Townsend, MT 59644


2.1074. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Baumann
          List the contract number of any                              1129 Hunter Road
                government contract                                    Helena, MT 59602




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1075. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Beavers
          List the contract number of any                              926 Comanche Ridge
                government contract                                    Round Mountain, TX 78663


2.1076. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Brown
          List the contract number of any                              378 Wagner Ln
                government contract                                    Kalispell, MT 59901


2.1077. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Brown
          List the contract number of any                              224 Clark Ave
                government contract                                    Billings, MT 59101


2.1078. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Goold
          List the contract number of any                              120 West Magnolia
                government contract                                    Belgrade, MT 59714


2.1079. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Hansen Construction
          List the contract number of any                              26 Big Sky Road
                government contract                                    Cody, WY 82414




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1080. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Hinderager
          List the contract number of any                              31 14th Lane NE
                government contract                                    Fairfield, MT 59487


2.1081. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Paul Montoya
                government contract


2.1082. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Paul Wagner
          List the contract number of any                              300 Morgan Creek Ln
                government contract                                    Bozeman, MT 59718


2.1083. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Peak 15
          List the contract number of any                              PO Box 10502
                government contract                                    Bozeman, MT 59719


2.1084. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Peakline Construction Ltd.
          List the contract number of any                              117 Grotto Terrace
                government contract                                    Canmore, AB T1W 1H1




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1085. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Peakview Roofing
          List the contract number of any                              2260 Waynoka Road
                government contract                                    Colorado Springs, CO 80915


2.1086. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Peregrine Partnership LLC
          List the contract number of any                              PO Box 2448
                government contract                                    Cody, WY 82414


2.1087. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Perfect 10 Roofing
          List the contract number of any                              224 S 24TH St
                government contract                                    Billings, MT 59101-4321


2.1088. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Perreault Chiropractic & Acupuncture
          List the contract number of any                              991 470th Street
                government contract                                    Stanchfield, MN 55080


2.1089. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Perry Wegner
          List the contract number of any                              520 West King St
                government contract                                    Spearfish, SD 57783




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1090. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Pete Pleban
                                                                       P.O. Box 83
          List the contract number of any                              1 Streamside Drive
                government contract                                    Wapiti, WY 82450


2.1091. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Peter Mark
          List the contract number of any                              #5 5th Ave SE
                government contract                                    Cut Bank, MT 59427


2.1092. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Petra Construction
          List the contract number of any                              607 Golden West Drive
                government contract                                    Belgrade, MT 59714


2.1093. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pfeiffer Ranch
          List the contract number of any                              461 Fisher Cr. Rd.
                government contract                                    Musselshell, MT 59059


2.1094. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Phil Hageman
          List the contract number of any                              607 8th Avenue
                government contract                                    Laurel, MT 59044




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1095. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Phil Hammond
          List the contract number of any                              20 Penstemon Ln
                government contract                                    Park City, MT 59063


2.1096. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Philip Anderson
          List the contract number of any                              PO Box 277
                government contract                                    Lincoln, MT 59639


2.1097. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Phipps Construction
                                                                       Box 334
          List the contract number of any                              702 Leavitt Ave
                government contract                                    Jordan, MT 59337


2.1098. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pierce Builders of Montana
          List the contract number of any                              1424 Dodge Avenue
                government contract                                    Helena, MT 59601


2.1099. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pinke Lumber
          List the contract number of any                              1841 Hancock Dr
                government contract                                    Wishek, ND 58495




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1100. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Piragis Northwoods Co, Inc
          List the contract number of any                              105 N Central Ave
                government contract                                    ELY, MN 55731


2.1101. State what the contract or          POSTAGE MACHINE
        lease is for and the nature of
        the debtor's interest

             State the term remaining
                                                                       PITNEY BOWES
          List the contract number of any                              3001 Summer Street
                government contract                                    Stamford, CT 06831


2.1102. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Plan LLC
          List the contract number of any                              1502 Beck Ave
                government contract                                    Cody, MT 82414


2.1103. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Plant Services Inc.
          List the contract number of any                              2122 North 9th Road
                government contract                                    Worden, MT


2.1104. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pope Construction, Inc. FAC
          List the contract number of any                              P.O. Box 536
                government contract                                    Mills, WY 82644




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1105. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Post Frame Specialists
          List the contract number of any                              4900 Laurel Road
                government contract                                    Billings, MT 59101


2.1106. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Prairie Wolf Construction
          List the contract number of any                              828 Red Top Ln
                government contract                                    Helena 59602


2.1107. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pratt Enterprises Inc
          List the contract number of any                              58 Bell Rd
                government contract                                    Roberts, MT 59070


2.1108. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Precision Roofing & Construction-FAC
          List the contract number of any                              PO Box 2292
                government contract                                    Livingston, MT 59047


2.1109. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Presidential Hospitality
          List the contract number of any                              PO Box 649
                government contract                                    Keystone, SD 57751




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1110. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pride Builders
          List the contract number of any                              75 Spring Valley Dr
                government contract                                    Lander, WY 82520


2.1111. State what the contract or          LIFE INSURANCE
        lease is for and the nature of
        the debtor's interest

             State the term remaining
                                                                       PRINCIPAL LIFE GROUP
          List the contract number of any                              P.O. BOX 77202
                government contract                                    MINNEAPOLIS, MN 55480-7200


2.1112. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Property Services Plus
          List the contract number of any                              5180 Jackrabbit Lane
                government contract                                    Belgrade, MT 57914


2.1113. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Providence Roofing
          List the contract number of any                              P.O. Box 1529
                government contract                                    Rapid City, SD 57709


2.1114. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pryor Creek Cuisine
          List the contract number of any                              7420 US Hwy 87 East
                government contract                                    Pryor, MT 59101




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1115. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Pukall Lumber Company
          List the contract number of any                              10894 Highway 70 E
                government contract                                    Arbor Vitae, WI 54568-9705


2.1116. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Q Blair
          List the contract number of any                              1701 Sheridan Ave
                government contract                                    Cody, WY 82414


2.1117. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Quality Construction Of Helena
          List the contract number of any                              108 Sawmill Rd.
                government contract                                    Clancy, MT 59634


2.1118. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Quanah Magpie
          List the contract number of any                              PO 211
                government contract                                    Lame Deer, MT 59043


2.1119. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Queen City Home Builders
          List the contract number of any                              PO Box 1907
                government contract                                    East Helena, MT 59635




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1120. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       R & B Builders -FAC
          List the contract number of any                              840 Hwy 89 North
                government contract                                    Livingston, MT 59047


2.1121. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              R&G Services
                government contract                                    Newcastle, WY 82701


2.1122. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       R&R Roofing
          List the contract number of any                              2922 1/2 Upper Highwood Dr
                government contract                                    Billings, MT 59102


2.1123. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rad Roofing Inc.
          List the contract number of any                              1608 S. Chesnut
                government contract                                    Casper, WY 82601


2.1124. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ralph Dixon
          List the contract number of any                              113 Meadowlark Trail
                government contract                                    Jefferson City, MT 59638




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1125. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ramey Construction
          List the contract number of any                              5930 North Freya
                government contract                                    Spokane, WA 99217


2.1126. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Randall Reeve
          List the contract number of any                              248 2nd. Ave. SE
                government contract                                    Dutton, MT 59433


2.1127. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Randy Mostad
          List the contract number of any                              5801 Ironwood Dr
                government contract                                    Billings, MT 59106


2.1128. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Randy Reece
          List the contract number of any                              1612 S. Thurmond
                government contract                                    Sheridan, WY 82801


2.1129. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Raquel Walter
          List the contract number of any                              410 10th Ave SW
                government contract                                    Sidney, MT 59270




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1130. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Raschke Management Co Inc
          List the contract number of any                              7227 US Hwy 12 E
                government contract                                    Martinsdale, MT 59053


2.1131. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rawhide Meats
          List the contract number of any                              PO Box 451
                government contract                                    White Sulphur Springs, MT 59645


2.1132. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ray Gullion
          List the contract number of any                              1565 Jims Path
                government contract                                    Worland, WY 82401


2.1133. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ray Retzlaff
          List the contract number of any                              6227 270Th Lane
                government contract                                    Gordan, NE 69343


2.1134. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ray Sheldon
          List the contract number of any                              P.O. Box 155
                government contract                                    Huntley, MT 59037




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1135. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ready Construction
          List the contract number of any                              249 Viceroy
                government contract                                    Billings, MT 59101


2.1136. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Red Rock Golf Club LLC
          List the contract number of any                              6520 Birkdale Dr
                government contract                                    Rapid City, SD 57702


2.1137. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Red Rock Homes
          List the contract number of any                              2087 N Vizcaya Place
                government contract                                    Eagle, ID 83616


2.1138. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reddi Electric
          List the contract number of any                              1045 Central Ave
                government contract                                    Billings, MT 59102


2.1139. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reece Price
          List the contract number of any                              PO Box 365
                government contract                                    Avon, MT 59713




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1140. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reed Fossum
          List the contract number of any                              PO Box 1315
                government contract                                    Spearfish, SD 57783


2.1141. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reliabuild Home Improvements
          List the contract number of any                              42500 Testament Creek Rd.
                government contract                                    Beaver, OR 97108


2.1142. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Renee Bickerstaff
                government contract


2.1143. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reno Built
          List the contract number of any                              2508 S 64 St W
                government contract                                    Billings, MT 59106


2.1144. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Residence Physician
          List the contract number of any                              8305 Green Meadow Drive
                government contract                                    Helena, MT 59602




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1145. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rex Feller
          List the contract number of any                              52 Barnett Lane
                government contract                                    Bozeman, MT 59715


2.1146. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Reynolds Custom Construction
          List the contract number of any                              6877 Copper Ridge Loop
                government contract                                    Billings, MT 59106


2.1147. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ric Kallaher
          List the contract number of any                              99 Bryan Rd
                government contract                                    Montauk, NY 11954


2.1148. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Richard Bowen
          List the contract number of any                              8755 Long Meadow Dr
                government contract                                    Billings, MT 59106


2.1149. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Richard Kubik
          List the contract number of any                              64230 Gallatin Road
                government contract                                    Gallatin Gateway, MT 59730




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1150. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Richard Neve
          List the contract number of any                              1834 S 56th St W
                government contract                                    Billings, MT 59106


2.1151. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Richard W Salyers
          List the contract number of any                              233 E Saint Charles St.
                government contract                                    Rapid City, SD 57701


2.1152. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Richard Whitford
          List the contract number of any                              #4 Pine St S.
                government contract                                    Reed Point., MT 59069


2.1153. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Downey
          List the contract number of any                              7124 Elk Creek Rd
                government contract                                    Piedmont, SD 57769


2.1154. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Dvorak
          List the contract number of any                              1122 1/2 8th Street West
                government contract                                    Billings, MT 59101




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1155. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Grush
          List the contract number of any                              87 Metta Lane
                government contract                                    Durnago, CO 81301


2.1156. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Hume
          List the contract number of any                              2201 Henderson St.
                government contract                                    Helena, MT 59601


2.1157. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Mari
          List the contract number of any                              705 Circle F Trail
                government contract                                    Bozeman, MT


2.1158. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Rick Mari
                government contract


2.1159. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Pruett
          List the contract number of any                              4533 Orchard Bench Road
                government contract                                    Basin, WY 82410




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1160. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rick Zaik
          List the contract number of any                              2412 Bluebell Ave
                government contract                                    Bozeman, MT 59718


2.1161. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ricky Gonzales
          List the contract number of any                              398 Pine Lodge Road
                government contract                                    Capitan, NM 88316


2.1162. State what the contract or          COMMERCIAL LEASE
        lease is for and the nature of      OF 2110 OVERLAND
        the debtor's interest               AVENUE, BILLINGS,
                                            MONTANA
             State the term remaining                                  RIGLER RANCH PARTNERSHIP
                                                                       3302 4TH AVENUE NORTH
          List the contract number of any                              STE. 125
                government contract                                    BILLINGS, MT 59101


2.1163. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rita Hebert
          List the contract number of any                              463 Big Leaf Rd
                government contract                                    Iota, LA 70543-3519


2.1164. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       River Side Cabins
          List the contract number of any                              46 12th St
                government contract                                    Vaughn, MT 59487




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1165. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roaring Fork Construction
          List the contract number of any                              4705 Georgina Drive
                government contract                                    Billings, MT 59106


2.1166. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Rob Cook
                government contract                                    Billings, MT 59101


2.1167. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       ROB Stermitz
          List the contract number of any                              416 Cinnabar Road
                government contract                                    Gardiner, MT 59030


2.1168. State what the contract or          COMMERICAL LEASE
        lease is for and the nature of      OF 8000 BLACK HAWK
        the debtor's interest               RD, UNIT 4, BLACK
                                            HAWK, SD 57718
             State the term remaining
                                                                       ROBERT AND BARBARA STEELE
          List the contract number of any                              P.O. BOX 269
                government contract                                    BLACK HAWK, SD 57718-0269


2.1169. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert B Scott
          List the contract number of any                              3773 Juliet Dr.
                government contract                                    helena, MT 59602




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1170. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Charlton
          List the contract number of any                              271 Thomas Ct
                government contract                                    Helena, MT 59602


2.1171. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Robert Davis
                government contract                                    Ulm, MT 59485


2.1172. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Dunn
          List the contract number of any                              6305 Terra Vista Drive
                government contract                                    Billings, MT 59106


2.1173. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Garrott
          List the contract number of any                              1310 South Rouse Ave
                government contract                                    Bozeman, MT 59715


2.1174. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Jordan
          List the contract number of any                              PO Box 1453
                government contract                                    Browning, MT




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1175. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert L Weber
          List the contract number of any                              po box 1514
                government contract                                    Rawlins, WY 82301


2.1176. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Morley
          List the contract number of any                              117 South 36th Street
                government contract                                    Billings, MT 59101


2.1177. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Thomas
          List the contract number of any                              147 West Bench Road
                government contract                                    Roberts, MT 59070


2.1178. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Robert Townsend
          List the contract number of any                              8445 Wild Horse
                government contract                                    Acton, MT 59002


2.1179. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rockport Colony
          List the contract number of any                              PO Box 100
                government contract                                    Pendroy, MT 59467




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1180. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rocky Mountain Cycle and Small Engine Re
          List the contract number of any                              410 N Miles
                government contract                                    Livingston, MT 59047


2.1181. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rocky Mountain Roofing
          List the contract number of any                              2309 Wilder
                government contract                                    Helena, MT 59602


2.1182. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rocky Mountain Window Distributors
          List the contract number of any                              PO Box 965
                government contract                                    Glenrock, WY 82637


2.1183. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rod Zullo
          List the contract number of any                              238 Great Escape Rd
                government contract                                    Wilsall, MT 59086


2.1184. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rodney Bentle
          List the contract number of any                              215 Cowchip Road
                government contract                                    Belgrade, MT 59714




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1185. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roger Anderson
          List the contract number of any                              336 Stamp Mill Rd
                government contract                                    Townsend, MT 59644


2.1186. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roger Haas
          List the contract number of any                              PO Box 113
                government contract                                    Hingham, MT 59528


2.1187. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roger Knapstad
          List the contract number of any                              3000 Villard #193
                government contract                                    Helena, MT 59601


2.1188. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roger Stradley
          List the contract number of any                              5835 Spaulding Bridge Rd
                government contract                                    Belgrade, MT 59714


2.1189. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rolo Construction Inc
          List the contract number of any                              3915 Chapparal Drive
                government contract                                    Helena, MT 59602




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1190. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Dare
          List the contract number of any                              5236 East Coralite
                government contract                                    Long Beach, CA 90808


2.1191. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Hoffman
          List the contract number of any                              1450 Owl Creek Road
                government contract                                    Thermopolis, WY 82443


2.1192. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Hundtofte
          List the contract number of any                              2727 hIghwood dr
                government contract                                    Billings, MT 59102


2.1193. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Kotrba
          List the contract number of any                              36557 160th Street NE
                government contract                                    Goodridge, MN 56725


2.1194. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Mupo
          List the contract number of any                              2643 NE 129th
                government contract                                    Ridgefield, WA 98642




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1195. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       RON O'Donnell
          List the contract number of any                              6119 Johanns Meadow
                government contract                                    Billings, MT 59101


2.1196. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Swinyer
          List the contract number of any                              19 Mistymood Lane
                government contract                                    Sheridan, WY


2.1197. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ron Yenny
          List the contract number of any                              2250 Basin Street SW
                government contract                                    Ethrata, WA 98823


2.1198. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Ron Zeiler
                government contract                                    Billings, MT 59101


2.1199. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ronda Wiggers
          List the contract number of any                              3208 2nd Ave So
                government contract                                    Great Falls, MT 59405




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1200. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ronnie Harned
          List the contract number of any                              6797 Wildcat Rd
                government contract


2.1201. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roof Solutions
          List the contract number of any                              4605 Simpson Street
                government contract                                    Billings, MT 59101


2.1202. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roofing Pro Plus
          List the contract number of any                              5010 Hwy 16 #2
                government contract                                    Newcastle, WY 82701


2.1203. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roofline Supply & Delivery
          List the contract number of any                              5759 Crater Lake Hwy
                government contract                                    Central Point, OR 97502


2.1204. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rosekelly, Fransen Masonry
          List the contract number of any                              5032 Leawood Dr
                government contract                                    Billings, MT 59105




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1205. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ross Hartman
          List the contract number of any                              2791 Butch Cassidy
                government contract                                    Bozeman, MT 59718


2.1206. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ross Waples
          List the contract number of any                              4246 Marian Circle
                government contract                                    Billings, MT 59101


2.1207. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Roy Zepeda
          List the contract number of any                              6 Christopher Ct
                government contract                                    Three Forks, MT 59752


2.1208. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       RS Bearrow Construction
          List the contract number of any                              701 Arrow Trail
                government contract                                    Bozeman, MT 59718


2.1209. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       RUBY Construction
          List the contract number of any                              2707 Mountt Rushmore Road
                government contract                                    Rapid City, SD 57701




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1210. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ruby Creek Builders - FAC
          List the contract number of any                              11954 Custer Limestone Rd
                government contract                                    Custer, SD 57730


2.1211. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rudi Birgenheier
          List the contract number of any                              PO Box 3
                government contract                                    High Wood, MT 59450


2.1212. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Rudy Prochnau
          List the contract number of any                              74333 Gallatin rd
                government contract                                    Gallatin Gateway, MT 59730


2.1213. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ruff Kutt Kustomz
          List the contract number of any                              1352 W. Ormsby Rd
                government contract                                    Casper, WY 82601


2.1214. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Russ Bartels
          List the contract number of any                              2624 NE Going Street
                government contract                                    Portland, OR 97211




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1215. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Russ Clark
          List the contract number of any                              4808 Secret Valley Dr
                government contract                                    Billings, MT 59101


2.1216. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Russel Trueblood
          List the contract number of any                              705 E Dakota Ave
                government contract                                    Hayden, ID 83835-9231


2.1217. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Russell & Jordan Jackson
          List the contract number of any                              2809 Highway 120
                government contract                                    Cody, WY 82414


2.1218. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Russell Hone
          List the contract number of any                              3634 Duck Club Rd
                government contract                                    Billings, MT 59105


2.1219. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Baker
          List the contract number of any                              1415 S 32nd St West
                government contract                                    Billings, MT 59102




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1220. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Boer
          List the contract number of any                              1917 West Hill Place
                government contract                                    Great Falls, MT 59404


2.1221. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Cain
          List the contract number of any                              2506 Chokecherry Circle
                government contract                                    Spearfish, SD 57783


2.1222. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Davis
          List the contract number of any                              23509 Tahoe Tr.
                government contract                                    Montgomery, TX 77316


2.1223. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Grim
          List the contract number of any                              2641 Buffalo Horn Drive
                government contract                                    Laurel, MT 59044


2.1224. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Johnson
          List the contract number of any                              97 Shepard Trail #12
                government contract                                    Bozeman, MT 59718




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1225. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Ryan Wildermuth
                government contract                                    Newcastle, WY 82701


2.1226. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ryan Woods
          List the contract number of any                              65 Mulel Deer Trail
                government contract                                    Miles City, MT 59301


2.1227. State what the contract or          SELECTCARE
        lease is for and the nature of      PREVENTIVE
        the debtor's interest               MAINTENANCE

             State the term remaining
                                                                       RYDER SELECT CARE
          List the contract number of any                              LOCKBOX FILE 056347
                government contract                                    LOS ANGELES, CA 90074-6347


2.1228. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       SPC
          List the contract number of any                              611 Cut Off Road
                government contract                                    Twin Bridges, MT 59754


2.1229. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       S.N.E.W. Construction
          List the contract number of any                              P.O. Box 1107
                government contract                                    Rapid City, SD 57709




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1230. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Saltzman's Fleet & Street
          List the contract number of any                              7689 Highway 287
                government contract                                    Townsend, MT


2.1231. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sam Friedman
          List the contract number of any                              54561 Hawkeye Rd.
                government contract                                    Yucca Valley, CA 92284


2.1232. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Samuel Garber
                                                                       9107 Coletown Lightsville Road
          List the contract number of any                              9107 Coletown Lightsville Road
                government contract                                    Union City, OH 45390


2.1233. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Samuel S Thompson
          List the contract number of any                              712 East Aspen Street
                government contract                                    Bozeman, MT 59715


2.1234. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       San Isidore And Company
          List the contract number of any                              2858 S 37th Rd
                government contract                                    Pompeys Pillar, MT 59064




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1235. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sand Crane L.L.C.
          List the contract number of any                              111 Forest Service Road 552
                government contract                                    Creede, CO 81130


2.1236. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Sandra Coutley
                government contract                                    Cody, WY 82414


2.1237. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sara Reintsma
          List the contract number of any                              325 Delta Circle
                government contract                                    Billings, MT 59102


2.1238. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sarah Kolbe
          List the contract number of any                              485 Mottsville Ln
                government contract                                    Gardnerville, NV 89460


2.1239. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sarge's Handyman Service
          List the contract number of any                              3602 Howard Rd East
                government contract                                    Helena, MT 59602




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1240. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Saundra Weaver
          List the contract number of any                              5300 U St.
                government contract                                    Washougal, WA 98671


2.1241. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Saw Industries
          List the contract number of any                              PO Box 82
                government contract                                    Black Eagle, MT 59414


2.1242. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Schreder Construction
          List the contract number of any                              12 Alderson Ave
                government contract                                    Billings, MT 59101


2.1243. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Schrock Commercial Roofing, Inc - FAC
          List the contract number of any                              1353 Hwy 93 North
                government contract                                    Victor, MT 59875


2.1244. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Arnson
          List the contract number of any                              1010 1St Ave E
                government contract                                    Williston, ND 58801




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1245. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Bisaro
          List the contract number of any                              1450 Deer Meadow Drive
                government contract                                    Helena, MT 59601


2.1246. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Hicks
          List the contract number of any                              Lot 62 - Spain Bridge Meadows Subdivision
                government contract                                    Belgrade, MT 59714


2.1247. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Idler
          List the contract number of any                              6505 SE Caesar E Chavez Blvd
                government contract                                    Portland, OR 97202


2.1248. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Jess
          List the contract number of any                              PO Box 751
                government contract                                    Columbus, MT 59019


2.1249. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott L Barger
          List the contract number of any                              865 Calle Yucca
                government contract                                    Thousand Oaks, CA 91360




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1250. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Scott McGeary
                                                                       800 Five Peaks Dr
          List the contract number of any                              Kalama
                government contract                                    Kalama, WA 98625


2.1251. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Miley Roofing
          List the contract number of any                              1760 Lear Ln
                government contract                                    Hailey, IN 83333


2.1252. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Traucht
          List the contract number of any                              201 Tom Miner Creek Road
                government contract                                    Emigrant, MT 59027


2.1253. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Scott Weidner
          List the contract number of any                              92-11Th St.
                government contract                                    Belgrade, MT 59715


2.1254. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sean Guess
          List the contract number of any                              907 W. Annie St
                government contract                                    Austin, TX 78704




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1255. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Selkirk Construction
          List the contract number of any                              10157 N Taryne St
                government contract                                    Hayden, ID 83835


2.1256. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sexton Construction Group FAC
          List the contract number of any                              1602 Harris Court
                government contract                                    Helena, MT 59601


2.1257. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shamrock Carpentry
          List the contract number of any                              90 W Madison St E#375
                government contract                                    Belgrade, MT 59714


2.1258. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Shane Quimby
                government contract                                    Gardiner, MT 59030


2.1259. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Sharon Hansen
                government contract                                    Rapid City, SD 57702




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1260. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sharon Small
          List the contract number of any                              P.O. Box 405
                government contract                                    Lame Deer, MT 59003


2.1261. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shawn Nedens
          List the contract number of any                              1496 Peritsa Creek Road
                government contract                                    Hardin, MT 59034


2.1262. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shawn Svrta
          List the contract number of any                              3094 Dunmore Rd S.E.
                government contract                                    , MT T1B2X2


2.1263. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shawna Brown
          List the contract number of any                              3 Night Tim
                government contract                                    Red Lodge, MT 59068


2.1264. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sheet Metal Specialties
          List the contract number of any                              1220 E. Yellowstone
                government contract                                    Casper, WY 82601




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1265. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sheila Walsh
          List the contract number of any                              5719 Bear Gulch Rd
                government contract                                    Dodson, MT 59524


2.1266. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shelly Cary
          List the contract number of any                              4027 Crandle Rd
                government contract                                    Cody, WY 82414


2.1267. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shelter Solutions
          List the contract number of any                              1005 Antimony
                government contract                                    Butte, MT 59701


2.1268. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shields Valley Builders
          List the contract number of any                              PO Box 261
                government contract                                    Clyde Park, MT 59018


2.1269. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shoni Townsend
          List the contract number of any                              PO Box 412
                government contract                                    White Sulphur Springs, MT 59645




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1270. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Shroyer Construction -FAC
          List the contract number of any                              46 Moon Shadow Dr
                government contract                                    Bozeman, MT 59715-7504


2.1271. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sibanye-Stillwater FAC
          List the contract number of any                              PO Box 1330
                government contract                                    Columbus, MT 59019-1330


2.1272. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       SID Aschiem
          List the contract number of any                              Po Box 501
                government contract                                    Sunburst, MT 59482


2.1273. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sierra Sustainable Builders, Inc.
          List the contract number of any                              PO BOX 17514
                government contract                                    South Lake Tahoe, CA 96150


2.1274. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sievert Construction-FAC
          List the contract number of any                              573 West Hubert Road
                government contract                                    Bozeman, MT 59718




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1275. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sign Products
          List the contract number of any                              P.O. Box 20955
                government contract                                    Billings, MT 59104


2.1276. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Silver Creek Custom Homes
          List the contract number of any                              248 Meadowbrook Pl.
                government contract                                    Pagosa Springs, CO 81147


2.1277. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Silvertip Construction and Remodel
          List the contract number of any                              30 Starhaven Drive
                government contract                                    Absorkee, MT 59001


2.1278. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Simon Contractors, Inc.
          List the contract number of any                              3720 Sturgis Road
                government contract                                    Rapid City, SD 57702


2.1279. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sloan Hayes
          List the contract number of any                              502 N Brewer
                government contract                                    Vinita, OK 74301




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1280. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Small Construction
          List the contract number of any                              PO Box 209
                government contract                                    Busby, MT 59016


2.1281. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       SMCD Ltd.
          List the contract number of any                              PO Box 772268
                government contract                                    Steamboat Springs, CO 80487


2.1282. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Smoke 2o LLC
                                                                       507 Ellery Ave
          List the contract number of any                              PO Box 74
                government contract                                    Fairview, MT 59221


2.1283. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Smokey Neill
          List the contract number of any                              497 Countryman Cr Rd
                government contract                                    Columbus, MT 59019


2.1284. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Snapdragon Contracting
          List the contract number of any                              150 South Old Place
                government contract                                    Belgrade, MT 59714




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1285. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Snowy Creek Builders
          List the contract number of any                              PO Box 687
                government contract                                    Townsend, MT 59644


2.1286. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Snowy Mountain Home Renovations
          List the contract number of any                              4616 Stone Street
                government contract                                    Billings, MT 59101


2.1287. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sore Thumb
          List the contract number of any                              896 West Bacall Street
                government contract                                    Meridian, ID 83646


2.1288. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sorenson Construction
          List the contract number of any                              P.O. Box 33
                government contract                                    Belfry, MT 59008


2.1289. State what the contract or          LEASE AGREEMENT
        lease is for and the nature of      FOR PROPERTY
        the debtor's interest               LOCATED AT 605 E.
                                            WILLOW STREET,
                                            SIOUX FALLS, SD
                                            57005
             State the term remaining                                  SOUTH DAKOTA INVESTEMENT
                                                                       ENTERPRISES, LLC
          List the contract number of any                              26280 S. MCHARDY RD
                government contract                                    BRANDON, SD 57005




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1290. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Spencer Construction
          List the contract number of any                              Box 10
                government contract                                    Roscoe, MT 59071


2.1291. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sphinx Mountain Custom Builders, LLC
          List the contract number of any                              102 Diamond Back Rd
                government contract                                    Ennis, MT 59729


2.1292. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       St. Peter's Health
          List the contract number of any                              2475 E Broadway
                government contract                                    Helena, MT 59601


2.1293. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stan Galicki
          List the contract number of any                              908 Madison Street
                government contract                                    Jackson, MI 39202


2.1294. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stan Reed
          List the contract number of any                              20132 Cheetah Lane
                government contract                                    Estero, FL 33928




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1295. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stanley Melville
          List the contract number of any                              Route 1 PO Box 1257
                government contract                                    Hardin, MT 59034


2.1296. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steadfast Builders
          List the contract number of any                              1215 Princeton Avenue
                government contract                                    Billings, MT 59102


2.1297. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steckel, Powell
          List the contract number of any                              1217 6Th St N
                government contract                                    Havre, MT 59501


2.1298. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Steenco
                government contract                                    Malta, MT 59538


2.1299. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steinfeldt Construction
          List the contract number of any                              30 Overland Trl
                government contract                                    Reed Point, MT 59069-8062




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1300. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stephen Dickerson
          List the contract number of any                              812 Cherry Creek Rd
                government contract                                    Forsyth, MT 59327


2.1301. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stephen Harp
          List the contract number of any                              12954 Flesher Acres Rd
                government contract                                    Canyon Creek, MT 59633


2.1302. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stephen Walters
          List the contract number of any                              1806 11th Avenue
                government contract                                    Helena, MT 59601


2.1303. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stephen, Ryan
          List the contract number of any                              2222 Fancher Road
                government contract                                    Mt Pleasant, WI 53406


2.1304. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sternhagen Services
          List the contract number of any                              346 Mountain View Drive
                government contract                                    Lead, SD 57754




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1305. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Baillie
          List the contract number of any                              5305 Burlington Ave
                government contract                                    Billings, MT 59106


2.1306. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Bartle
          List the contract number of any                              PO Box 235
                government contract                                    Jefferson City, MT 59638


2.1307. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Carmichael
          List the contract number of any                              PO Box 370
                government contract                                    Deadwood, SD 57732


2.1308. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Gay
          List the contract number of any                              117 S. Wallace Ave
                government contract                                    Bozeman, MT 59715


2.1309. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Harkless
          List the contract number of any                              279 East Airport Road
                government contract                                    Billings, MT 59105




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1310. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Jacobson
          List the contract number of any                              1575 Hillcrest Dr
                government contract                                    Sheridan, WY 82801


2.1311. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Jaderston
          List the contract number of any                              840 N Spruce #84
                government contract                                    Rapid City, SD 57701


2.1312. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Kirkhart
          List the contract number of any                              624 Alice Drive
                government contract                                    Great Falls, MT 59405


2.1313. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Kovachevich
          List the contract number of any                              1659 PARK DRIVE
                government contract                                    RAWLINS, WY 82301


2.1314. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Mayo
          List the contract number of any                              3661 Farm Hill Blvd
                government contract                                    Redwood City, CA 94061




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1315. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Mckeever
          List the contract number of any                              2416 24th Grand Ave
                government contract                                    Billings, MT 59109


2.1316. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Pitsch
          List the contract number of any                              PO Box 1351
                government contract                                    Big Timber, MT 59011


2.1317. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Simms
          List the contract number of any                              PO Box 1265
                government contract                                    Lyons, CO 80540


2.1318. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Sonntag
          List the contract number of any                              Box 822
                government contract                                    Lame Deer, MT 59043


2.1319. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       STEVE Ward
          List the contract number of any                              269 County Rd 6RT
                government contract                                    Cody, WY 82414




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1320. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Wenrich
          List the contract number of any                              854 Silverdollar Circle
                government contract                                    Billings, MT 59105


2.1321. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steve Yochum
          List the contract number of any                              169 Nixon Street
                government contract                                    Genoa, NV 89411


2.1322. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steven Hinrichs
          List the contract number of any                              217 Hwy 212
                government contract                                    Cooke City, MT 59020


2.1323. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Steven Pinsky
          List the contract number of any                              226 High Street
                government contract                                    Calistoga, CA 94515


2.1324. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stewart Construction
          List the contract number of any                              PO Box 487
                government contract                                    Belgrade, MT 59714




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1325. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stewart Construction & Remodeling
          List the contract number of any                              PO Box 59
                government contract                                    Joliet, MT 59041


2.1326. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stillwater Raingutter
          List the contract number of any                              11 Montana Ave
                government contract                                    Boyd, MT 59013


2.1327. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stillwater Transport
          List the contract number of any                              86 Gateway Drive
                government contract                                    Columbus, MT 59019


2.1328. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stone Werx
          List the contract number of any                              140 Madison River Rd
                government contract                                    Three Forks, MT 59752


2.1329. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stonebrook Exteriors
          List the contract number of any                              821 Manchester Circle
                government contract                                    Lincoln, NE 68507




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1330. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stonefield Construction
          List the contract number of any                              770 US Hwy 71 N
                government contract                                    Willmar, MN 56201


2.1331. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Stout Building Contractors, LLC
          List the contract number of any                              1380 West 50 South
                government contract                                    Venterville, UT 84014


2.1332. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Strahl Construction
          List the contract number of any                              1558 AMSTERDAM
                government contract                                    Clyde Park, MT 59018-0260


2.1333. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Strom's Triple T
          List the contract number of any                              5000 Small Wood Court
                government contract                                    Helena, MT 59601


2.1334. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Summit Construction
                government contract                                    Worland, WY 82401




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1335. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sunlight Carpentry
          List the contract number of any                              PO Box 4169
                government contract                                    Bozeman, MT 59772


2.1336. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Superior Siding
          List the contract number of any                              4240 Canyon Lake Dr.
                government contract                                    Rapid City, SD 57702


2.1337. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Superstar Energy Services
          List the contract number of any                              45 24th Street E
                government contract                                    Dickinson, ND 58601


2.1338. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Surprise Creek Colony
          List the contract number of any                              Box 310
                government contract                                    Stanford, MT 59479


2.1339. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Susan Hovde
          List the contract number of any                              PO BOX 1514
                government contract                                    Red Lodge, MT 59068




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1340. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Susan Thomas
                government contract


2.1341. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Suzanne Shelhamer
          List the contract number of any                              380 US HWY 20 S
                government contract                                    Basin, WY 82410


2.1342. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Sweet Water Custom
          List the contract number of any                              107 Moonbeam Lane
                government contract                                    Belgrade, MT 59714


2.1343. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Syndicate Homes
          List the contract number of any                              290 Pronghorn Trail St #5
                government contract                                    Bozeman, MT 59718


2.1344. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       T A Ranch
          List the contract number of any                              28623 old Hwy. 87
                government contract                                    Buffalo, WY 82834




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                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1345. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       T N T Flooring
          List the contract number of any                              693 North River Rock
                government contract                                    Belgrade, MT 59714


2.1346. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tad Rosenlund
          List the contract number of any                              679 Decker Rd
                government contract                                    Sheridan, WY 82801


2.1347. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tag Construction
          List the contract number of any                              300 Wickes
                government contract                                    Jefferson City, MT 59638


2.1348. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Talon Construction
          List the contract number of any                              PO Box 981
                government contract                                    Lame Deer, MT 59043


2.1349. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tammy McGuire
          List the contract number of any                              201 N. Schuyler
                government contract                                    Opportunity, MT 59711




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1350. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tannon Hillis
          List the contract number of any                              100 Ice Blue Road
                government contract                                    Bozeman, MT 59718


2.1351. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Taylor Consulting & Construction LLC
          List the contract number of any                              7540 Geary Dome Rd.
                government contract                                    Evansville, WY 82636


2.1352. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Taylor Mccabe
          List the contract number of any                              543 Belmont Rd
                government contract                                    Lavina, MT 59046


2.1353. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Taz Enterprize
          List the contract number of any                              7530 Kingpost Lp
                government contract                                    Helena, MT 59602


2.1354. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  TCT
                                                                       PO Box
          List the contract number of any                              310
                government contract                                    Basin, WY 82411




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1355. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ted Beck
          List the contract number of any                              PO BOx 4327
                government contract                                    Helena, MT 59604


2.1356. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       TED Chvala
          List the contract number of any                              PO Box 160146
                government contract                                    Big Sky, MT 59716


2.1357. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ted Ridenour
          List the contract number of any                              521 Maiden
                government contract                                    Thermopolis, WY 82443


2.1358. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ted Seeley
          List the contract number of any                              2000 Maple Brook Rd
                government contract                                    New Concord, OH 43762


2.1359. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ted Tobin
          List the contract number of any                              1679 Stagecoach Trail Rd
                government contract                                    Manhattan, MT 59741-8214




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1360. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Teini, Joe
          List the contract number of any                              Po Box 16
                government contract                                    Musselshell, MT 59059


2.1361. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Teresa McClendon
          List the contract number of any                              5351 Henrys Lake Road
                government contract                                    Island Park, ID 83429


2.1362. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Cash
          List the contract number of any                              12063 Rolling Hills Road
                government contract                                    Rapid City, SD 57702


2.1363. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Jackson
          List the contract number of any                              304 Andrea Drive
                government contract                                    Belgrade, MT 59714


2.1364. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Kahl
          List the contract number of any                              11 Wildflower Cir.
                government contract                                    Park City, MT 59063




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1365. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Rave
          List the contract number of any                              11460 Mountain Lion Road
                government contract                                    Lead, SD 57754


2.1366. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Riehl
          List the contract number of any                              6597 Noble Lane
                government contract                                    Helena, MT 59602


2.1367. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Stevens
          List the contract number of any                              1252 Grubstake Cir
                government contract                                    Billings, MT 59105


2.1368. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Terry Wham
          List the contract number of any                              1414 valley hights rd
                government contract                                    Billings, MT 59105


2.1369. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Teton Heritage Builders-FAC
          List the contract number of any                              76225 Gallatin Rd
                government contract                                    Gallatin Gateway, MT 59730-8731




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1370. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       TFI Milltown Plaza, LLC
          List the contract number of any                              Po Box 788
                government contract                                    Sheridan, MT 59749


2.1371. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Theo Nehl
          List the contract number of any                              3271 Rachelle Road
                government contract                                    Helena, MT 59602


2.1372. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Theule Construction
          List the contract number of any                              PO Box 635
                government contract                                    Townsend, MT 59644


2.1373. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Think One Construction Management FAC
          List the contract number of any                              101 E Main St
                government contract                                    Bozeman, MT 59715-4795


2.1374. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Thom Bagg Architects
          List the contract number of any                              PO Box 6003
                government contract                                    Bozeman, MT 59771




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1375. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Thomas Block
          List the contract number of any                              Lot 77 Shining Mtn Estates
                government contract                                    Ennis, MT 59729


2.1376. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Thomas Hansen
          List the contract number of any                              PO Box 268
                government contract                                    Dayton, WY 82836


2.1377. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Thomas Jozsi
          List the contract number of any                              1992 Little Cottage Lane Apt #3
                government contract                                    Bozeman, MT 59715


2.1378. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Thomas Postell
          List the contract number of any                              260 Springfield Lane
                government contract                                    Harleyville, SC 29448


2.1379. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Three Spur Designs
          List the contract number of any                              2345 West Cameron Bridge Road
                government contract                                    Bozeman, MT 59718




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1380. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Gardner
          List the contract number of any                              546 South Davis St
                government contract                                    Helena, MT 59601


2.1381. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Inman
          List the contract number of any                              215 Black Dog Road
                government contract                                    Gallatin Gateway, MT 59730


2.1382. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Johnson
          List the contract number of any                              11 Lewis Dr
                government contract                                    Three Forks, MT 59752


2.1383. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Kirk
          List the contract number of any                              465 Willow Creek Rd
                government contract                                    Red Lodge, MT 59068


2.1384. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim McNeff
          List the contract number of any                              3091 US HWY 12 w
                government contract                                    White Sulphur Springs, MT 59645




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1385. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Poeschl
          List the contract number of any                              208 South 7th
                government contract                                    Livingston, MT 59047


2.1386. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Thompson
          List the contract number of any                              PO Box 711
                government contract                                    Absarokee, MT 59001


2.1387. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim Tipton
          List the contract number of any                              7225 Moonlight Dr
                government contract                                    Manhattan, MT 59741


2.1388. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tim's Repair
          List the contract number of any                              P.O. Box 27
                government contract                                    Toston, MT 59643


2.1389. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Timber Creek Construction
          List the contract number of any                              P.O. Box 77
                government contract                                    Parkman, WY 82838




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1390. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Timberline Engineering
          List the contract number of any                              1072 Selms
                government contract                                    Bridger, MT 59014


2.1391. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Timberman Construction
          List the contract number of any                              249 Joliet Road
                government contract                                    Columbus, MT 59019


2.1392. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Timothy Frase
          List the contract number of any                              380 Rifle Road
                government contract                                    Bozeman, MT 59715


2.1393. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tiny Town
          List the contract number of any                              70 Lower Rainbow Road
                government contract                                    Bozeman, MT 59718


2.1394. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Titan Construction (Ennis)
          List the contract number of any                              6 Depot Road
                government contract                                    Ennis, MT 59729




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1395. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              TKO Construction
                government contract


2.1396. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       TLC Contracting
          List the contract number of any                              33 W Daly
                government contract                                    Butte, MT 59701


2.1397. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tobacco Root Contracting
          List the contract number of any                              PO Box 20
                government contract                                    Twin Bridges, MT 59754


2.1398. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tobin Livestock LLC
          List the contract number of any                              Po Box 68
                government contract                                    Midwest, WY 82643


2.1399. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Toby Karn
          List the contract number of any                              2128 Harney Drive
                government contract                                    Rapid City, SD 57702




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1400. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Todd's Toys
          List the contract number of any                              101 Rhea
                government contract                                    Billings, MT 59102


2.1401. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Cohen
          List the contract number of any                              3645 York rd
                government contract                                    Helena, MT 59602


2.1402. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Cohn
          List the contract number of any                              3605 York Rd
                government contract                                    Helena, MT 59602


2.1403. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Countway
          List the contract number of any                              2502 Mountain Range
                government contract                                    Billings, MT 59106


2.1404. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Dreiske
          List the contract number of any                              PO Box 75
                government contract                                    Whitewood, SD 57793




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1405. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Gilbert
          List the contract number of any                              PO Box 124
                government contract                                    Clyde Park, MT 59018


2.1406. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Griffee
          List the contract number of any                              505 8th St
                government contract                                    Sturgis, SD 57785


2.1407. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Hanek
          List the contract number of any                              2409 Hauser Blvd
                government contract                                    Helena, MT 59601


2.1408. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom J Riddle
          List the contract number of any                              540 S 19th Ave
                government contract                                    Bozeman, MT 59715


2.1409. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Keiner
          List the contract number of any                              445 1/2 South Canyon Street
                government contract                                    Spearfish, SD 57783




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1410. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Kremer
          List the contract number of any                              990 Arapahoe Ave
                government contract                                    Gillette, WY 82718


2.1411. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       TOM Lessley
          List the contract number of any                              27 S. Harrison St.
                government contract                                    Lima, MT 59739


2.1412. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Mego
          List the contract number of any                              1616 Hwy 31
                government contract                                    Arnaudville, LA 70512


2.1413. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Needs
          List the contract number of any                              2042 Gold Rush Ave
                government contract                                    Helena, MT 59601


2.1414. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom O'Donnell
          List the contract number of any                              101 Gravely Lane
                government contract                                    Townsend, MT 59644




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1415. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Ring
          List the contract number of any                              2075 Wooten Rd
                government contract                                    Helena, MT 59602


2.1416. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tom Stupavsky Construction Inc.
          List the contract number of any                              3635 Deer Ridge Road
                government contract                                    Quincy, IL 62305


2.1417. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tony Collyard
          List the contract number of any                              6205 Shadow Circle
                government contract                                    Bozeman, MT 59715


2.1418. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tony Dean
          List the contract number of any                              1931 8th Ave
                government contract                                    Helena, MT 59601


2.1419. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tony Diehl
          List the contract number of any                              721 West Blvd
                government contract                                    Rapid City, SD 57701




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1420. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Top Notch
          List the contract number of any                              1121 Saxon Way
                government contract                                    Bozeman, MT 59718


2.1421. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Top to Bottom Construction
                                                                       816 Highway 14A
          List the contract number of any                              West
                government contract                                    Lovell, WY 82431


2.1422. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Total Quality Construction
          List the contract number of any                              1313 South Willson
                government contract                                    Bozeman, MT 59715


2.1423. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Town of Greybull
          List the contract number of any                              600 Greybull Ave
                government contract                                    Greybull, WY 82426


2.1424. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Trackwest, LLC
          List the contract number of any                              14751 N Kelsey St Ste 105255
                government contract                                    Monroe, WA 98272-1457




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1425. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tracy Bray
          List the contract number of any                              1125 West 4th. St
                government contract                                    Laurel, MT 59044


2.1426. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Travis Brumfield
          List the contract number of any                              190 Brumfield Rd
                government contract                                    Reed Point, MT 59069


2.1427. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Travis Jones
          List the contract number of any                              297 Gooseneck Rd
                government contract                                    Broadview, MT 59015


2.1428. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Travis Schneider
                                                                       3735 Moon Shadow Rd.
          List the contract number of any                              PO Box 1993
                government contract                                    Bonners Ferry, ID 83805


2.1429. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tripp Blankenship
          List the contract number of any                              201 West 31st St.
                government contract                                    Charlotte, NC 28206




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1430. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Troy Lawson
          List the contract number of any                              541 Ave C
                government contract                                    Billings, MT 59102


2.1431. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tru Form Const.
          List the contract number of any                              PO Box 742
                government contract                                    Black Hawk, SD 57718


2.1432. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       True Builders
          List the contract number of any                              18789 Petra Road
                government contract                                    Belle Fourche, SD 57717


2.1433. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Truer Construction
          List the contract number of any                              95 Westlake Park Blvd
                government contract                                    Bozeman, MT 59718


2.1434. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Truitt Construction
          List the contract number of any                              310 Poplar Dr
                government contract                                    Bozeman, MT 59718




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1435. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tuck Construction
          List the contract number of any                              699 Bender Rd
                government contract                                    Billings, MT 59101


2.1436. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tucker Construction
          List the contract number of any                              PO Box 1406
                government contract                                    Red Lodge, MT 59068


2.1437. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tundra General Contractors FAC
          List the contract number of any                              P.O. Box 6
                government contract                                    Cody, WY 82414


2.1438. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Two Times Two, Inc.
          List the contract number of any                              P.O. Box 50424
                government contract                                    Billings, MT 59105


2.1439. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Ty Kelly
          List the contract number of any                              P.O. Box 674
                government contract                                    Big Timber, MT 59011




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1440. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tye Cicci
          List the contract number of any                              98 Broken Arrow Tr
                government contract                                    Clark, WY 82435


2.1441. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tyler Fladland
          List the contract number of any                              1510 Rancho Vista
                government contract                                    Billings, MT 59105


2.1442. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tyler Grover
          List the contract number of any                              80 Tenderfoot Trail
                government contract                                    Dillon, MT 59725


2.1443. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tyler Kissner
          List the contract number of any                              6101 South Landau Cirle
                government contract                                    Sioux Falls, SD 57108


2.1444. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tyler Stone
          List the contract number of any                              380 LINCOLN ST.
                government contract                                    EUGENE, OR 97401




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1445. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Tylor Atkins
          List the contract number of any                              119 Coolidge Rd
                government contract                                    Lead, SD 57754


2.1446. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       U Diamond Barn
          List the contract number of any                              2682 Smith Rd
                government contract                                    Helena, MT 59602


2.1447. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       U Do Yogurt
          List the contract number of any                              27 Shiloh Rd #5
                government contract                                    Billings, MT 59102


2.1448. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Udo Chapman
          List the contract number of any                              2044 stagecoach trail road
                government contract                                    Manhattan, MT 59741


2.1449. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Unfettered LLC
          List the contract number of any                              8600 Old yellowstone trail
                government contract                                    Willow Creek, MT 59760




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1450. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Upslope Construction
          List the contract number of any                              1648 Hunters Way
                government contract                                    Bozeman, MT 59718-6194


2.1451. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Valley Roofing and Siding LLC
          List the contract number of any                              2790 Hwy 93 South
                government contract                                    Kalispell, MT 59901


2.1452. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vang Construction
          List the contract number of any                              6797 Wildcat Rd.
                government contract                                    Evansville, WY 82636


2.1453. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vaughn Guckeen
          List the contract number of any                              625 23rd Street
                government contract                                    Black Eagle, MT 59414


2.1454. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Veldhuizen, Gerald dba Northern Lights
          List the contract number of any                              24119 Pine Grove Rd.
                government contract                                    Rapid City, SD 57702




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1455. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vergil Lindsey
          List the contract number of any                              PO Box 297
                government contract                                    Ennis, MT 59729


2.1456. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Verne W House
          List the contract number of any                              4740 Sourdough Road
                government contract                                    Bozeman, MT 59715


2.1457. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vernon Charles
          List the contract number of any                              380 Griffin Road
                government contract                                    Helena, MT


2.1458. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Vicki Stark
                                                                       PO BOX 52
          List the contract number of any                              18761 STONE LAKE ROAD
                government contract                                    NISLAND, SD 57762


2.1459. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Victor Smith
          List the contract number of any                              77 N Bay Ln
                government contract                                    Friday Harbor, WA 98250




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1460. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Victory Woodworks, Inc.
          List the contract number of any                              340 Kresge Lane
                government contract                                    Sparks, NV 89431


2.1461. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vigilante Construction, Inc-FAC
          List the contract number of any                              PO Box 888
                government contract                                    Sheridan, MT 59749-0888


2.1462. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Vince DeVito
                                                                       611 N 15th St
          List the contract number of any                              Unit 1/2
                government contract                                    Billings, MT 59101


2.1463. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Vince Yack
          List the contract number of any                              2016 Jerome Place
                government contract                                    Helena, MT 59601


2.1464. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Von Feldt Constructon
          List the contract number of any                              4663 Cave Road
                government contract                                    Billings, MT 59101




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1465. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       W Quarter Circle Construction
          List the contract number of any                              16222 Bracket Circle
                government contract                                    Bozeman, MT 59715


2.1466. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       W/A Designs
          List the contract number of any                              805 Folger Avenue
                government contract                                    Berkley, CA 94710


2.1467. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining

          List the contract number of any                              Wade Bennett
                government contract


2.1468. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wade Fox
          List the contract number of any                              22969 Dusty Ridge Road
                government contract                                    Midland, SD 57745


2.1469. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wagner Building Supply
          List the contract number of any                              39379 SD-46
                government contract                                    Wagner, SD 57380




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1470. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Walker Excavation Inc
                                                                       270 floss Flat Rd
          List the contract number of any                              Ste B
                government contract                                    Belgrade, MT 59714


2.1471. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wapiti Builders
          List the contract number of any                              2905 Aspen Way Drive
                government contract                                    Helena, MT 59601


2.1472. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Warner Roofing
          List the contract number of any                              2806 D NE 65th Avenue
                government contract                                    Vancouver, WA 98661


2.1473. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Waters, Bradd
          List the contract number of any                              12043 Gooch Hill Rd
                government contract                                    Gallatin Gateway, MT 59730


2.1474. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Watne, Josh
          List the contract number of any                              50 Filson Rd.
                government contract                                    Winston, MT 59647




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1475. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wayne Blomquist
          List the contract number of any                              3107 Gloxina Drive
                government contract                                    Billings, MT 59102


2.1476. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wayne Harrison
          List the contract number of any                              PO BOX 785
                government contract                                    Custer, SD 57730


2.1477. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wayne McClaflin
          List the contract number of any                              1868 Lane 10
                government contract                                    Powell, WY 82435


2.1478. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wayne Shuler
          List the contract number of any                              76A Belfry Hwy
                government contract                                    Cody, WY 82414


2.1479. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Weathercraft Company - Cheyenne
          List the contract number of any                              101 Ave C #7
                government contract                                    Cheyenne, WY 82007




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1480. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Weaver Construction
          List the contract number of any                              450 Pickett Street
                government contract                                    Plainfield, IN 46168


2.1481. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Weaver Worx
          List the contract number of any                              PO Box 544
                government contract                                    Manhattan, MT 59741


2.1482. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Weberman Construction, LLC
                                                                       31600 W. Thirteen Mile Road
          List the contract number of any                              Suite 128
                government contract                                    Farmington, MI 48334


2.1483. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       WEIDENBACH BROTHERS CONSTRUCTION
          List the contract number of any                              2525 LONG ACRE DRIVE
                government contract                                    RAPID CITY, SD 57703


2.1484. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Wendy Cox
                                                                       PO Box 63
          List the contract number of any                              674 Woods Road South
                government contract                                    Warren, VT 04863




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2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1485. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wes Hanson Builders Inc.
          List the contract number of any                              34103 Co. Rd 3
                government contract                                    Crosslake, MN 56442


2.1486. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Westech
          List the contract number of any                              P.O. Box 2964
                government contract                                    Mills, WY 82644


2.1487. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Western Drywall
          List the contract number of any                              3903 Cheyenne St.
                government contract                                    Cheyenne, WY 82001


2.1488. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Western Painting
          List the contract number of any                              3915 Bernice Ln
                government contract                                    Billings, MT 59105


2.1489. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Westervelt Transport
          List the contract number of any                              PO Box 973
                government contract                                    Belgrade, MT 59714




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1490. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Westmoreland Builders
          List the contract number of any                              1597 Hart Street
                government contract                                    Southlake, TX 76092


2.1491. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Weston Scott
          List the contract number of any                              629 Par Drive
                government contract                                    Gillette, WY 82718


2.1492. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  WHITE OWL COMMUNITY CENTER
                                                                       PO Box 74
          List the contract number of any                              19361 Main St
                government contract                                    White Owl, SD 57792


2.1493. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Willard's Garage
          List the contract number of any                              1305 Broadwater Ave
                government contract                                    Billings, MT 59102


2.1494. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       William & Kathy Potts
          List the contract number of any                              11849 Mt Meadow Rd
                government contract                                    Sturgis, SD




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1495. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       William Hans
          List the contract number of any                              N 4814 Owen Park RD
                government contract                                    Merrimac, WI 53561


2.1496. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       William Loveland
          List the contract number of any                              3940 Road 9
                government contract                                    Burlington, WY 82411


2.1497. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Williams Plumbing and Heating
          List the contract number of any                              2360 N 7TH Ave
                government contract                                    Bozeman, MT 59715-2539


2.1498. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Willie Collins
          List the contract number of any                              503 Cascade Street
                government contract                                    Melstone, MT 59054


2.1499. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Willis Ransier
          List the contract number of any                              PO Box 1153
                government contract                                    Helena, MT 59601




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1500. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Willow Creek Tool
          List the contract number of any                              PO Box 85
                government contract                                    Willow Creek, MT 59760


2.1501. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Winston Cox
          List the contract number of any                              904 Sandcherry St.
                government contract                                    Billings, MT 59106


2.1502. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       WMK & Co. Inc FAC
          List the contract number of any                              415 Albert Street
                government contract                                    Billings, MT 59101


2.1503. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Wolstein Custom Builders Inc
                                                                       300 Flathead Lodge Rd
          List the contract number of any                              Box 2678
                government contract                                    Bigfork, MT 59911


2.1504. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Wood River Roofing
          List the contract number of any                              PO Box 1822
                government contract                                    Haley, ID 83333




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1505. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellow Jacket
          List the contract number of any                              1311 Buffalo Road
                government contract                                    Helena, MT 59602


2.1506. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellowstone Bighorn Research Association
          List the contract number of any                              PO BOX 20598
                government contract                                    Billings, MT 59104


2.1507. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellowstone River Campground
          List the contract number of any                              PO Box 790
                government contract                                    Billings, MT 59103


2.1508. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellowstone River Customs
          List the contract number of any                              19676 Bozeman Hill Rd.
                government contract                                    Bozeman, MT 59715


2.1509. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellowstone Roofing & Siding
          List the contract number of any                              35 Grill Rd
                government contract                                    Joliet, MT 59041




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1510. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining                                  Yellowstone Timber Fusion
                                                                       307 South Hamilton
          List the contract number of any                              PO Box 131
                government contract                                    Virginia City, MT 59755


2.1511. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yellowstone@Absaroka
          List the contract number of any                              262 Swingley Rd
                government contract                                    Livingston, MT 59047


2.1512. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yooper Construction
          List the contract number of any                              12864 Crystal Mountain
                government contract                                    Three Forks, MT 59752


2.1513. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Yost Construction
          List the contract number of any                              341 First Ave. South
                government contract                                    Graybull, WY 82426


2.1514. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Young Construction Enterprise LLC
          List the contract number of any                              1738 Wilkins Rd.
                government contract                                    Laurel, MT 59044




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1515. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zach Fife
          List the contract number of any                              1172 Hunter Rd.
                government contract                                    Helena, MT 59602


2.1516. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zachary Dreher
          List the contract number of any                              2708 7th Ave N
                government contract                                    Great Falls, MT 59401


2.1517. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zane Wood
          List the contract number of any                              28 Pony Lane
                government contract                                    Livingston, MI 59047


2.1518. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zeb Miller Construction, Inc -FAC
          List the contract number of any                              6673 Maltese Ln
                government contract                                    Bozeman, MT 59718-7550


2.1519. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       ZK Customs LLC
          List the contract number of any                              PO Box 1413
                government contract                                    Three Forks, MT 59752




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Debtor 1 BRIDGER STEEL, INC.                                                    Case number (if known)   2:23-bk-20019
          First Name        Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                   whom the debtor has an executory contract or unexpired
                                                                   lease

2.1520. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zobott Construction
          List the contract number of any                              4793 River Road
                government contract                                    Buhl, ID 83316


2.1521. State what the contract or          CUSTOMER SALE
        lease is for and the nature of      ORDER
        the debtor's interest

             State the term remaining
                                                                       Zymurcracy Beer Company
          List the contract number of any                              4624 Creek Dr. Suite 6
                government contract                                    Rapid City, SD 57701




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Fill in this information to identify the case:

Debtor name      BRIDGER STEEL, INC.

United States Bankruptcy Court for the:   DISTRICT OF MONTANA

Case number (if known)   2:23-bk-20019
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    ALPINE FIR, LLC             8555 CAMP CREEK ROAD                                      CAPYTAL FUNDING                    D   2.1
                                      MANHATTAN, MT 59741                                                                          E/F
                                                                                                                                   G




   2.2    BIG SKY COIL,               1558 AMSTERDAM RD.                                        THE LCF GROUP,                     D   2.25
          LLC                         BELGRADE, MT 59714                                        INC.                               E/F
                                                                                                                                   G




   2.3    BIG SKY COIL,               1558 AMSTERDAM RD.                                        CAPYTAL FUNDING                    D   2.1
          LLC                         BELGRADE, MT 59714                                                                           E/F
                                                                                                                                   G




   2.4    BRIDGER                     1558 AMSTERDAM RD                                         THE LCF GROUP,                     D   2.25
          FREIGHT                     BELGRADE, MT 59714                                        INC.                               E/F
          BROKERS LLC
                                                                                                                                   G




   2.5    BRIDGER                     1558 AMSTERDAM RD                                         CAPYTAL FUNDING                    D   2.1
          FREIGHT                     BELGRADE, MT 59714                                                                           E/F
          BROKERS LLC
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 8

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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          CASPER, INC.             BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.7     BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          CASPER, INC.             BELGRADE, MT 59714                                  INC.                               E/F
                                                                                                                          G




  2.8     BRIDGER STEEL            1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          CASPER, INC.             BELGRADE, MT 59714                                                                     E/F
                                                                                                                          G




  2.9     BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          OF BELGRADE,             BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.10    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.21
          OF BELGRADE,             BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.11    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.22
          OF BELGRADE,             BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.12    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.23
          OF BELGRADE,             BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.13    BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          OF BELGRADE,             BELGRADE, MT 59714                                  INC.                               E/F
          INC.
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    BRIDGER STEEL            1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          OF BELGRADE,             BELGRADE, MT 59714                                                                     E/F
          INC.
                                                                                                                          G




  2.15    BRIDGER STEEL            3205 HESPER RD                                      PSB CREDIT                         D   2.19
          OF BILLINGS,             BILLINGS, MT 59102                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.16    BRIDGER STEEL            3205 HESPER RD                                      PSB CREDIT                         D   2.21
          OF BILLINGS,             BILLINGS, MT 59102                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.17    BRIDGER STEEL            3205 HESPER RD                                      PSB CREDIT                         D   2.22
          OF BILLINGS,             BILLINGS, MT 59102                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.18    BRIDGER STEEL            3205 HESPER RD                                      PSB CREDIT                         D   2.23
          OF BILLINGS,             BILLINGS, MT 59102                                  SERVICES INC.                      E/F
          INC.
                                                                                                                          G




  2.19    BRIDGER STEEL            3205 HESPER RD                                      THE LCF GROUP,                     D   2.25
          OF BILLINGS,             BILLINGS, MT 59102                                  INC.                               E/F
          INC.
                                                                                                                          G




  2.20    BRIDGER STEEL            3205 HESPER RD                                      CAPYTAL FUNDING                    D   2.1
          OF BILLINGS,             BILLINGS, MT 59102                                                                     E/F
          INC.
                                                                                                                          G




  2.21    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          OF GREAT                 BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          FALLS, INC.
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.22    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.21
          OF GREAT                 BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          FALLS, INC.
                                                                                                                          G




  2.23    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.22
          OF GREAT                 BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          FALLS, INC.
                                                                                                                          G




  2.24    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.23
          OF GREAT                 BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          FALLS, INC.
                                                                                                                          G




  2.25    BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          OF GREAT                 BELGRADE, MT 59714                                  INC.                               E/F
          FALLS, INC.
                                                                                                                          G




  2.26    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          OF HELENA, INC.          BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.27    BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          OF HELENA, INC.          BELGRADE, MT 59714                                  INC.                               E/F
                                                                                                                          G




  2.28    BRIDGER STEEL            1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          OF HELENA, INC.          BELGRADE, MT 59714                                                                     E/F
                                                                                                                          G




  2.29    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          OF SOUTH                 BELGRADE, MT 59714                                  SERVICES INC.                      E/F
          DAKOTA LLC
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.30    BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          OF SOUTH                 BELGRADE, MT 59714                                  INC.                               E/F
          DAKOTA LLC
                                                                                                                          G




  2.31    BRIDGER STEEL            1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          OF SOUTH                 BELGRADE, MT 59714                                                                     E/F
          DAKOTA LLC
                                                                                                                          G




  2.32    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.19
          TRUCKING, LLC            BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.33    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.21
          TRUCKING, LLC            BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.34    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.22
          TRUCKING, LLC            BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.35    BRIDGER STEEL            1558 AMSTERDAM RD.                                  PSB CREDIT                         D   2.23
          TRUCKING, LLC            BELGRADE, MT 59714                                  SERVICES INC.                      E/F
                                                                                                                          G




  2.36    BRIDGER STEEL            1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          TRUCKING, LLC            BELGRADE, MT 59714                                  INC.                               E/F
                                                                                                                          G




  2.37    BRIDGER STEEL            1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          TRUCKING, LLC            BELGRADE, MT 59714                                                                     E/F
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.38    DENNIS &                 8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.21
          BRENDA.                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
          JOHNSON
                                                                                                                          G




  2.39    DENNIS &                 8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.22
          BRENDA.                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
          JOHNSON
                                                                                                                          G




  2.40    DENNIS &                 8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.23
          BRENDA.                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
          JOHNSON
                                                                                                                          G




  2.41    DENNIS L.                8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.19
          JOHNSON                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
                                                                                                                          G




  2.42    DENNIS L.                8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.22
          JOHNSON                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
                                                                                                                          G




  2.43    DENNIS L.                8555 CAMP CREEK ROAD                                PSB CREDIT                         D   2.23
          JOHNSON                  MANHATTAN, MT 59741                                 SERVICES INC.                      E/F
                                                                                                                          G




  2.44    DENNIS L.                8555 CAMP CREEK ROAD                                THE LCF GROUP,                     D   2.25
          JOHNSON                  MANHATTAN, MT 59741                                 INC.                               E/F
                                                                                                                          G




  2.45    DENNIS L.                8555 CAMP CREEK ROAD                                HIGHLAND CAPITAL                   D   2.6
          JOHNSON                  MANHATTAN, MT 59741                                                                    E/F
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.46    DEW                      1558 AMSTERDAM RD.                                  THE LCF GROUP,                     D   2.25
          PROPERTIES               BELGRADE, MT 59714                                  INC.                               E/F
          LLC
                                                                                                                          G




  2.47    DEW                      1558 AMSTERDAM RD.                                  CAPYTAL FUNDING                    D   2.1
          PROPERTIES               BELGRADE, MT 59714                                                                     E/F
          LLC
                                                                                                                          G




  2.48    GIDEON WATER             P.O. BOX 674                                        THE LCF GROUP,                     D   2.25
          USER                     PONY, MT 59747                                      INC.                               E/F
          ASSOCATION
                                                                                                                          G
          INC.



  2.49    GIDEON WATER             P.O. BOX 674                                        CAPYTAL FUNDING                    D   2.1
          USER                     PONY, MT 59747                                                                         E/F
          ASSOCATION
                                                                                                                          G
          INC.



  2.50    GRAND FIR, LLC           8555 CAMP CREEK ROAD                                THE LCF GROUP,                     D   2.25
                                   MANHATTAN, MT 59741                                 INC.                               E/F
                                                                                                                          G




  2.51    GRAND FIR, LLC           8555 CAMP CREEK ROAD                                CAPYTAL FUNDING                    D   2.1
                                   MANHATTAN, MT 59741                                                                    E/F
                                                                                                                          G




  2.52    PONY                     1558 AMSTERDAM RD                                   PSB CREDIT                         D   2.21
          PROPERTIES               BOZEMAN, MT 59771                                   SERVICES INC.                      E/F
          LLC
                                                                                                                          G




  2.53    PONY                     1558 AMSTERDAM RD                                   THE LCF GROUP,                     D   2.25
          PROPERTIES               BOZEMAN, MT 59771                                   INC.                               E/F
          LLC
                                                                                                                          G




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Debtor    BRIDGER STEEL, INC.                                                     Case number (if known)   2:23-bk-20019


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.54    PONY                     1558 AMSTERDAM RD                                   CAPYTAL FUNDING                    D   2.1
          PROPERTIES               BOZEMAN, MT 59771                                                                      E/F
          LLC
                                                                                                                          G




  2.55    PONY                     OWNERS ASSOCIATION                                  CAPYTAL FUNDING                    D   2.1
          PROPERTIES               1558 AMSTERDAM RD                                                                      E/F
          SUBDIVISION              BELGRADE, MT 59714
                                                                                                                          G




  2.56    UNITED                                                                       THE LCF GROUP,                     D   2.25
          HERITAGE                                                                     INC.                               E/F
          FINANCIAL
                                                                                                                          G
          SERVICES



  2.57    UNITED                                                                       CAPYTAL FUNDING                    D   2.1
          HERITAGE                                                                                                        E/F
          FINANCIAL
                                                                                                                          G
          SERVICES



  2.58    YELLOWSTONE              7925 FRITZ ROAD                                     THE LCF GROUP,                     D   2.25
          LABS INC.                LAUREL, MT 59044                                    INC.                               E/F
                                                                                                                          G




  2.59    YELLOWSTONE              7925 FRITZ ROAD                                     CAPYTAL FUNDING                    D   2.1
          LABS INC.                LAUREL, MT 59044                                                                       E/F
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         BRIDGER STEEL, INC.

United States Bankruptcy Court for the:    DISTRICT OF MONTANA

Case number (if known)    2:23-bk-20019
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                              $508,258.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                          $11,140,626.04
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                          $22,958,811.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For the fiscal year:                                                                Operating a business                          $25,887,037.00
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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Debtor       BRIDGER STEEL, INC.                                                        Case number (if known) 2:23-bk-20019




         None.

      Creditor's Name and Address                          Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                               Check all that apply
      3.1.
             CASCADIA METALS                               11/25/2022 -                    $186,200.00           Secured debt
             PO BOX 1276                                   2/24/2023                                             Unsecured loan repayments
             LONGVIEW, WA 98632
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other


      3.2.
             MACHINERY FINANCE RESOURCES                   11/25/2022 -                    $115,824.10           Secured debt
             651 DAY HILL RD.                              2/24/2023                                             Unsecured loan repayments
             WINDSOR, CT 06095
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other


      3.3.
             VERTEX CONSULTING GROUP                       11/25/2022 -                     $76,914.77           Secured debt
             3000 7th Avenue North                         2/24/2023                                             Unsecured loan repayments
             Billings, MT 59101                                                                                  Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other


      3.4.
             ALLEGIANCE ZIONS BANK                         11/25/2022 -                     $63,751.22           Secured debt
             P.O. BOX 1750                                 2/24/2023                                             Unsecured loan repayments
             CEDAR CITY, UT 84721                                                                                Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other INSURANCE


      3.5.
             DAIMLER-MERCEDES BENZ                         11/25/2022 -                     $55,284.12           Secured debt
             FINANCIAL SERVICES                            2/24/2023                                             Unsecured loan repayments
             1301 E. TOWER RD
                                                                                                                 Suppliers or vendors
             SCHAUMBURG, IL 60173
                                                                                                                 Services
                                                                                                                 Other


      3.6.
             ORACLE NETSUITE                               11/25/2022 -                     $41,855.00           Secured debt
             500 ORACLE PARKWAY                            2/24/2023                                             Unsecured loan repayments
             REDWOOD SHORES, CA 94065                                                                            Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other SOFTWARE
                                                                                                               SUBSCRIPTION

      3.7.
             PRO-TECH STEEL, LLC                           11/25/2022 -                     $40,812.05           Secured debt
                                                           2/24/2023                                             Unsecured loan repayments
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other




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Debtor       BRIDGER STEEL, INC.                                                         Case number (if known) 2:23-bk-20019



      Creditor's Name and Address                           Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                Check all that apply
      3.8.
             SOUTH DAKOTA INVESTEMENT                       11/25/2022 -                     $39,761.10           Secured debt
             ENTERPRISES, LLC                               2/24/2023                                             Unsecured loan repayments
             26280 S. MCHARDY RD                                                                                  Suppliers or vendors
             BRANDON, SD 57005                                                                                    Services
                                                                                                                  Other LEASE PAYMENT


      3.9.
             HUBSPOT                                        11/25/2022 -                     $29,953.16           Secured debt
             25 FIRST STREET                                2/24/2023                                             Unsecured loan repayments
             CAMBRIDGE, MA 02141                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other SOFTWARE
                                                                                                                SUBSCRIPTION

      3.10
      .
           WEX BANK                                         11/25/2022 -                     $28,568.92           Secured debt
             P.O. Box 6293                                  2/24/2023                                             Unsecured loan repayments
             Carol Stream, IL 60197-6293
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.11
      .
           EVERGREEN SHIPPERS, LLC                          11/25/2022 -                     $27,035.00           Secured debt
             13323 N Mayfair Lane                           2/24/2023                                             Unsecured loan repayments
             Spokane, WA 99208
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.12
      .
           RYDER SELECT CARE                                11/25/2022 -                     $24,193.77           Secured debt
             LOCKBOX FILE 056347                            2/24/2023                                             Unsecured loan repayments
             LOS ANGELES, CA 90074-6347                                                                           Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.13
      .
           YELLOWSTONE BANK                                 11/25/2022 -                     $21,200.00           Secured debt
                                                            2/24/2023                                             Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other BOONE PROPERTIES
                                                                                                                RENT PAYMENT

      3.14
      .
           CMG COATED METALS GROUP                          11/25/2022 -                     $16,636.20           Secured debt
                                                            2/24/2023                                             Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


      3.15
      .
           BERKLEY LIFE AND HEALTH                          11/25/2022 -                     $16,178.19           Secured debt
             INSURANCE COMPANY                              2/24/2023                                             Unsecured loan repayments
                                                                                                                  Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other INSURANCE


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Debtor      BRIDGER STEEL, INC.                                                           Case number (if known) 2:23-bk-20019



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.16
      .
           MIDLAND EQUIPMENT FINANCE                         11/25/2022 -                     $15,898.34           Secured debt
             7700 BONHOMME AVENUE, STE. 300                  2/24/2023                                             Unsecured loan repayments
             SAINT LOUIS, MO 63105
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.17
      .
           U.S. BANK EQUIPMENT FIANCE                        11/25/2022 -                     $15,391.48           Secured debt
                                                             2/24/2023                                             Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.18
      .
           NORTHWESTERN ENERGY                               11/25/2022 -                     $15,117.19           Secured debt
             1944 MONAD RD.                                  2/24/2023                                             Unsecured loan repayments
             BILLINGS, MT 59102                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.19
      .
           HUNTINGTON NATIONAL BANK                          11/25/2022 -                     $14,796.00           Secured debt
             1405 XENIUM LN N                                2/24/2023                                             Unsecured loan repayments
             MINNEAPOLIS, MN 55441
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.20
      .
           HIGHLAND CAPITAL                                  11/25/2022 -                     $14,664.04           Secured debt
             5 CENTER AVENUE                                 2/24/2023                                             Unsecured loan repayments
             LITTLE FALLS, NJ 07424
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.21
      .
           AAVIS INDIA OFFICE B3                             11/25/2022 -                     $14,585.00           Secured debt
             CLASSIC ASHIRWAD APTS                           2/24/2023                                             Unsecured loan repayments
             9TH CR, 2ND MN                                                                                        Suppliers or vendors
             ASHIRWADO COLONY
                                                                                                                   Services
             HORAMAVU, BENGALURU 560043
                                                                                                                   Other


      3.22
      .
           KELBEC HOLDINGS, LLC                              11/25/2022 -                     $13,847.58           Secured debt
             3350 NORTH FORK HIGHWAY                         2/24/2023                                             Unsecured loan repayments
             CODY, WY 82414                                                                                        Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other LEASE PAYMENT


      3.23
      .
           CAPYTAL FUNDING                                   11/25/2022 -                     $13,590.00           Secured debt
             ADDRESS UNKNOWN                                 2/24/2023                                             Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other




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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.24
      .
           ATLAS BOLT & SCREW                                11/25/2022 -                     $11,850.90           Secured debt
             PO BOX 96113                                    2/24/2023                                             Unsecured loan repayments
             CHICAGO, IL 60693-6113
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.25
      .
           MIDWEST FAMILY MUTUAL                             11/25/2022 -                     $11,529.70           Secured debt
             INSURANCE COMPANY                               2/24/2023                                             Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other INSURANCE


      3.26
      .
           SHEFFIELD METALS INTERNATIONAL                    11/25/2022 -                     $11,000.00           Secured debt
             PO Box 637438                                   2/24/2023                                             Unsecured loan repayments
             Cincinnati, OH 45263-7438
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.27
      .
           TRIANGLE FASTENER CORPORATION                     11/25/2022 -                     $10,319.37           Secured debt
                                                             2/24/2023                                             Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.28
      .
           MAJESTIC STEEL USA, INC.                          11/25/2022 -                    $160,000.00           Secured debt
             31099 CHAGRIN BLVD.                             2/24/2023                                             Unsecured loan repayments
             CLEVELAND, OH 44124                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other PAYMENT ON
                                                                                                                 SETTLEMENT

      3.29
      .
           MICROSEA SYSTEM SOLUTIONS                         11/25/2022 -                     $10,000.00           Secured debt
             GMBH (BENDEX)                                   2/24/2023                                             Unsecured loan repayments
             Handelskai 94-96, A-1200
                                                                                                                   Suppliers or vendors
             Millennium Tower 24 Floor
                                                                                                                   Services
             Vienna, Austria
                                                                                                                   Other


      3.30
      .
           DELTA DENTAL INSURANCE                            11/25/2022 -                       $9,785.91          Secured debt
             COMPANY                                         2/24/2023                                             Unsecured loan repayments
             P.O. BO 7564                                                                                          Suppliers or vendors
             SAN FRANCISCO, CA 94120-7564                                                                          Services
                                                                                                                   Other INSURANCE


      3.31
      .
           KIRSCH BUILDING PRODUCTS                          11/25/2022 -                       $9,283.05          Secured debt
                                                             2/24/2023                                             Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other



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      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.32
      .
           WELLS FARGO                                             11/25/2022 -                       $9,086.93          Secured debt
             800 WALNUT ST.                                        2/24/2023                                             Unsecured loan repayments
             4TH FLOOR
                                                                                                                         Suppliers or vendors
             DES MOINES, IA 50309
                                                                                                                         Services
                                                                                                                         Other


      3.33
      .
           SEAMLESS CAPITAL GROUP                                  11/25/2022 -                       $8,994.00          Secured debt
             17560 ATLANTIC BLVD                                   2/24/2023                                             Unsecured loan repayments
             NORTH MIAMI BEACH, FL 33160
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.34
      .
           YELLOWSTONE BANK                                        11/25/2022 -                       $8,877.48          Secured debt
                                                                   2/24/2023                                             Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other BOONE PROPERTIES
                                                                                                                       RENT PAYMENT

      3.35
      .
           POLI-FILM AMERICA                                       11/25/2022 -                       $8,741.52          Secured debt
                                                                   2/24/2023                                             Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.36
      .
           HEALTHY EQUITY                                          11/25/2022 -                       $8,581.30          Secured debt
                                                                   2/24/2023                                             Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other HEALTH SAVINGS
                                                                                                                       ACCOUNT

      3.37
      .
           OLD DOMINION FREIGHT LINE, INC                          11/25/2022 -                       $7,415.24          Secured debt
             PO Box 742296                                         2/24/2023                                             Unsecured loan repayments
             Los Angeles, CA, CA 90074-2296
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   PSB CREDIT SERVICES INC.                              2/24/2022 -                     $868,173.05         LOAN PAYMENT
             P.O. BOX 38                                           2/24/2023
             PRINSBURG, MN 56281
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Debtor       BRIDGER STEEL, INC.                                                                Case number (if known) 2:23-bk-20019




5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   KEITH WEAR d/b/a KW                       BREACH OF                   MONTANA FIRST JUDICIAL                        Pending
             DEVELOPMENT &                             CONTRACT                    DISTRICT COURT                                On appeal
             CONSTRUCTION v. BRIDGER                                               LEWIS AND CLARK
                                                                                                                                 Concluded
             STEEL, INC.                                                           COUNTY
             ADV-2022-525                                                          208 E. BROADWAY ST.,
                                                                                   #104
                                                                                   HELENA, MT 59601

      7.2.   CHANG YOU, INDIVIDUALLY                   BREACH OF                   MONTANA FIRST JUDICIAL                        Pending
             AND ON BEHALF OF                          CONTRACT                    DISTRICT COURT                                On appeal
             OTHERS SIMILARLY                                                      LEWIS AND CLARK
                                                                                                                                 Concluded
             SITUATED VS BRIDGER                                                   COUNTY
             STEEL, INC. A MONTANA                                                 208 E. BROADWAY ST.,
             CORPORATION AND JOHNE                                                 #104
             DOES I-XXX                                                            HELENA, MT 59601
             ADV-2023-70

      7.3.   ANDREW HOLMES VS.                         EMPLOYMENT                  STATE OF MONTANA                              Pending
             BRIDGER STEEL, INC.                       ACTION                      DEPARTMENT OF LABOR                           On appeal
             HRB CASE NO. 0210568                                                  AND INDUSTRY
                                                                                                                                 Concluded
                                                                                   OFFICE OF
                                                                                   ADMINISTRATIVE
                                                                                   HEARINGS

      7.4.   MAJESTIC STEEL USA, INC.                  BREACH OF                   IN THE COURT OF                               Pending
             VS. BRIDGER STEEL, INC.,                  CONTRACT                    COMMON PLEAS                                  On appeal
             BRIDGER STEEL BELGRADE,                                               CUYAHOGA COUNTY,
                                                                                                                                 Concluded
             INC. AND BRIDGER STEEL                    (CONFESSION OF              OHIO
             BILLINGS, INC.                            JUDGMENT/SETT               CLEVELAND, OH 44113
             CV22959888                                LEMENT
                                                       AGREEMENT)




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             Case title                               Nature of case              Court or agency's name and            Status of case
             Case number                                                          address
      7.5.   BRIDGER HOLDINGS OF                      BREACH OF                   MONTANA EIGHTH                              Pending
             MONTANA LLC VS. BRIDGER                  CONTRACT                    JUDICIAL DISTRICT COURT                     On appeal
             STEEL INC.                                                           CASCADE COUNTY,
                                                                                                                              Concluded
             ADV-19-0773                                                          MONTANA
                                                                                  415 2ND AVENUE N #200A
                                                                                  GREAT FALLS, MT 59401

      7.6.   SIDING SOURCE, LLC VS.                   BREACH OF                   IN THE SUPERIOR COURT                       Pending
             BRIDGER STEEL, INC.                      CONTRACT                    OF FAYETTE COUNTY                           On appeal
             UNKNOWN                                                              STATE OF GEORGIA
                                                                                                                              Concluded


      7.7.   MARCO INDUSTRIES,INC. VS.                BREACH OF                   IN THE DISTRICT COURT IN                    Pending
             BRIDGER STEEL, INC.                      CONTRACT                    AND FOR                                     On appeal
             CJ-2021-1491                                                         TULSA COUNTY, STATE OF
                                                                                                                              Concluded
                                                      (SETTLEMENT                 OKLAHOMA
                                                      AGREEMENT)                  500 SOUTH DENVER
                                                                                  TULSA, OK 74103

      7.8.   THE BRYER COMPANY, A                     BREACH OF                   IN THE SUPERIOR COURT                       Pending
             WASHINGTON                               CONTRACT                    FOR THE                                     On appeal
             CORPORATION V. BRIDGER                                               STATE OF WASHINGTON
                                                                                                                              Concluded
             STEEL, INC. A MONTANA                                                IN AND FOR
             CORPORATION AND DENNIS                                               COWLITZ COUNTY
             L. JOHNSON
             22-2-00738-08

      7.9.   THE LCF GROUP, INC. VS.                  ARBITRATION                 NONE                                        Pending
             BRIDGER STEEL, INC.                      DEMAND                                                                  On appeal
             UNKNOWN
                                                                                                                              Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   MANHATTAN HIGH SCHOOL                    $1,500 CREDIT GIVEN TO SCHOOL FOR
             MANHATTAN, MT 59741                      SILENT AUCTION                                                                           $1,500.00

             Recipients relationship to debtor
             NONE


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None



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Debtor      BRIDGER STEEL, INC.                                                                  Case number (if known) 2:23-bk-20019



      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      CATALYTIC CONVERTERS                            $2,034.00                                                 5/5/2022                       $2,034.00
      STOLEN OFF VEHICLES

      PICKUP WAS BROKE INTO                           $2,080.00                                                 5/5/2022                       $2,080.00


Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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Debtor        BRIDGER STEEL, INC.                                                               Case number (if known) 2:23-bk-20019



               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                                                                                            8/23/2022 -
                                                                                                                       $4,891.82
                                                                                                                       8/29/2022 -
                                                                                                                       $514.63
                                                                                                                       12/23/2022 -
                                                                                                                       $1,017.39
                                                                                                                       2/21/2023 -
                                                                                                                       $24,549.71
                                                                                                                       ($2,747.04
                                                                                                                       WAS
                                                                                                                       APPLIED
                                                                                                                       TO THE
                                                                                                                       JANUARY
                                                                                                                       AND
                                                                                                                       FEBRUARY,
                                                                                                                       2023
                                                                                                                       INVOICES;
                                                                                                                       $16,857.00
                                                                                                                       WAS FOR
                                                                                                                       PRE-PETITI
                                                                                                                       ON
                                                                                                                       ATTORNEY
                                                                                                                       FEES FOR
                                                                                                                       THE
                                                                                                                       CHAPTER
                                                                                                                       11 CASE;
                                                                                                                       AND
                                                                                                                       $4,945.67 IS
                                                                                                                       CURRENTL
               PATTEN PETERMAN                                                                                         Y BEING
               BEKKEDAHL                                                                                               HELD IN
               & GREEN                                                                                                 THE PPBG
               2817 2ND AVENUE N, ST 300                                                                               TRUST
               BILLINGS, MT 59101                        Attorney Fees                                                 ACCOUNT                   $30,973.55

               Email or website address
               apatten@ppbglaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

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Debtor       BRIDGER STEEL, INC.                                                          Case number (if known) 2:23-bk-20019



             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.1                                      PURSUANT TO THE SEPARATION OF
      .                                         EMPLOYMENT AGREEMENT AND
                                                GENERAL RELEASE DATED JANUARY
                                                25, 2022 THE FOLLOWING EQUIPMENT
                                                AND/OR VEHICLES:

                                                RIDGE CAP PRESS EQUIPMENT 12,000
                                                TRAIL STAR TRAILER 11,000
                                                2021 RAM 5500 (VIN #2409) 7300
                                                HOMEMADE TRIM SHRINK WRAP
                                                EQUIPMENT 5000
                                                DELTA 35' GOOSENECK TRAILER 1484
                                                9500
             BRUCE KNUDSEN                      2007 STERLING FLATBED TRUCK 40,000
             7925 FRITZ RD                      DELL COMPUTER, DESK, SCANNER,
             LAUREL, MT 59044                   MONITOR 3,000                                              1/25/2022                $87,800.00

             Relationship to debtor
             FORMER CEO OF BRIDGER
             STEEL INC.


      13.2 RED RIVER MACHINERY INC.
      .    2601 NW I-45
             ENNIS, TX 75119                    2011 MRS UP-ENDER                                          6/22/2022                $10,500.00

             Relationship to debtor
             NONE


      13.3 GREAT NORTHERN METAL
      .    CO.
             242 DURSTON RD, UNIT B
             BOZEMAN, MT 59718                  TOOLING FOR NEWTECH                                        7/15/2022                $30,000.00

             Relationship to debtor
             NONE


      13.4 TRUCK MARKET, LLC
      .    8680 W SANDIDGE RD.                  2020 FL CORONADO DAY CAB (VIN
             OLIVE BRANCH, MS                   #2515)
             38654-3410                         2020 CORONADO SLEEPER (VIN #5262)                          8/23/2022               $203,000.00

             Relationship to debtor
             NONE


      13.5 TRUCK MARKET, LLC
      .    8680 W SANDIDGE RD.
             OLIVE BRANCH, MS                   2018 FREIGHTLINER CASCADIA DAY
             38654-3410                         CAB (VIN #2387)                                            9/16/2022                $75,000.00

             Relationship to debtor
             NONE




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Debtor       BRIDGER STEEL, INC.                                                          Case number (if known) 2:23-bk-20019



             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.6 ZACHERY KILWEIN
      .    RESIDENTIAL ROOFING
             187 NORRITS COURT SOUTH            NEWTECH SSQ MACHINE (VIN #7994) -
             BILLINGS, MT 59105                 87,500                                                     9/19/2022                $87,500.00

             Relationship to debtor
             NONE


      13.7 CHRIS CICCOTELLI
      .    PROTECH STEEL
             3280 CLEARWATER DRIVE
             BILLINGS, MT 59101                 MRS UPENDER 2012 (SERIAL #05-12)                           10/24/2022               $21,000.00

             Relationship to debtor
             NONE


      13.8 RED RIVER MACHINERY INC.
      .    2601 NW I-45                         ROLL FORMER CORPORATION 12"
             ENNIS, TX 75119                    SOFFIT MACHINE (SERIAL #6872)                              10/27/2022               $21,000.00

             Relationship to debtor
             NONE


      13.9 JOE MARTN
      .    ZENTS LUMBER CO
             2775 ROUNDUP RD                    2019 MOFFETT FORKLIFT (SERIAL
             BILLINGS, MT 59105                 #568B                                                      3/7/2022                 $65,000.00

             Relationship to debtor
             NONE


      13.1 SUNDANCE RENTALS LLC
      0.   8 SOUTH MTN. RD.
             SUNDANCE, WY 82729                 2005 TOYOTA FORKLIFT (SERIAL #3498)                        2/28/2022                $13,000.00

             Relationship to debtor
             NONE


      13.1 DAN JOHNSON
      1.   5208 MILL ROAD
             RAPID CITY, SD 57702               FIRE CABINET                                               1/18/2022                   $300.00

             Relationship to debtor
             NONE


      13.1                                      7 - ORANGE/BLUE OUTSIDE RACKS
      2.                                        2- INSIDE STEEL RACKS
             MIKE FEUILLERAT                    (8 ARMS)
             FEUILLERAT WELDING                 1- INSIDE STEEL RACK
             22363 ELK VALE ROAD                (10 ARMS)
             RAPID CITY, SD 57701               2011 20' FLATBEAD TRAILER (VIN #0546)                      1/17/2022                  $9,400.00

             Relationship to debtor
             NONE




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Debtor      BRIDGER STEEL, INC.                                                           Case number (if known) 2:23-bk-20019



             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.1                                      KRASSER LEIONAIRE SLITTER (SERIAL
      3.   RON WENTZEL                          #4019)
             ROCKY MOUNTAIN METAL
             20390 HWY 40 W.                    JORNS AG RECOILER (SERIAL #4071)
             STEAMBOAT SPRINGS, CO
             80487                              SEN FUNG DECOILER (SERIAL #0843)                           01/18/2022               $85,000.00

             Relationship to debtor
             NONE


      13.1 RED RIVER MACHINERY INC.
      4.   2601 NW I-45
             ENNIS, TX 75119                    FINTCK EMPRO SLITTER (SERIAL #7542)                        2/17/2022                  $4,500.00

             Relationship to debtor
             NONE


      13.1 MIRAMAC METALS INC.
      5.   13906 N. NEWPORT HWY                 MRS SIGNATURE DELTA/TUFF RIB ROLL
             MEAD, WA 99021                     (SERIAL #8274)                                             01/19/2022              $150,000.00

             Relationship to debtor
             NONE


      13.1 LIVE WIRE ELECTRIC LLC
      6.   4691 ANDERSON ROAD
             RAPID CITY, SD 57703               BLACKHAWK - ORANGE/BLACK RACK                              01/19/2022                  $600.00

             Relationship to debtor
             NONE


      13.1 MATT STOTTS
      7.   270 ROAD 1                           1998 GRAY 20' FLATBED TRAILER (VIN
             THERMOPOLIS, WY 82443              #9681)                                                     01/20/2022                 $4,300.00

             Relationship to debtor
             NONE


      13.1 MATT WZNICK
      8.   4017 LONE WOLF LN                    2001 TITAN 24' GOOSENECK TRAILER
             SHEPHERD, MT 59079-3150            (VIN #9286)                                                5/11/2022                  $5,200.00

             Relationship to debtor
             NONE


      13.1 JARED BLUMENSHINE
      9.   404 SOUTH 2ND ST E.                  2003 TITAN 35' GOOSENECK TRAILER
             RIVERTON, WY 82501                 (VIN #7371)                                                01/24/2022                 $7,200.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.2 BOLIN PLUMBING &
      0.   HEATING
             841 STEWARD LOOP                   2009 TITAN 24' GOOSENECK TRAILER
             BOZEMAN, MT 59718-5526             (VIN #2995)                                                5/16/2022                  $6,000.00

             Relationship to debtor
             NONE


      13.2                                      COIL RACKS - 2 WIDE BY 3 TALL
      1.
             LUKE GINSBACH                      COIL RACKS - 2 WIDE BY 2 TALL
             6959 E LAKE DR.
             EVANSVILLE, WY 82636               A-FRAME FOR TRIM                                           02/18/2022                 $2,250.00

             Relationship to debtor
             NONE


      13.2 ROBERT DESCHAMPS
      2.   150 W SUSSEX AVENUE                  2015 TITAN 26' GOOSENECK SS
             MISSOULA, MT 59801                 TRAILER (VIN #1212)                                        5/17/2022                  $6,800.00

             Relationship to debtor
             NONE


      13.2                                      2015 RAM 5500 CREW CAB FLATBEAD
      3.   REHBEIN FORD                         (VIN #9841)
             7467 HWY 200                       2015 RAM 5500 CREW CAB FLATBED
             PLAINS, MT 59859                   (VIN #7743)                                                5/20/2022                $74,000.00

             Relationship to debtor
             NONE


      13.2                                      2012 TOYOTA FORKLIFT (SERIAL #0342)
      4.                                        2008 TOYOTA FORKLIFT (SERIAL #3437)
                                                2006 TOYOTA PROPANE FORKLIFT
             F-M FORKLIFT SALES &               (SERIAL#1259)
             SERVICE INC.                       2015 TOYOTA FORKLIFT (SERIAL #3635)
             5840 INTERSTATE AVENUE             2007 TOYOLTA FORKLIFT (SERIAL
             BILLINGS, MT 59101                 34485)                                                     5/24/2022                $70,000.00

             Relationship to debtor
             NONE


      13.2 RED RIVER MACHINERY, INC.            SCHECTL FOLDER (SERIAL #7547)
      5.   2601 NW I-45
             ENNIS, TX 75119                    SCHECTL SHEAR (SERIAL #0854)                               02/25/2022               $60,000.00

             Relationship to debtor
             NONE


      13.2 KURTIS HANSON
      6.   9879 TOOKIE TREK RD.
             MISSOULA, MT 59808-8718            2013 CHEVY 2500 HD (VIN #1637)                             5/26/2022                $21,000.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.2 F-M FORKLIFT SALES &
      7.   SERVICE, INC                         4 TOYOTA FORK LIFTS (SERIAL #0791);
             5840 INTERSTATE AVENUE             (SERIAL #6239); (SERIAL #1065) AND
             BILLINGS, MT 59101                 (SERIAL #0346)                                             03/22/2022               $81,000.00

             Relationship to debtor
             NONE


      13.2 SFR WHOLESALE
      8.   3907 1ST AVENUE S
             BILLINGS, MT 59101-3504            2020 FORD EDGE (VIN #5577)                                 5/27/2022                $27,700.00

             Relationship to debtor
             NONE


      13.2 DAKOTA STEEL AND TRIM
      9.   29007 477TH AVENUE                   RAS XXL CENTER 20' BREAK (SERIAL
             CANTON, SD 57013                   #8080)                                                     1/4/2022                $235,000.00

             Relationship to debtor
             NONE


      13.3 PRO-TECH
      0.   2712 DAKOTA LN.
             GREAT FALLS, MT 59404              2012 FREIGHTLINER M2 (VIN #8353)                           6/3/2022                 $56,500.00

             Relationship to debtor
             NONE


      13.3 KEVIN STOLTZFUS
      1.   2712 DAKOTA LANE
             GREAT FALLS, MT 59404              PANEL RACKS & AIR COMPRESSOR                               03/23/2022               $12,400.00

             Relationship to debtor
             NONE


      13.3 F-M FORKLIFT SALES &
      2.   SERVICE INC.
             5840 INTERSTATE AVENUE
             BILLINGS, MT 59101                 2005 FORKLIFT (SERIAL #0726)                               1/10/2022                $20,000.00

             Relationship to debtor
             NONE


      13.3 DAN RICHTER
      3.   6 GROUSE RIDGE TRAIL                 2015 PJ TRAILER F8222 DECKOVER
             CLANCY, MT 59634                   (SERIAL #1835)                                             03/23/2022                 $7,600.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.3 PAPE MATERIAL HANDLING
      4.   190-A ROCK RD
             BELGRADE, MT 59714                 2004 TOYOTA FORKLIFT (SERIAL #5488)                        1/11/2022                  $5,561.85

             Relationship to debtor
             NONE


      13.3 EPIC BUILDERS - ROBERT
      5.   COCKERAM
             8075 JELLISON RD                   2015 PJ 36' GOOSENECK FLATBED
             LAUREL, MT 59044-8899              TRAILER & SPREADER BAR                                     03/24/2022               $13,050.00

             Relationship to debtor
             NONE


      13.3 ACME SHEET METAL                     3 STANDING SEAM CARTS
      6.   2610 SEGER DRIVE, SUITE              CONEX
             200                                3 SMALL COIL RACKS
             RAPID CITY, SD 57701               LARGE DUMP BIN                                             1/11/2022                  $4,550.00

             Relationship to debtor
             NONE


      13.3 KEVIN STOLTZFUS
      7.   2712 DAKOTA LANE
             GREAT FALLS, MT 59404              ACCESSORY RACKS                                            03/25/2022                  $240.00

             Relationship to debtor
             NONE


      13.3 CAROL CONNER
      8.   52 ROBINSON ROAD
             MOORCROFT, WY 82721                RACKING                                                    1/17/2022                   $100.00

             Relationship to debtor
             NONE


      13.3 SETH JOHNSON
      9.   52 ROBINSON ROAD
             MOORCROFT, WY 82721                5 RACKS                                                    1/17/2022                   $250.00

             Relationship to debtor
             NONE


      13.4 KINDSFATER DIESEL AND                RACKING (8 SETS)
      0.   AUTO                                 PALLET JACK
             1030 ELKHORN STREET                TABLES
             BELLE FOURCHE, SD 57717            TRIM CART                                                  1/17/2022                  $2,030.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.4 HIAB USA, INC.
      1.   P.O. Box 643148
             Pittsburgh, PA 15264-3148          SOLD 4 USED MOFFETS                                        04/19/2021               $17,500.00

             Relationship to debtor
             NONE


      13.4 UNKNOWN
      2.                                        RAM 1500 PICKUP                                            06/14/2021               $12,500.00

             Relationship to debtor
             NONE


      13.4 RED RIVER MACHINERY INC
      3.   2601 NW I-45
             ENNIS, TX 75119                    3 SCHECHTL SHEARS                                          10/21/2021               $36,000.00

             Relationship to debtor
             NONE


      13.4 LA BANK OF COMMERCE
      4.                                        2011 VOLKSWAGEN JETTA VIN 7615                             10/22/2021                 $3,600.00

             Relationship to debtor
             NONE


      13.4 RED RIVER MACHINERY INC
      5.   2601 NW I-45
             ENNIS, TX 75119                    5 SCHECHTL BRAKES                                          10/27/2021              $150,000.00

             Relationship to debtor
             NONE


      13.4 MACKSTEEL WAREHOUSE
      6.   INC
                                                MRS ROLL FORMER - 6025 PROFILE                             11/02/2021              $105,000.00

             Relationship to debtor
             NONE


      13.4 RED RIVER MACHINERY INC
      7.   2601 NW I-45
             ENNIS, TX 75119                    2 BRAKES AND A SHEAR                                       11/04/2021               $80,000.00

             Relationship to debtor
             NONE


      13.4 LONG CREEK STEEL
      8.                                        MRS TRIM - FORMER                                          11/08/2021               $60,000.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.4 LONG CREEK STEEL
      9.                                        COIL UPENDER & 6 TRIM CARTS                                11/08/2021               $10,600.00

             Relationship to debtor
             NONE


      13.5 JAY PIXLEY
      0.                                        TUFF RIB/PBR AND COIL UPENDER                              11/09/2021              $166,500.00

             Relationship to debtor
             NONE


      13.5                                      2018 COIL UPENDER
      1.                                        SOFFIT ROLLFORMER
                                                2007 MOFFET
             MIRAMAC METALS INC                 2012 MOFFET
                                                2000 FORD F-350 VIN 7304                                   11/19/2021              $115,500.00

             Relationship to debtor
             NONE


      13.5 DAKOTA STEEL AND TRIM
      2.                                        3 MOFFETS                                                  11/24/2021              $165,000.00

             Relationship to debtor
             NONE


      13.5 MATTHEW G. VIERGETS
      3.                                        GN TRAILER VIN 8581                                        11/29/2021                 $9,000.00

             Relationship to debtor
             NONE


      13.5 LOGAN CARPENTER                      2015 PJ 20' DECKOVER FLATBED
      4.                                        TRAILER                                                    11/29/2021                 $3,600.00

             Relationship to debtor
             NONE


      13.5 RED RIVER MACHINERY INC
      5.   2601 NW I-45
             ENNIS, TX 75119                    JORNS BRAKE                                                12/02/2021               $67,500.00

             Relationship to debtor
             NONE


      13.5 DAVID LISAC
      6.                                        2011 F-450 SUPER DUTY                                      12/03/2021               $20,000.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.5                                      BANDERS
      7.                                        FIRE CABINET
             SUNDANCE CUSTOM STEEL              AIR COMPRESSOR
             LIN                                6 COIL RACKS
                                                SET OF FORKLIFT EXTENSIONS                                 12/06/2021                 $4,050.00

             Relationship to debtor
             NONE


      13.5 LOVELL TRUCK SALES, INC
      8.                                        2013 FREIGHTLINER VIN 6057                                 12/09/2021               $42,500.00

             Relationship to debtor
             NONE


      13.5 DOWNING DIVERSIFIED LLC
      9.                                        2015 PJ 22' DECKOVER VIN 9556                              12/09/2021                 $4,700.00

             Relationship to debtor
             NONE


      13.6 MIRAMAC METALS INC
      0.                                        SOFFIT ROLL FORMER SNA33                                   12/10/2021               $16,200.00

             Relationship to debtor
             NONE


      13.6 COUNTRY ESTATES LLC
      1.                                        2006 FREIGHTLINER VIN9994                                  12/13/2021               $22,000.00

             Relationship to debtor
             NONE


      13.6 RED RIVER MACHINERY INC              MRS ROLLFORMER TUFF RIB
      2.   2601 NW I-45                         TRIM ROLLFORMER
             ENNIS, TX 75119                    4 PROFILES                                                 12/14/2021              $190,000.00

             Relationship to debtor
             NONE


      13.6 FM FORKLIFT
      3.                                        2005 FORKLIFT                                              12/16/2021                 $5,000.00

             Relationship to debtor
             NONE


      13.6 SFR WHOLESALE                        FORD EDGE VIN 7080
      4.                                        FORD EDGE VIN 2117                                         12/22/2021               $52,250.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.6 RP PRO EQUIPMENT INC
      5.                                        2007 MOFFET                                                12/29/2021               $30,000.00

             Relationship to debtor
             NONE


      13.6 JOHN TRUEAX
      6.                                        2008 PJ 20' DECKOVER                                       01/03/2022                 $3,900.00

             Relationship to debtor
             NONE


      13.6 GENPRO ENERGY
      7.   SOLUTIONS LLC
                                                RACKING                                                    01/05/2022                 $4,800.00

             Relationship to debtor
             NONE


      13.6 RAINTITE ROOFING
      8.                                        ACCESSORY SHELVES                                          01/06/2022                  $320.00

             Relationship to debtor
             NONE


      13.6 NORTH SKY BUILDING
      9.   PRODUCTS
                                                ACCESSORY SHELVES                                          01/07/2022                  $320.00

             Relationship to debtor
             NONE


      13.7                                      2 CART LIFTS
      0.                                        2 SHEAR CARTS
             ACME SHEET METAL                   2 SINGLE SIDE RACKING
                                                2 DOUBLE SIDE RACKING                                      01/07/2022                 $4,000.00

             Relationship to debtor
             NONE


      13.7 KEVIN DONAHUE
      1.                                        IN HOUSE EQUIPMENT SALE                                    01/10/2022                  $120.00

             Relationship to debtor
             NONE


      13.7 UNKNOWN
      2.                                        IN HOUSE EQUIPMENT CASH SALE                               01/10/2022                    $60.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.7 COUNTRY ESTATES LLC
      3.                                        2015 FREIGHTLINER VIN 9953                                 01/13/2022               $61,000.00

             Relationship to debtor
             NONE


      13.7 BEAU BURDICK
      4.                                        2015 RAM 1500 VIN 8151                                     01/14/2022               $27,500.00

             Relationship to debtor
             NONE


      13.7 UNKNOWN
      5.                                        SF LIQUIDATION STUFF                                       01/17/2022                 $5,875.00

             Relationship to debtor
             NONE


      13.7 UNKNOWN (CASH )
      6.                                        MISC STUFF                                                 01/18/2022                    $25.00

             Relationship to debtor
             NONE


      13.7 HARRY WALL
      7.                                        MISC STUFF                                                 01/20/2022                  $170.00

             Relationship to debtor
             NONE


      13.7 F-M FORKLIFT, INC                    PURCHASE OF HYSTER LIFT TRUCK SN:
      8.                                        G004V03023E                                                01/21/2022                 $7,000.00

             Relationship to debtor
             NONE


      13.7 F-M FORKLIFT SALES &
      9.   SERVICE INC
                                                TOYOTA FORKLIFT 8FGCU25                                    01/21/2022                 $9,000.00

             Relationship to debtor
             NONE


      13.8 RAINTITE ROOFING
      0.                                        A FRAME RACKS                                              01/21/2022                  $400.00

             Relationship to debtor
             NONE


      13.8                                      ASSET SALE RACKS
      1.   BARNS BY DESIGN                      TRIM CARTS
                                                BROWN SHELVING                                             01/24/2022                 $2,800.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.8 SUNDANCE CUSTOM STEEL
      2.                                        BLACKHAWK - RACKS                                          01/25/2022                 $1,600.00

             Relationship to debtor
             NONE


      13.8 MATT
      3.                                        3 SHELVES AND FLAMMABLE CABINET                            01/28/2022                  $410.00

             Relationship to debtor
             NONE


      13.8 CORY
      4.                                        LOCKERS                                                    01/28/2022                  $150.00

             Relationship to debtor
             NONE


      13.8 DAVE LITTLE
      5.                                        ASSET SALE REFRIGERATOR & RADIO                            01/28/2022                    $70.00

             Relationship to debtor
             NONE


      13.8 UNKNOWN (CASH)
      6.                                        DESK                                                       02/01/2022                    $60.00

             Relationship to debtor
             NONE


      13.8 DYLAN
      7.                                        DESK                                                       02/02/2022                  $300.00

             Relationship to debtor
             NONE


      13.8                                      TITAN II TUFF RIB ROLL FORMER
      8.                                        SCHECHTL 10' BRAKE
             UNITED FINANCIAL GROUP,            TENNISMITH SHEAR
             INC                                MOFFET
                                                TOYOTA FORKLIFT                                            02/02/2022              $272,000.00

             Relationship to debtor
             NONE


      13.8 UNKNOWN
      9.                                        BILLINGS LIQUIDATION CASH SALES                            02/04/2022                  $250.00

             Relationship to debtor
             NONE


      13.9 UNKNOWN
      0.                                        BILLINGS LIQUIDATION CASH SALES                            02/11/2022                    $75.00

             Relationship to debtor
             NONE



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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.9 NICK
      1.                                        DESK                                                       02/11/2022                  $240.00

             Relationship to debtor
             NONE


      13.9 HARRY WALL
      2.                                        BILLINGS LIQUIDATION                                       02/11/2022                  $100.00

             Relationship to debtor
             NONE


      13.9 MIRAMAC METALS INC
      3.                                        SALE OF CASPER RACKS                                       02/11/2022                 $9,500.00

             Relationship to debtor
             NONE


      13.9 WITT CROWSER
      4.                                        ASSET SALE BLACKHAWK SHED                                  02/16/2022                 $2,500.00

             Relationship to debtor
             NONE


      13.9 UNKNOWN
      5.                                        BILLINGS LIQUIDATION CASH SALES                            02/18/2022                  $385.00

             Relationship to debtor
             NONE


      13.9 UNKNOWN
      6.                                        BILLINGS LIQUIDATION CASH SALES                            02/18/2022                 $2,205.00

             Relationship to debtor
             NONE


      13.9 CASPER HOUSING
      7.   AUTHORITY
                                                TRIM RACKS                                                 02/24/2022                  $400.00

             Relationship to debtor
             NONE


      13.9 ROBERT COCKRAM
      8.                                        FLAT RACK                                                  03/11/2022                  $300.00

             Relationship to debtor
             NONE


      13.9 DAN MASON
      9.                                        RACKING                                                    03/21/2022                  $120.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.1 RESIDENTIAL
      00. ROOFING/BEARTOOTH
             METAL ROOF                         NEWTECH SSQ SS MACHINE
                                                SERIAL#SSQ8550918                                          10/13/2022               $28,981.90

             Relationship to debtor
             NONE


      13.1 VALLEY METAL BUILDINGS
      01. INC
                                                SPREADER BAR                                               03/24/2022                  $650.00

             Relationship to debtor
             NONE


      13.1 ANDREW EINBODEN
      02.                                       RACKS, LADDER, WHEEL BARROW                                03/28/2022                  $280.00

             Relationship to debtor
             NONE


      13.1 UNKNOWN
      03.                                       BILLINGS LIQUIDATION CASH SALES                            04/18/2022                  $120.00

             Relationship to debtor
             NONE


      13.1 HARRY WALL
      04.                                       TOOLS                                                      04/20/2022                  $300.00

             Relationship to debtor
             NONE


      13.1 UNKNOWN (CASH)                       RACK AND MISC ITEMS FROM BILLINGS
      05.                                       LIQUIDATION                                                05/02/2022                 $3,260.40

             Relationship to debtor
             NONE


      13.1                                      1. NEWTECH SSQ2 STANDING SEAM
      06. PROTECH STEEL                         PACKAGE S/N: 0831019
                                                1. TEXAS PRIDE TRAILER                                     07/12/2022              $125,000.00

             Relationship to debtor
             NONE


      13.1 BILL LAU
      07.                                       1 SKID STEER PALLET FORKS                                  07/22/2022                  $500.00

             Relationship to debtor
             NONE




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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.1 PROTECH STEEL
      08.                                       SALE OF TRIM CART                                          08/22/2022                  $100.00

             Relationship to debtor
             NONE


      13.1 JASON HICKS
      09.                                       2018 RAM VIN 1694                                          11/30/2022               $28,500.00

             Relationship to debtor
             NONE


      13.1 RED RIVER MACHINERY INC
      10. 2601 N HWY 45
             ENNIS, TX 75119                    RED RIVER MACHINERY-HEMPRO                                 12/13/2022               $17,000.00

             Relationship to debtor
             NONE


      13.1 TIM THORMAHLEN
      11.                                       HAND CART                                                  12/13/2022                    $21.52

             Relationship to debtor
             NONE


      13.1 NORTHERN LITES CO.
      12.                                       6 CARTS, MAN BASKET                                        12/29/2022                 $4,000.00

             Relationship to debtor
             NONE


      13.1 SRINIVAS ANDAY
      13. 355 DELTA CIR.
             BILLINGS, MT 59102                 RAM 1500 PICKUP                                            01/05/2023               $12,000.00

             Relationship to debtor
             CEO


      13.1 FRY CONSTRUCTION-FAC
      14.                                       GEHL SKID STEER                                            01/10/2023               $20,000.00

             Relationship to debtor
             NONE


      13.1 SFR WHOLESALE
      15.                                       2019 RAM 1500 PICKUP                                       01/11/2023               $13,000.00

             Relationship to debtor
             NONE


      13.1 UNKNOWN
      16.                                       SKIDSTEER                                                  01/12/2023               $15,000.00

             Relationship to debtor
             NONE



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             Who received transfer?             Description of property transferred or                     Date transfer         Total amount or
             Address                            payments received or debts paid in exchange                was made                       value
      13.1 RESIDENTIAL
      17. ROOFING/BEARTOOTH
             METAL ROOF
                                                DI SEAMER FOR 2" SNAP SEAM                                 01/19/2023                 $5,000.00

             Relationship to debtor
             NONE


      13.1 RED RIVER MACHINERY INC
      18. 2601 N HWY 45
             ENNIS, TX 75119                    SCHLEBACH HEMPRO                                           02/03/2023               $15,000.00

             Relationship to debtor
             NONE


      13.1 UNKNOWN
      19.                                       USED COMPUTER                                              02/08/2023                    $50.00

             Relationship to debtor
             NONE


      13.1 MULTI-FAB INC
      20.                                       SIGNODE BANDERS                                            02/13/2023                 $9,000.00

             Relationship to debtor
             NONE


      13.1 SALTED METALS LLC
      21.                                       MINI DECOILERS                                             02/15/2023                 $2,400.00

             Relationship to debtor
             NONE


      13.1 RESIDENTIAL
      22. ROOFING/BEARTOOTH
             METAL ROOF
                                                ESE MINI DECIUKER                                          02/15/2023                  $400.00

             Relationship to debtor
             NONE


      13.1 RESIDENTIAL
      23. ROOFING/BEARTOOTH
             METAL ROOF
                                                SCHECHTL BOX BREAK                                         02/21/2023                 $8,000.00

             Relationship to debtor
             NONE


      13.1 PROTECH STEEL
      24.                                       MOFFET, RACKING, TOYOTA FORKLIFT                           02/23/2023              $100,000.00

             Relationship to debtor
             NONE




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             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.1 NATHAN YODER
      25.                                              FLAT RACK                                                  02/17/2023                     $1,000.00

             Relationship to debtor
             NONE


      13.1 WOLSTEIN CUSTOM                             SWENSON SHEAR SNAP TABLE AND
      26. BUILDERS INC                                 DIES
                                                       SWENSON SOFFIT SHEAR                                       02/20/2023                   $13,700.00

             Relationship to debtor
             NONE


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    PRINCIPALS FINANCIAL GROUP                                                          EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


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Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                  Value
      RG MEMORIAL FUND                                       7570 ENTRYWAY DR.                     EMPLOYEES ESTABLISHED                             Unknown
      (EMPLOYEES OF BRIDGER STEEL)                           BILLINGS, MT 59101                    A "RG MEMORIAL FUND"
                                                                                                   FOR EMPLOYEES NEEDING
                                                                                                   FINANCIAL HELP DUE TO
                                                                                                   BILLS. THE CHECKING
                                                                                                   ACCOUNT IS NOT IN THE
                                                                                                   NAME OF DEBTOR. THE
                                                                                                   EMPLOYEES ALSO HAVE
                                                                                                   VENDING MACHINES
                                                                                                   LOCATED AT THE BILLINGS
                                                                                                   LOCATION. THE PROFITS
                                                                                                   FROM THE VENDING
                                                                                                   MACHINE GO INTO THE RG
                                                                                                   MEMORIAL FUND.

      Owner's name and address                               Location of the property              Describe the property                                  Value
      UNKNOWN                                                1558 AMSTERDAM RD.                    VENDING MACHINES                                  Unknown
                                                             BELGRADE, MT 59714



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      Owner's name and address                              Location of the property              Describe the property                                 Value
      BIG SKY COIL, LLC                                     7570 ENTRYWAY DR.                     2015 HOMEMADE 16 FT                             Unknown
      1558 AMSTERDAM RD.                                    BILLINGS, MT 59101                    SMOKER TL
      BELGRADE, MT 59714

      Owner's name and address                              Location of the property              Describe the property                                 Value
      DENNIS L. JOHNSON                                     1558 AMSTERDAM RD.                    DEAD ANIMALS: 2                                       $0.00
      8555 CAMP CREEK ROAD                                  BELGRADE, MT 59714                    ANTELOPE, 8 DEER, 6 ELK, 3
      MANHATTAN, MT 59741                                                                         MOOSE, 1 CARIBOU, 2 BEAR,
                                                                                                  1 COYOTE


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None




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   Business name address                           Describe the nature of the business               Employer Identification number
                                                                                                     Do not include Social Security number or ITIN.

                                                                                                     Dates business existed
   25.1.    BRIDGER STEEL, INC.                    STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            1558 AMSTERDAM RD.                     COMPANY
            BELGRADE, MT 59714                                                                       From-To      12/10/2010 - PRESENT

   25.2.    BRIDGER STEEL TRUCKING,                TRUCKING COMPANY                                  EIN:         XX-XXXXXXX
            LLC
            1558 AMSTERDAM RD.                                                                       From-To      3/12/2007 - PRESENT
            BELGRADE, MT 59714

   25.3.    BRIDGER STEEL OF                       STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            BILLINGS, INC.                         COMPANY
            3205 HESPER RD                                                                           From-To      1/19/2006 - 12/17/2018 (MERGED
            BILLINGS, MT 59102                                                                                    WITH BRIDGER STEEL, INC.)

   25.4.    BRIDGER STEEL OF                       STEEL MANUFACTURING                               EIN:         46-438075
            HELENA, INC.                           COMPANY
            1558 AMSTERDAM RD.                                                                       From-To      12/26/2013 - 12/17/2018 (MERGED
            BELGRADE, MT 59714                                                                                    WITH BRIDGER STEEL, INC.)

   25.5.    BRIDGER STEEL OF GREAT                 STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            FALLS, INC.                            COMPANY
            1558 AMSTERDAM RD.                                                                       From-To      5/12/2014 - 12/17/2018 (MERGED
            MT 59174                                                                                              WITH BRIDGER STEEL, INC.)

   25.6.    BRIDGER STEEL OF SOUTH                 STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            DAKOTA LLC                             COMPANY
            1558 AMSTERDAM RD.                                                                       From-To      9/22/2008 - 12/1/2018 (INACTIVE)
            BELGRADE, MT 59714

   25.7.    BRIDGER STEEL CASPER,                  STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            INC.                                   COMPANY
            1558 AMSTERDAM RD.                                                                       From-To      12/27/2011 - 1/8/2019 (INACTIVE
            BELGRADE, MT 59714                                                                                    MERGED WITH BRIDGER STEEL,
                                                                                                                  INC.)

   25.8.    BRIDGER STEEL OF                       STEEL MANUFACTURING                               EIN:         XX-XXXXXXX
            BELGRADE, INC.                         COMPANY
            1558 AMSTERDAM RD.                                                                       From-To      4/19/1999 - 12/17/2018 (MERGED
            BELGRADE, MT 59714                                                                                    WITH BRIDGER STEEL, INC.)


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                               Date of service
                                                                                                                                     From-To
      26a.1.        EIDE BAILLY                                                                                                      2014 - 2023
                    401 N 31ST ST.
                    STE 1120
                    BILLINGS, MT 59103




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      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26a.2.        ROBERT F. METTES                                                                                              9/2021 - PRESENT
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102
      26a.3.        STEVEN COSTIN                                                                                                 1/2022 - PRESENT
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102
      26a.4.        ON-LINE BOOK KEEPING                                                                                          2014 - JULY, 2022



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.1.        ROBERT F. METTES                                                                                              9/2021 - PRESENT
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.2.        STEVEN COSTIN                                                                                                 1/2022 - PRESENT
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.3.        BRIAN CHOUINARD                                                                                               2016- 9/2021
                    2601 SHADOW WOOD TRL                                                                                          (ESTIMATE)
                    LAUREL, MT 59044
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.4.        BRUCE KNUDSEN                                                                                                 2015 - 2/3/2022
                    7925 FRITZ RD
                    LAUREL, MT 59044

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        ROBERT F. METTES
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102
      26c.2.        ORACLE NETSUITE
                    500 ORACLE PARKWAY
                    REDWOOD SHORES, CA 94065




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Debtor      BRIDGER STEEL, INC.                                                                 Case number (if known) 2:23-bk-20019



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.3.        STEVEN COSTIN
                    2110 OVERLAND AVENUE
                    STE. 122
                    BILLINGS, MT 59102

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        PSB CREDIT SERVICES INC.
                    P.O. BOX 38
                    PRINSBURG, MN 56281
      26d.2.        NEWPOINT ADVISORS
                    1320 TOWER ROAD
                    SCHAUMBURG, IL 60173
      26d.3.        CALRITI STRATEGIC ADVISORS
                    150 KING STREET WEST
                    SUITE 802
                    TORONTO, CA
      26d.4.        TAX GUARD
                    10355 WESTMOOR DRIVE
                    SUITE 101
                    BROOMFIELD, CO 80021
      26d.5.        MAJESTIC STEEL
                    PO BOX 1450
                    MINNEAPOLIS, MN 55485-6118
      26d.6.        AMERICAN BANK
                    1632 W MAIN ST
                    BOZEMAN, MT 59715
      26d.7.        VERSAPAY
                    3340 PEACHTREE RD NE
                    #2600
                    ATLANTA, GA 30326
      26d.8.        COMMERCIAL FINANCE PARTNERS
                    1200 NORTH FEDERAL HIGHWAY
                    SUITE #201
                    BOCA RATON, FL 33432
      26d.9.        ONLINE BOOKKEEPING
                    PO BOX 177
                    ERIE, CO 80516
      26d.10.       EIDE BAILLY LLP
                    401 N. 31st St, Ste. 1120
                    PO Box 7112
                    Billings, MT 59103-7112
      26d.11.       CARRERA CAPITAL GROUP
                    2083 CONEY ISLAND AVE
                    BROOKLYN, NY 11223
      26d.12.       AMERISOURCE FUNDING INC.
                    7225 LANGTRY STREET
                    HOUSTON, TX 77040
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Debtor      BRIDGER STEEL, INC.                                                              Case number (if known) 2:23-bk-20019



      Name and address
      26d.13.       CLEARFUND
                    99 WALL STREET
                    STE #2613
                    NEW YORK, NY 10005
      26d.14.       ADVANCED FUNDING NETWORK
                    460 KINGS HWY
                    STE 2
                    BROOKLYN, NY 11223
      26d.15.       ACCORD FINANCIAL
                    1639 11TH STREET
                    SUITE 160
                    SANTA MONICA, CA 90404
      26d.16.       LCF GROUP
                    3000 MARCUS AVE
                    STE 2W15
                    NEW HYDE PARK, NY 11042
      26d.17.       GARRINGTON CAPITAL GROUP
                    570 LAKE COOK RD
                    STE 120
                    DEERFIELD, IL 60015
      26d.18.       ACE ROOFING LLC
                    P.O. BOX 405
                    WILSALL, MT 59086
      26d.19.       DOUG MCINNIS
                    8321 HILL RD
                    KLAMATH FALLS, OR 97603
      26d.20.       ACCESS BUSINESS FINANCE
                    14205 SE 36TH ST
                    STE 350
                    BELLEVUE, WA 98006
      26d.21.       ANDERSON GROUP
                    2151 CENTRAL AVENUE
                    SAINT PETERSBURG, FL 33713
      26d.22.       BLACKSTREET
                    7250 WOODMONT AVE
                    SUITE 210
                    BETHESDA, MD 20814
      26d.23.       CAPITALPLUS CONSTRUCTION SERVICE
                    2510 SOWAY RD
                    KNOXVILLE, TN 37931
      26d.24.       ECAPITAL
                    20807 BISCAYNE BLVD
                    STE 203
                    AVENTURA, FL 33180
      26d.25.       GORDON BROTHERS COMMERCIAL & INDUSTRIAL
                    800 BOYLSTON ST
                    27TH FLOOR
                    BOSTON, MA 02199




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known) 2:23-bk-20019



      Name and address
      26d.26.       MOBILIZATION FUNDING
                    8902 N DALE MABRY HWY
                    STE 200
                    TAMPA, FL 33614
      26d.27.       NEW BLUEPRINT
                    4192 LONG BRANCH DR
                    MARIETTA, GA 30066
      26d.28.       IRON HORSE
                    6620 SOUTHPOINT DRIVE SOUTH
                    STE 230
                    JACKSONVILLE, FL 32216
      26d.29.       RANCH CREEK PARTNERS
                    19020 NE 84TH ST
                    REDMOND, WA 98053
      26d.30.       ROSENTHAL
                    3379 PEACHTREE RD
                    STE 330
                    ATLANTA, GA 30326
      26d.31.       SANDTON CAPITAL SOLUTIONS MASATER FUND V
                    16 WEST 46TH ST
                    11TH FLOOR
                    NEW YORK, NY 10036
      26d.32.       THREE LINE
                    5570 DTC PARKWAY
                    STE 150
                    GREENWOOD VILLAGE, CO 80111
      26d.33.       TRANSPORTATION ALLICANCE BANK
                    4182 HARRISON BLVD
                    OGDEN, UT 84403
      26d.34.       VFI CORP FINANCIAL
                    2800 EAST COTTONWOOD PARKWAY
                    2ND FLOOR
                    SALT LAKE CITY, UT 84121
      26d.35.       HILCO COMMERCIAL INDUSTRIAL LLC
                    5 REVERE DR
                    STE 206
                    NORTHBROOK, IL 60062
      26d.36.       CORNERSTONE BUILDING BRANDS
                    13105 NORTHWEST FREEWAY
                    SUITE 500
                    HOUSTON, TX 77040
      26d.37.       AXIOM CONSTRUCTION LLC
                    1840 FRONT ST
                    LYNDEN, WA 98264
      26d.38.       OLD COUNTRY MILLWORK
                    5855 Hopper Ave
                    Los Angeles, CA 90001-1961
      26d.39.       VALIANT CAPITAL
                    1819 ST JAMES
                    HOUSTON, TX 77056


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Debtor      BRIDGER STEEL, INC.                                                                Case number (if known) 2:23-bk-20019



      Name and address
      26d.40.       NOLE HOLDING LLC
                    701 BRICKELL KEY BLVD
                    UNIT CU-02
                    MIAMI, FL 33131

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 SHAWN PRATT
      .                                                                            12/31/2022               $797,273.95 - COST

             Name and address of the person who has possession of
             inventory records
             BRIDGER STEEL INC.
             2110 OVERLAND AVENUE
             STE. 122
             BILLINGS, MT 59102


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      DENNIS L. JOHNSON                      8555 CAMP CREEK ROAD                                PRESIDENT                             35 PERCENT
                                             MANHATTAN, MT 59741

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      SRINIVAS ANDAY                         355 DELTA CIR.                                      CEO                                   15 PERCENT
                                             BILLINGS, MT 59102

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      GREGORY A. BANKERT                     106 TANA LN                                         COO                                   10 PERCENT
                                             BILLINGS, MT 59106

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      MICHAEL DUFRESNE                       5632 PHANTOM CREEK AVENEUE                          CSMO                                  5 PERCENT
                                             BILLINGS, MT 59106

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      ROBERT F. METTES                       P.O. BOX 2170                                       CPQFO AND SECRETARY                   5 PERCENT
                                             RED LODGE, MT 59068

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      PSB CREDIT SERVICES                    P.O. BOX 38                                                                               30 PERCENT
      INC.                                   PRINSBURG, MN 56281



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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Debtor      BRIDGER STEEL, INC.                                                                Case number (if known) 2:23-bk-20019




           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 SRINIVAS ANDAY                                                                                                           CELL PHONE
      .    355 DELTA CIR.                                                                                       2/1/2022 -          REIMBURSEMEN
             BILLINGS, MT 59102                       $373.95                                                   2/10/2023           T

             Relationship to debtor
             CEO


      30.2                                                                                                                          GYM
      .    SRINIVAS ANDAY                                                                                                           MEMBERSHIP
             355 DELTA CIR.                                                                                     2/1/2022 -          REIMBURSEMEN
             BILLINGS, MT 59102                       $464.74                                                   2/10/2022           T

             Relationship to debtor
             CEO


      30.3 SRINIVAS ANDAY
      .    355 DELTA CIR.                                                                                       2/1/2022 -
             BILLINGS, MT 59102                       $167,078.83                                               2/10/2023           WAGES

             Relationship to debtor
             CEO


      30.4 GREGORY A. BANKERT                                                                                                       CELL PHONE
      .    106 TANA LN                                                                                          2/1/2022 -          REIMBURSEMEN
             BILLINGS, MT 59106                       $373.95                                                   2/10/2023           T

             Relationship to debtor
             COO


      30.5 GREGORY A. BANKERT
      .    106 TANA LN                                                                                          2/1/2022 -
             BILLINGS, MT 59106                       $147,150.83                                               2/10/2023           WAGES

             Relationship to debtor
             COO


      30.6 MICHAEL DUFRESNE
      .    5632 PHANTOM CREEK                                                                                                       CELL PHONE
             AVENEUE                                                                                            2/1/2022 -          REIMBURSEMEN
             BILLINGS, MT 59106                       $373.95                                                   2/10/2023           T

             Relationship to debtor
             CSMO




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Debtor      BRIDGER STEEL, INC.                                                            Case number (if known) 2:23-bk-20019



             Name and address of recipient       Amount of money or description and value of                Dates           Reason for
                                                 property                                                                   providing the value
      30.7 MICHAEL DUFRESNE
      .    5632 PHANTOM CREEK
             AVENEUE                                                                                        2/1/2022 -
             BILLINGS, MT 59106                  $91,263.61                                                 2/23/2022       WAGES

             Relationship to debtor
             CSMO


      30.8 ROBERT F. METTES                                                                                                 CELL PHONE
      .    P.O. BOX 2170                                                                                    2/1/2022 -      REIMBURSEMEN
             RED LODGE, MT 59068                 $373.95                                                    2/10/2023       T

             Relationship to debtor
             CPQFO


      30.9 ROBERT F. METTES
      .    P.O. BOX 2170                                                                                    2/1/2022 -
             RED LODGE, MT 59068                 $117,147.59                                                2/23/2022       WAGES

             Relationship to debtor
             CPQFO


      30.1 DENNIS L. JOHNSON
      0.   8555 CAMP CREEK ROAD                                                                             2/1/2022 -
             MANHATTAN, MT 59741                 $87,423.69                                                 2/10/2023       WAGES

             Relationship to debtor
             PRESIDENT


      30.1 SRINIVAS ANDAY
      1.   355 DELTA CIR.                                                                                   1/1/2022 -      VEHICLE
             BILLINGS, MT 59102                  $7,269.21                                                  2/10/2023       COMPENSATION

             Relationship to debtor
             CEO


      30.1 GREGORY A. BANKERT
      2.   106 TANA LN                                                                                      1/1/2022 -      VEHICLE
             BILLINGS, MT 59106                  $2,961.53                                                  2/10/2023       COMPENSATION

             Relationship to debtor
             COO


      30.1                                                                                                                  MOVING
      3.   GREGORY A. BANKERT                                                                                               EXPENSES
             106 TANA LN                                                                                    1/1/2022 -      REIMBURSEMEN
             BILLINGS, MT 59106                  $30,000.00                                                 2/10/2023       T

             Relationship to debtor
             COO




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Debtor      BRIDGER STEEL, INC.                                                             Case number (if known) 2:23-bk-20019



             Name and address of recipient        Amount of money or description and value of                Dates             Reason for
                                                  property                                                                     providing the value
      30.1 MICHAEL DUFRESNE
      4.   5632 PHANTOM CREEK
             AVENEUE                                                                                         2/1/2022 -        VEHICLE
             BILLINGS, MT 59106                   $8,100.00                                                  2/10/2023         COMPESATION

             Relationship to debtor
             CMSO


      30.1 ROBERT F. METTES
      5.   P.O. BOX 2170                                                                                     2/1/2022 -        VEHICLE
             RED LODGE, MT 59068                  2,961.53                                                   2/10/2023         COMPENSATION

             Relationship to debtor
             CPQFO


      30.1 DENNIS L. JOHNSON                                                                                                   COMPENSATION
      6.   8555 CAMP CREEK ROAD                                                                              3/4/2022 -        TO DENNIS
             MANHATTAN, MT 59741                  $114,980                                                   1/3/2023          JOHNSON

             Relationship to debtor
             PRESIDENT


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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Debtor      BRIDGER STEEL, INC.                                                                 Case number (if known) 2:23-bk-20019




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 6, 2023

/s/ DENNIS L. JOHNSON                                           DENNIS L. JOHNSON
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Montana
 In re       BRIDGER STEEL, INC.                                                                              Case No.      2:23-bk-20019
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 16,857.00
             Prior to the filing of this statement I have received                                        $                 16,857.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 General bankruptcy counsel, examination of claims, preparation of plan and disclosure statement, etc.

                  James A. Patten is the lead attorney with an hourly rate of $400.00. Molly S. Considine is an associate attorney
                  and her hourly rate is $275.00. The hourly rates of the other attorneys in the office range from $175.00 - $385.00.
                  The hourly rates of the paralegals working on this case range from $90.00 to $195.00.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     March 6, 2023                                                            /s/ JAMES A. PATTEN
     Date                                                                     JAMES A. PATTEN 1191
                                                                              Signature of Attorney
                                                                              PATTEN PETERMAN BEKKEDAHL
                                                                              & GREEN
                                                                              2817 2ND AVENUE N, ST 300
                                                                              BILLINGS, MT 59101
                                                                              406-252-8500 Fax: 406-294-9500
                                                                              apatten@ppbglaw.com
                                                                              Name of law firm




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                                                      United States Bankruptcy Court
                                                                    District of Montana
 In re    BRIDGER STEEL, INC.                                                                                     Case No.       2:23-bk-20019
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
DENNIS L. JOHNSON                                                                                                            35 PERCENT
8555 CAMP CREEK ROAD
MANHATTAN, MT 59741

GREGORY A. BANKERT                                                                                                           10 PERCENT
106 TANA LN
BILLINGS, MT 59106

MICHAEL DUFRESNE                                                                                                             5 PERCENT
5632 PHANTOM CREEK AVENEUE
BILLINGS, MT 59106

PSB CREDIT SERVICES INC.                                                                                                     30 PERCENT
P.O. BOX 38
PRINSBURG, MN 56281

ROBERT F. METTES                                                                                                             5 PERCENT
P.O. BOX 2170
RED LODGE, MT 59068

SRINIVAS ANDAY                                                                                                               15 PERCENT
355 DELTA CIR.
BILLINGS, MT 59102


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date March 6, 2023                                                       Signature /s/ DENNIS L. JOHNSON
                                                                                        DENNIS L. JOHNSON

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                                         United States Bankruptcy Court
                                                   District of Montana
 In re   BRIDGER STEEL, INC.                                                         Case No.   2:23-bk-20019
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BRIDGER STEEL, INC. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 6, 2023                                  /s/ JAMES A. PATTEN
Date                                           JAMES A. PATTEN 1191
                                               Signature of Attorney or Litigant
                                               Counsel for BRIDGER STEEL, INC.
                                               PATTEN PETERMAN BEKKEDAHL
                                               & GREEN
                                               2817 2ND AVENUE N, ST 300
                                               BILLINGS, MT 59101
                                               406-252-8500 Fax:406-294-9500
                                               apatten@ppbglaw.com




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